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                       DEY'S AMENDED TRIAL EXHIBIT LIST (MEDICARE ONLY)

Trial Ex.      Date                     Description                     Previously Marked      Bates Range        Intent to   Objection
  No.                                                                    Deposition/Trial/                          Offer
                                                                          Motion Ex. No.
  6001      12/1968    U.S. Department of Health, Education, and      Previously disclosed                       May
                       Welfare Report - “Task Force on Prescription   with Expert Report of
                       Drugs Background Papers: The Drug Makers       Stiroh
                       and the Drug Distributors”

  6002      2/7/1969   Excerpts from a memorandum from Philip Lee, Lockwood, 4/24/09, Ex. PRD0009.0001-10        May
                       Assistant Secretary for Health and Scientific   Ery 12
                       Affairs to The Secretary, Department of Health,
                       Education, and Welfare, regarding the Final
                       Report of the Task Force on Prescription Drugs

  6003      2/7/1969   Department of Health, Education, and Welfare - Previously disclosed    HHD179-0047-0154   May
                       Task Force on Prescription Drugs Final Report with Expert Report of
                                                                      Bradford
  6004      11/15/1974 Maximum Allowable Cost for Drugs - Notice AL, Trial, DTX 681                              May
                       of Proposed Rulemaking (39 Fed. Reg. 40302 -
                       05)
  6005      11/27/1974 Federal Register Volume 39, Number 230,        R. Morris, 8/29/07, Ex.                    May
                       Page 41,480                                    267
  6006      1/1/1975   American Druggist News, "HEW Orders All        WI, Defs' S.J. Joint    GDOCS 001102-      May
                       States to Switch to Cost-PIus-Fee for Medicaid Resp., 1/15/08, Ex. 98 001105
                       Rxs"
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6007   7/31/1975   Department of Health Education and Welfare - Dey S.J., 6/26/09, Ex.                         May
                   Office of the Secretary - Limitations on        199
                   Payment or Reimbursement for Drugs (40 Fed.
                   Reg 32283-32303)
6008   12/1975     Prescott, Edward C., “Efficiency of the Natural Previously disclosed                        May
                   Rate,” The Journal of Political Economy,        with Expert Report of
                   Volume 83, Number 6, pp. 1229-1236              Bradford

6011   3/15/1976  Letter from United States Department of                                 Archives 0838-0839   May
                  Health, Education, and Welfare to Mississippi
                  Medicaid regarding implementation of MAC
                  Regulations
6018   11/1977 - Article from Harvard Business Review titled      CA, M. Perri, 9/30/09,                       May
       12/1977    "From sales obsession to marketing              Ex. 8
                  effectiveness" by Philip Kotler
6023   9/29/1978 Excerpt from the Federal Register, Vol. 43,      M. Davis, 12/3/08,                           May
                  No. 190, p. 45257-58                            Roxane-WA Ex. 23
6033   12/31/1980 GAO Report - Programs to Control Prescription Lockwood, 4/24/09, Ex.                         May
                  Drug Costs Under Medicaid and Medicare          Ery 013
                  Could be Strengthened
6046   1984       Medicaid Action Transmittal from HCFA to        Cheloha, 12/2/08, Ex. NEB1545-1582           May
                  State Medicaid Agencies                         920
6051   6/1984     OIG Office of Audit Report - Changes to the     Chesser, 6/24/08,       HHD021-0076-114      Expect
                  Medicaid Prescription Drug Program Could        Roxane Ex. 78
                  Save Millions (A-06-94-00070)
6053   9/24/1984 Drug Price Competition and Patent Term           Dey S.J., 6/26/09, Ex.                       May
                  Restoration Act of 1984, Pub. L. No. 98-417, 17
                  98 Stat. 1585 (1984)
6056   1985       Compilation of letters between HCFA and         AL, Finch, 5/23/07, Ex.                      May
                  State Medicaid officials, various dates in 1985 157
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6057   12/17/1985 Compilation of letters regarding DHHS's           AL, Finch, 5/23/07, Ex.                  May
                  initiative to review Medicaid prescription drug   159
                  reimbursement policy
6058   2/7/1985   HCFA letter to New Mexico DHS regarding           R. Stevens, 12/15/08, NMAG00002722-2725 May
                  reimbursement                                     Ex. 528
6059   5/23/1985 Letter from HCFA to Franklin Sunn, Director,       Hiramatsu, 5/1/08, Ex. HI_HI 000014713-14 May
                  Hawaii Department of Social Services &            13
                  Housing
6061   6/18/1985 Letter from HCFA to Kentucky Medicaid           KY, Defs' Joint S.J.,   KY_DMS_173080-     May
                                                                 10/15/08, Ex. 32        173081
6062   6/18/1985   Letter from Richard Morris to B.F. Simmons at Morris, 8/29/07, Abbott ABT-DOJ 0300434-36 May
                   Mississippi Medicaid                          Ex. 266
6063   6/18/1985   Letter from Richard Morris, HCFA Associate Morris, 8/29/07, Abbott ABT-DOJ 0300421-22 May
                   Regional Administrator, to Faye Baggiano,     Ex. 265
                   Commissioner of Alabama Medicaid Agency

6068   8/8/1985    Letter from Richard Morris to B.F. Simmons at Morris, 8/29/07, Abbott ABT-DOJ 0300429-30 May
                   Mississippi Medicaid                          Ex. 280
6070   8/9/1985    FY 85 HCFA Region IX; EAC Survey Report; Gorospe, 5/6/09, Ex. 37 HHC016-0100-11          May
                   California Medi-Cal Program; EAC Patrol
                   Initiative
6075   9/17/1985   Letter from HCFA to Franklin Sunn, Director, Hiramatsu, 5/1/08, Ex. HI_HI 000014715-16 May
                   Hawaii Department of Social Services &        12
                   Housing
6076   9/17/1985   Letter from Richard Morris to Faye Baggiano Morris, 8/29/07, Abbott ABT-DOJ 0300417-18 May
                   at Alabama Medicaid                           Ex. 272
6077   9/17/1985   Letter from HCFA to Mississippi Medicaid                              Archives 0142-0143 May
                   regarding drug reimbursement
6080   9/30/1985   Letter from Hawaii Medicaid to HCFA           Hiramatsu, 5/1/08, Ex. HI_HI 000014817-19 May
                   regarding pharmacy audits                     14
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6082   10/2/1985  Letter from HCFA to Kentucky Medicaid          KY, Defs' Joint S.J.,   KY_DMS_l73 072-    May
                  regarding Kentucky drug reimbursement          10/15/08, Ex. 035       173073
                  formula
6092   1986       Medicaid Drug Reimbursement chart showing Rugg, 12/15/08, Ex. 9                           May
                  rates for 50 states
6095   1986       Consolidated Omnibus Budget Reconciliation                                                May
                  Act of 1985 (COBRA), Pub. L. 99-272, 100
                  Stat. 82 (1986)
6099   3/21/1986 Letter from HCFA to Hawaii Medicaid             Hiramatsu, 5/1/08, Ex. HI_HI 000014710,    May
                  enclosing EAC Survey Report of Hawaii          19                      HI_HI 000014775-
                  Medicaid Program                                                       14784
6100   3/26/1986 Letter from Faye Baggiano at Alabama            Morris, 8/29/07, Abbott ABT-DOJ 0300414    May
                  Medicaid to Richard Morris                     Ex. 277
6101   4/11/1986 Letter from Richard Morris to Faye Baggiano Morris, 8/29/07, Abbott ABT-DOJ 0300413        May
                  at Alabama Medicaid                            Ex. 278
6102   4/18/1986 Letter from Nevada Medicaid to HCFA             NV, K. MacDonald,       NV 008532-33       May
                  regarding EAC Survey Report                    3/24/06, Ex. 1
6107   8/11/1986 51 Fed. Reg. 28710                                                                         May
6108   8/19/1986 Federal Register, Vol. 51 No. 160, Tuesday,     AL, Helms, 1/4/08, Ex.                     May
                  August 19, 1986, 29560-29574                   6
6112   9/10/1986 42 U.S.C. § 1395u                                                                          May
6114   9/18/1986 DHS Memorandum from Health Care                 Defs' Common S.J.                          May
                  Financing Administration Region VI - Dallas to Resp., 8/28/09, Ex. 42
                  Director of Bureau of Eligibility,
                  Reimbursement and Coverage
6121   11/20/1986 Letter from Iowa Pharmacy to United States                             HHC003-0042-43     May
                  HHS regarding reimbursement
6122   1987       42 C.F.R. §§ 447.331-33 (1987)                 Dey S.J., 6/26/09, Ex.                     Expect
                                                                 200
6123   1987       Federal Register, 52 Fed. Reg. 28657           Cheloha, 12/3/08, Ex. 1                    May
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6128   12/22/1987 Omnibus Budget Reconciliation Act of 1987,                                                 May
                  Pub. L. 100-203, 101 Stat 1330 (1987)
6129   1987       42 C.F.R. §447.301 (1987)                                                                  May
6131   1/1987-    Medicaid Pharmacy Bulletin                     Buto, 9/12/07, Abbott HHC002-0388-0399      May
       2/1987                                                    Ex. 292
6132   2/1987     Myers & Stauffer Survey of Costs of            Previously disclosed   CT0038222-346        May
                  Dispensing Prescriptions and Estimated         with Expert Reports of
                  Acquisition Cost in the State of Connecticut   Bradford and Stiroh
6134   3/19/1987 Letter from Joyce Somsak at HCFA to Carol       Somsak, 9/19/07,                            Expect
                  Hermann at HCFA regarding Initiative on        Abbott Ex. 317
                  Lowering Drug Acquisition Cost and the State
                  of Alabama
6139   6/2/1987   Testimony of Michael Zimmerman before the Roxane S.J., 6/26/09,                            May
                  Subcommittee on Health, Committee on Ways Ex. 72
                  and Means, House of Representatives,
                  regarding "Issues Related to Possible Coverage
                  of Outpatient Prescription Drugs Under
                  Medicare" (GAO/T-HRD-87-15)

6141   7/31/1987   52 Fed. Reg. 28647-28658 - HCFA Final Rules Dey S.J., 6/26/09, Ex.                        Expect
                   regarding Medicare and Medicaid Programs;       194
                   Limits on Payments for Drugs
6152   9/28/1987   Draft Report by Robert Helms, DHS Assistant Defs' Common S.J.            HHC902-1078-89   May
                   Secretary for Planning and Evaluation, entitled Resp., 8/28/09, Ex. 76
                   "The Complicated History of Medicaid
                   Regulations on Drug Reimbursement"

6159   11/13/1987 Letter from D. Newman to C. West, Executive Previously disclosed          HHC011-0872      May
                  Vice President of National Association of   with Expert Report of
                  Retail Druggists                            Helms
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6163   1988        Draft Letter from Don Hearn to Kenny           Booth, 4/23/07, Abbott   HHC902-1094 -      May
                   Whitlock regarding Arkansas Medicaid State Ex. 117                      HHC902-1096
                   Plan Transmittal No. 88-05
6174   3/10/1988   Letter from Don Hearn to Office of the         Bridges, 12/11/08,       HHC902-1091-93     May
                   Director, Bureau of Eligibility, Reimbursement Roxane 19
                   and Coverage
6176   3/16/1988   Letter from HCFA to Wyoming Medicaid           Homar, 12/2/08, Ex.      HHC013-1456        May
                   regarding Myers & Stauffer reimbursement       902
                   study
6183   5/12/1988   Letter and attachment from William Roper to Buto, 9/17/07, Ex. 287      HHC002-0540-0544   May
                   Marjorie T. Stewart
6187   6/1988      Memorandum from Acting Director of HCFA Booth, 4/23/07, Abbott          HHC902-1097 -      May
                   Bureau of Eligibility, Reimbursement and       Ex. 116                  HHC902-1104
                   Coverage to Administrator regarding
                   Oklahoma's State Plan Amendment,
                   Transmittal No. 87-18
6193   6/22/1988   Letter from Kenny Whitlock, Director at        Bridges, 12/11/08,       HHC011-2260-68     May
                   Arkansas Department of Human Services, to      Roxane 20
                   Don Hearn at HCFA
6196   7/1/1988    42 U.S.C. § 1395m                                                                          May
6199   7/17/1988   Excerpt from the Medicare Catastrophic         Buto, 9/12/07, Abbott                       May
                   Coverage Act of 1988 (PL 100-360)              Ex. 290
6200   7/22/1988   Letter and attachment from Congressman         Buto, 9/12/07, Abbott    HHD096-0003-0009   May
                   Richard Baker to J.D. Sconce, HCFA             Ex. 289
6202   8/4/1988    Department of Health and Human Services,       Previously disclosed                        May
                   Health Care Financing Administration,          with Expert Report of
                   “Reconsideration of Disapproval of a Louisiana Bradford
                   State Plan Amendment,” 53 FR 29381-01

6203   8/12/1988   Letter to the Honorable Dale Bumpers, United Bridges, 12/11/08,         HHC011-2189-2190   May
                   States Senate, from J.D. Sconce, Regional    Roxane 23
                   Administrator at HCFA
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6205   8/29/1988   Letter from Kathleen Buto to the Administrator DeParle, 12/5/07,       HHC011-2181-83      May
                   through Associate Administrator for Program Roxane Ex. 5
                   Development regarding State of Arkansas' Plan
                   Amendment, Transmittal No. 88-05

6210   9/20/1988  Letter from William Roper, DHS, to Kenny       DeParle, 12/5/07,        HHC011-2187-88      May
                  Whitlock, Arkansas Department of Human         Roxane Ex. 6
                  Services
6217   11/18/1988 Memorandum from Christine Nye, Director,       WI, Nye, 11/18/08, Ex.   WI-ARCH-000746-     Expect
                  BHCF to George MacKenzie, Administrator, 13                             747
                  Division of Health
6220   12/1988    Myers & Stauffer report: Report on the Cost of Campana, 8/19/08, Ex.                        May
                  Dispensing Pharmaceutical Prescriptions in the 18
                  State of Alaska
6225   1989       HCFA State Drug Reimbursement Survey           Nesser, 12/12/08,        HHD 084-0006-0021   May
                  completed by Oklahoma                          Roxane-OK Ex. 8
6228   8/1989     State Medicaid Manual, Part 6 – Payment for                             HHD093-0009-79      May
                  Services, HCFA Pub. 45-6 through Rev. 13

6229   1989        Article from the Journal of Research in        Schondelmeyer,                              May
                   Pharmaceutical Economics, Volume 1, No. 3,     2/27/09, Ex. Roxane
                   1989, by Stephen W. Schondelmeyer, entitled    Schondelmeyer 5
                   "Impact of Alternative Reimbursement Limits
                   for Coverage of Multisource Prescriptions
                   Under Medicare"
6243   1/31/1989   HCFA Program Issuance Transmittal Notice   L. Reed, 10/22/08,          HHD 086-1095        May
                   Region IV regarding "Use of Nondiscounted  Roxane Ex. 121
                   Average Wholesale Price (AWP) as Estimated
                   Acquisition Cost (EAC) in Medicaid Drug
                   Reimbursement
6246   2/1989      National Association of Chain Drug Stores 3rd HI, Watson S.J.,         HI_HI 000002859-864 May
                   Party Bulletin, Volume 11, Number 1           8/25/09, Ex. 33
                        Case 1:01-cv-12257-PBS Document 7077-2 Filed 04/26/10 Page 8 of 179




6247   2/12/1989   Article from Philadelphia Inquirer entitled    Roxane S.J., 6/26/09,                     May
                   "When Drugstores Tell You No"                  Ex. 74
6250   2/24/1989   Article from Newsday (New York) entitled “No Roxane S.J., 6/26/09,                       May
                   Rx for Plans; Drug Plans Draw Pharmacists’     Ex. 75
                   Ire”
6255   3/3/1989    Letter and attachment from HCFA to C. Canino Previously disclosed      MA050769-85       May
                                                                  with Expert Report of
                                                                  Bradford
6261   3/22/1989   Memo and attachment from HCFA to All                                   CT0006912-26      May
                   Medicaid State Agencies regarding Prescription
                   Drugs, Assurances and Findings, State Use of
                   AWP Pricing
6262   3/23/1989   Article from Arkansas Democrat-Gazette         Roxane S.J., 6/26/09,                     May
                   entitled “Pharmacists Face Big Losses Under Ex. 76
                   Proposal, Official Says”
6263   3/23/1989   HCFA State Drug Reimbursement Survey           R. Stevens, 12/15/08,   HHD084-006-021    May
                   completed by New Mexico                        Ex. 529
6270   4/14/1989   Article from The Washington Post entitled                                                May
                   “Prescription Drug Plans Face Threat;
                   Pharmacy Chains Dropping Programs”
6273   5/1/1989    Article from Drug Store News entitled "AWPs Roxane S.J., 6/26/09,                        May
                   Are a Joke, But No One Is Laughing"            Ex. 78

6277   6/1989      A Survey of costs of Dispensing Prescriptions Bridges, 12/10/08,       ARK00007310-439   May
                   And Estimated Acquisition Cost in the State of Roxane 10
                   Arkansas
6281   6/20/1989   Letter from HCFA to J. Costantino, Deputy      Butt, 1/26/10, Ex. 5    LASKY 00110-11    May
                   Commissioner of New York State Department
                   of Social Services
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6284   7/18/1989   Excerpts from the Hearing before the United    Roxane S.J., 6/26/09,                 May
                   States Senate Special Committee on Aging on    Ex. 79; Abbott Ex. 154
                   "Are We Getting Our Money's Worth?"

6287   7/24/1989   Article from The Pink Sheet entitled "V-A    Roxane S.J., 6/26/09,                   May
                   Obtains Rx Drug Price Discounts of 41% for   Ex. 80
                   Single Source, 67% for Multisource Drugs not
                   Distributed by Department, Pryor Drug Price
                   Hearing Told"
6290   8/1989      Majority Staff Report of the United States    Defs' Common S.J.                      May
                   Senate Special Committee on Aging entitled    Resp., 8/28/09, Ex. 43;
                   "Prescription Drug Prices: Are We Getting Our Abbott Ex. 81
                   Money's Worth?" (Serial No. 101-D)
6299   9/26/1989   Editor's Message entitled "Earned Discounts   Booth, 4/23/07, Abbott HHC003-0034 -   May
                   Are a Sham Only to Those Who Don't Earn       Ex. 115                 HHC003-0035
                   Them"
6300   9/29/1989   Memorandum from R. Kusserow, Inspector        Vito, 2/6/08, Dey Ex.                  May
                   General, to L. Hays, HCFA Acting              46
                   Administrator, attaching the OIG Management
                   Advisory Report - The Use of Average
                   Wholesale Prices in Reimbursing Pharmacies
                   Participating in Medicaid and the Medicare
                   Catastrophic Coverage Act Prescription Drug
                   Program (A-06-89-00037)


6303   10/1989     OIG Management Advisory Report - The Use       Booth, 4/23/07, Abbott                May
                   of Average Wholesale Prices in Reimbursing     Ex. 113
                   Pharmacies Participating in Medicaid and the
                   Medicare Catastrophic Coverage Act
                   Prescription Drug Program (A-06-89-00037)
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6304   10/1989     Draft OIG Management Advisory Report - Use Vavra, 9/26/07, Vavra                          May
                   of Average Wholesale Prices in Reimbursing Designee 45
                   Pharmacies Participating in Medicaid and the
                   Medicare Prescription Drug Program (A-06-89-
                   00037)
6305   10/5/1989  Letter that was sent to Kenny Whitlock, Deputy Bridges, 12/11/08,   HHC010-0969-70         May
                  Director of the Division of Economic and       Roxane 026
                  Medical Services for Arkansas Department of
                  Human Services
6310   11/21/1989 HCFA Status of States Using Non-Discounted                          HHC016-0878-80         May
                  Average Wholesale Price For Single Source
                  Drugs
6322   1990       National Pharmaceutical Council,               Previously disclosed                        May
                  Pharmaceutical Benefits under State Medical with Expert Report of
                  Assistance Programs                            Bradford
6323   1990       42 U.S.C. § 1395l                                                                          May
6324   1995       42 C.F.R. §§ 405.500 et seq                                                                May
6325   1990       42 C.F.R. § 405.502                                                                        May
6326   1/1990     Memorandum from Kathleen Buto, Director of Buto, 9/13/07, Dey Ex. HHD048-0288-0289         Expect
                  Bureau of Policy Development to Regional       101
                  Administrator RO VI regarding Medicaid
                  Prescription Drug Dispensing Fees

6329   1/12/1990   Brief for Respondent filed in State of Louisiana Booth, 4/23/07, Abbott                   May
                   v. U.S. Department of Health and Human           Ex. 118
                   Services
6330   1/12/1990   Memorandum from Christine Nye, Director,         WI, Defs' Joint S.J.    WI-Prod-AWP-     Expect
                   BHCF, to George F. MacKenzie,                    Resp., 1/15/08, Ex. 105 097965-097982
                   Administrator, Division of Health
6332   1/1990 -    Medicaid Pharmacy Bulletin, Volume 4, No.1 Previously disclosed          HHC002-0423-30   May
       2/1990                                                       with Expert Report of
                                                                    Helms
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6335   4/3/1990    NACDS Issues Profile: Medicaid                AL, Finch, 5/23/07, HHC010-0913-24    May
                   Reimbursement Formulas Changing               Defendant's Ex. 183
6339   4/20/1990   Facts: July 1, 1990 WMAP Modified Pharmacy WI, Nye, 11/18/08, Ex. WI-ARCH-001024-29 Expect
                   Reimbursement Plan at 1                       28
                   (attached to Letter from Christine Nye, BHCF,
                   to James C. Olson, R.Ph.)
6343   5/1990      An Assessment of Chain Pharmacies' Costs of FL, Crayton, 5/15/06, FL 00003029-198   May
                   Dispensing a Third Party Prescription         Ex. 283A

6344   5/1990      Seidmann, Daniel J., “Transactions/List        Previously disclosed                       May
                   Pricing,” Econometrica, Volume 58, Number 3, with Expert Report of
                   pp. 621-636                                    Bradford
6359   7/3/1990    Memorandum from HCFA Dallas Texas -            Buto, 9/12/07, Abbott   HHC906-0093-0098   May
                   Region VI to Kathleen Buto regarding           Ex. 294
                   Medicare Drug Pricing
6363   7/13/1990   Fifth Circuit opinion in State of Louisiana v. AL, Rector, 8/29/07,    NCPA 001331-337    May
                   U.S. Dept. of Health and Human Services, NO. Ex. NCPA 13
                   89-1566
6366   8/20/1990   Letter from Lloyd Bentsen, Texas Senator, to Somsak, 9/19/07,          HHC003-0013-14     May
                   Gail Wilensky, Administrator at HCFA,          Abbott Ex. 318
                   regarding pharmacy concerns about
                   reimbursement, attaching letter from True
                   Quality Pharmacies, Inc.
6368   9/26/1990   Letter from Gail Wilensky, Administrator at     Somsak, 9/19/07,       HHC003-0017-19     May
                   HCFA, to Honorable Lloyd Bentsen, Texas         Abbott Ex. 319
                   Senator
6369   10/1990     A Survey of Costs of Dispensing Prescriptions Homar, 12/3/08,                             May
                   and Estimated Acquisition Costs in the State of Roxane Ex. 020
                   Wyoming, prepared by Myers & Stauffer

6377   10/16/1990 House Report No. 101-881, reprinted in 1990     Roxane S.J., 6/26/09,                      May
                                                                  Ex. 144
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6382   11/1/1990  NARD Newsletter article entitled "Congress     Rector, 7/28/09, Ex. 15 NCPA 002851          May
                  Approves Medicaid Equal Access
                  Language…and a Moratorium on Pharmacy
                  Reimbursement Cuts"
6383   11/5/1990 Omnibus Budget Reconciliation Act of 1990, Dey S.J., 6/26/09, Ex.                            Expect
                  Pub. L. No. 101-508, § 4401, 104 Stat. 1388    31
                  (1990)
6385   11/27-     Certification of Edwin C. Bridges and attached Gorospe, 12/3/08, Ex.                        Expect
       28/1990    Pharmacy Reform TAG Meeting Minutes            CA-Gorospe 008
                  (Baltimore, MD)
6386   12/28/1990 Brief of the State of Oklahoma Department of Nesser, 12/12/08,         HHD048-0139-0295     May
                  Human Services in Appeal of Disallowance of Roxane-OK Ex. 3
                  Funds Under the Social Security Act, before
                  the United States DHHS Appeals Board

6388   1991        Brief of HCFA in Support of Disallowance of     Nesser, 12/12/08,        HHD 048-0057- 0126 May
                   Funds Under the Social Security Act, before     Roxane-OK Ex. 10
                   the United States DHHS Appeals Board

6393   8/1991      OIG Report - Comparison of Reimbursement        Tawes, 4/24/07, Abbott                     May
                   Prices for Multiple-Source Prescription Drugs   Ex. 129
                   in the United States and Canada (OEI 03-91-
                   00470)
6396   1991        Richard Caves, Michael Whinston, and Mark       AL, Trial, DTX 6393                        May
                   Hurwitz, Patent Expiration, Entry, and
                   Competition in the U.S. Pharmaceutical
                   Industry, Brookings Papers: Microeconomics
                   1991
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6403   1991        Caves, Richard, Michael Whinston, and Mark     Previously disclosed                        May
                   Hurwitz, “Patent Expiration, Entry, and        with Expert Report of
                   Competition in the U.S. Pharmaceutical         Bradford
                   Industry,” Brookings Papers on Economic
                   Activity, Microeconomics

6404   1991        National Pharmaceutical Council,               Previously disclosed                        May
                   Pharmaceutical Benefits under State Medical    with Expert Report of
                   Assistance Programs                            Bradford
6405   1991        56 Fed. Reg. 8832, Medicare and Medicaid                                                   May
                   Programs; OBRA ’87 Conforming
                   Amendments (1991)
6409   2/21/2009   42 U.S.C. § 1396r-8 printed from Social        Schondelmeyer,                              May
                   Security Online, Compilation of the Social     2/27/09, Ex. Roxane
                   Security Laws                                  Schondelmeyer 6
6413   2/14/1991   Letter from HCFA to Manufacturer enclosing     Marrs, 7/10/08, Ex. 27 DL-TX000914-932      Expect
                   Rebate Agreement between Secretary of HHS
                   and Manufacturer
6414   2/17/1991   Rebate agreement between Dey and the Dep't     Dubberly, 12/15/08, Ex.                     Expect
                   of Health and Human Services                   Georgia 30
6417   2/28/1991   Cover note and a Rebate Agreement between      Dey S.J., 6/26/09, Ex.                      Expect
                   the Secretary of Health and Human Services     34
                   and Dey
6418   3/1991      Article from The Consultant Pharmacist, Vol.   Perri, 2/20/09, Ex. Dey                     May
                   3, No. 6, titled "Pricing Policies Under a     Perri 21
                   Competitive Pricing Strategy"
6420   3/6/1991    Cover Letter from P. Marrs to HCFA with an                               DEY-BO-0226957-79 Expect
                   attached Rebate Agreement Between the
                   Secretary of Health and Human Services and
                   Dey
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6421   3/26/1991   Dey Laboratories, Inc., A Report on the       FL, Selenati, 5/5/05,   DL 62774-780,      May
                   Medicaid Program as Part of the U.S. Health   Ex. Selenati 50         DL-TX0105365-371
                   Insurance System
6424   4/10/1991   Muris, Timothy J., “Developments in           Previously disclosed                       May
                   Consumer Protection: Economics and            with Expert Report of
                   Consumer Protection,” Antitrust Law Journal   Bradford

6428   6/1991      A Proposal for the Exclusive Sponsorship of   WV, Trial, Ex. 135      FDB-AWP 028287-    May
                   PriceAlert by First DataBank                                          028297
6429   6/5/1991    56 Fed. Reg. 25800-01, 25860                  D. Thompson, 3/28/08,                      May
                                                                 Abbott Ex. 1021

6430   6/5/1991    Excerpt from HCFA Proposed Rules regarding Booth, 4/23/07, Abbott                        Expect
                   the Medicare Program and the Fee Schedule for Ex. 120
                   Physicians' Services (56 Fed. Reg. 25792)

6431   6/13/1991   Letter from Kathleen Buto to Associate        Niemann, 9/14/07,       HHC906-0166-71     May
                   Regional Administrator for Medicare, New      Abbott Ex. 295
                   York, regarding Request for Guidance on
                   Limiting the Charge for Drugs/Biologicals
                   Provided by Physicians
6432   6/17/1991   Memorandum from Kathleen Buto, Director of Buto, 9/12/07, Abbott      HHC906-0090-0098   May
                   Bureau of Policy Development to Associate     Ex. 297
                   Regional Administrator for Dallas Division of
                   Medicare regarding Medicare Drug Pricing

6437   7/31/1991   Letter from American Society of Clinical      Buto, 9/12/07, Abbott                      May
                   Oncology to Gail Wilensky, HCFA               Ex. 300
6442   8/2/1991    Letter from Edward Berger, National Medical   Niemann, 9/14/07,                          May
                   Care, Inc., to HCFA                           Abbott Ex. 299
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6443   8/9/1991    Letter from HCFA to Participating Drug                                   MO 001964-968       May
                   Manufacturers regarding Medicaid Drug
                   Rebate Program
6444   8/13/1991   United States DHHS Appeals Board decision in Nesser, 12/12/08,           HHD 048-0005-0016   May
                   Oklahoma Medicaid Appeal of Disallowance of Roxane-OK Ex. 9
                   Funds Under the Social Security Act

6447   8/22/1991  DHS Departmental Appeals Board Decision           Booth, 4/23/07, Abbott HHC011-1805-17       May
                  regarding Arkansas Department of Human            Ex. 119
                  Services (Decision No. 1273)
6450   10/25/1991 DHS Memorandum from Bryan Mitchell,               Defs' Common S.J.       HHD816-0025-27      May
                  Principal Deputy Inspector General, to            Resp., 8/28/09, Ex. 165
                  Executive Secretariat regarding Draft Final
                  Fule: Fee Schedule for Physicians' Services
6451   11/1991    Title 42, § 405.517, Revised November 1991        Disclosed with Expert                       May
                                                                    Reports of Stiroh and
                                                                    Bradford
6455   11/25/1991 HCFA Final Rule for Medicare Program Fee                                                      May
                  Schedule for Physicians' Services (56 Fed. Reg.
                  59502)
6457   12/23/1991 Rebate Agreement Between the Secretary of                                 DEY-BO-0226944-56 Expect
                  Health and Human Services and Dey
6459   1992       42 C.F.R. § 405.517 (1992)                      Niemann, 9/14/07,         HHD008-0008-09      May
                                                                  Abbott Ex. 38
6462   1992       Article Analysis of the Cost of Dispensing      Sullivan, 3/12/08,                            May
                  Third-Party Prescriptions in Chain Pharmacies Abbott Ex. 580

6467   1992        Horowitz, Joel L., “The Role of the List Price   Previously disclosed                        May
                   in Housing Markets: Theory and an                with Expert Report of
                   Econometric Model,” Journal of Applied           Bradford
                   Econometrics, Volume 7, pp. 115-129
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6468   3/1992      Myers & Stauffer Report - A Survey of Costs     Previously disclosed                        May
                   of Dispensing Prescriptions in the State of     with Expert Reports of
                   Kansas                                          Bradford and Stiroh
6469   1992        National Pharmaceutical Council,                Previously disclosed                        May
                   Pharmaceutical Benefits under State Medical     with Expert Reports of
                   Assistance Programs                             Bradford and Stiroh
6471   1992        42 U.S.C. § 256b                                                                            May
6474   2/16/1992   McFadden, Robert D., "Cuomo puts off            Previously disclosed                        May
                   Medicaid Cut after Pleas from Pharmacists,"     with Expert Report of
                   New York Times                                  Stiroh
6478   3/18/1992   DHS Departmental Appeals Board Decision         Tomlinson, 11/4/08,                         Expect
                   regarding Pennsylvania Department of Public     Abbott Ex. 1153
                   Welfare (DAB No. 1315)

6487   7/31/1992   Hearing before the Subcommittee on Health       Lockwood, 4/24/09, Ex.                      May
                   and the Environment of the Committee on         Lockwood Ery 016
                   Energy and Commerce of the House of
                   Representatives
6490   10/1992     OIG Report - Cost of Dialysis-Related Drugs     Niemann, 9/14/07,                           May
                   (A-01-91-00526)                                 Abbott Ex. 82
6491   10/1992     Henry Grabowski and John Vernon, “Brand         Previously disclosed                        May
                   Loyalty, Entry, and Price Competition in        with Expert Report of
                   Pharmaceuticals after the 1984 Drug Act,”       Bradford
                   Journal of Law and Economics, pp. 331-50
6493   11/1992     OIG Report - Physicians' Costs for              Vito, 12/5/08, Abbott    HHD009-0322-46     May
                   Chemotherapy Drugs (A-02-91-01049)              Ex. 100
6494   11/6/1992   Appendix II to OIG Report titled "Physicians'   Vito, 2/5/08, Dey Ex.    HHD060-0245        May
                   Costs for Chemotherapy Drugs"                   40

6496   11/17/1992 Contact Report Prepared by Jimmy Sigmund         Buto, 9/13/07, Abbott    HHC010-0184-0185   May
                                                                   Ex. 303
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6498   1993       HCFA Medicaid Drug Rebate Program Release Farrand, 10/28/08, Dey KYDMSPL0055138-           May
                  No. 7                                            Ex. 94                  0055145
6503   10/1993    Myers & Stauffer Report - A Survey of Costs Previously disclosed                           May
                  of Dispensing Prescriptions in the State of      with Expert Reports of
                  Kansas                                           Bradford and Stiroh
6504   1993       National Pharmaceutical Council,                 Previously disclosed                      May
                  Pharmaceutical Benefits under State Medical with Expert Reports of
                  Assistance Programs                              Bradford and Stiroh
6509   1/26/1993 58 Fed. Reg. 6095 (Jan. 26, 1993)                                                           May
6513   3/1993     GAO Report - Medicaid: Outpatient Drug           Gaston, 1/24/08, Abbott                   May
                  Costs and Reimbursements for Selected            Ex. 458
                  Pharmacies in Illinois and Maryland
6517   4/15/1993 Letter and enclosed 1993 Q1 AMPs from Dey                                 DL-BO-163158-63   May
                  to PACE Program
6519   5/20/1993 Health Insurance Claim Form (HCFA 1500)           M. Jones, 3/18/08,      VAC MDL 43813     May
                                                                   Abbott Ex. 701
6520   5/20/1993 Health Insurance Claim Form (HCFA 1500)           M. Jones, 3/18/08,      VAC MDL 43812     May
                                                                   Abbott Ex. 702
6529   9/15/1993 CPN/PPO Inc. Group Purchasing Contract            M. Jones, 12/8/08, Dey R1-022843-44       May
                                                                   Ex. 304
6532   10/1/1993 Contract Proposal to Community Pharmacy           Dey S.J., 6/26/09, Ex. DL0506             May
                  Network/PPN                                      105
6534   10/1/1993 List of Dey Laboratories, Inc. Sales Districts by Marrs, 5/15/08, Ex. 4 DL-TX-0100266       May
                  State
6538   10/15/1993 Letter and enclosed 1993 Q23 AMPs from Dey                               DEY-BO0019447     May
                  to NYS EPIC Program
6546   1994       Report to Congress entitled "Pharmacy            Vladeck, 6/21/07, BMS                     Expect
                  Reimbursement Rates: Their Adequacy and          Ex. 6
                  Impact on Medicaid Beneficiaries"
6550   1994       National Pharmaceutical Council,                 Disclosed with Expert                     May
                  Pharmaceutical Benefits under State Medical Reports of Bradford and
                  Assistance Programs                              Stiroh
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6552   1994        42 U.S.C. § 1395m (1994)                                                                  May
6553   8/9/1991    HCFA Medicaid Drug Rebate Program State                            HHC016-0067-71,        May
                   Release No. 2                                                      HHD026-0561-65
6554   1/1994      1994 January Cromolyn Sodium Nebulizer                             DL-TX 0075992-         May
                   Solution Training Manual                                           76081
6555   1/1/1994    Contract Award to Greater New York Hosp       Dey S.J., 6/26/09, Ex.
                                                                                      DL0260                 May
                   Assoc/Alternate Care                          104
6556   1/1994      Dey Monthly Sales Report                      Dey S.J. Opp., 8/28/09, DL-TX-84723-84731   May
                                                                 Ex. 312
6557   1/1994      GAO Report - Prescription Drugs: Companies Roxane S.J., 6/26/09,                          Expect
                   Typically Charge More in the United States    Ex. 88
                   Than in the United Kingdom
6562   2/1994      Dey Monthly Sales Report                      Previously disclosed    DL-TX 84733-84743   May
                                                                 with Expert Report of
                                                                 Stiroh
6563   2/1/1994    Letter and attachments from National Supplier R. Stone, 2/28/08,      VAC MDL 61806-14    May
                   Clearinghouse to Ven-A-Care of the Florida    Abbott Ex. 525
                   Keys
6565   3/1994      Dey Monthly Sales Report                      Previously disclosed    DL-TX 84744-84754   May
                                                                 with Expert Report of
                                                                 Stiroh
6568   3/15/1994   Memorandum from Charles Booth to All          Booth, 4/23/07, Abbott HHC903-0913 -        May
                   Associate Regional Administrators for         Ex. 114                 HHC903-0916
                   Medicare regarding the Determination of
                   Acquistion Cost of Drugs
6569   3/22/1994   HCFA Memorandum and attachment from Joe Buto, 9/13/07, Abbott AWP041-0823-0827            May
                   Mirabal to All Region II HCFA Medicare        Ex. 304
                   Carriers regarding Determination of
                   Acquisition Cost of Drugs--Action
6571   4/1994      Dey Monthly Sales Report                      Previously disclosed    DL-TX 84755-84769   May
                                                                 with Expert Report of
                                                                 Stiroh
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6574   4/1994      OIG Report - Follow-Up Review of the                               HHD141-0563-609       May
                   Pennsylvania Department of Public Welfare's
                   Compliance with the Federal Aggregate Upper
                   Payment Limit Requirements For Prescription
                   Drugs (A-03-92-00602)

6576   4/25/1994   Draft Memorandum from Director of Office of Booth, 10/29/07, Abbott HHC903-0931 -        May
                   Payment Policy to All Associate Regional    Ex. 362                 HHC903-0933
                   Administrators for Medicare regarding the
                   Determination of Acquisition Cost of Drugs

6577   4/25/1994   Memorandum from Rozann Abato, HCFA            Chesser, 6/24/08,    HHD021-0059-61        May
                   Deputy Director, Medicaid Bureau, to John     Roxane Ex. 76
                   Hapchuk, Director of Programs and Operations
                   Audits, regarding OIG Suggested Audit Subject
                   Matter for OIG Fiscal Year 1995 Workplan

6578   5/1994      Myers & Stauffer Report - A Survey of Costs   Bridges, 12/10/08,   ARK00007688-806       May
                   of Dispensing Prescriptions in the State of   Roxane 11
                   Arkansas
6579   5/1/1994    Dey Average Wholesale Price List             Dey S.J. Opp., 8/28/09, DL-BO-114574        May
                                                                Ex. 379
6580   5/1994      Dey Monthly Sales Report                     Previously disclosed    DL-TX 84770-84783   May
                                                                with Expert Report of
                                                                Stiroh
6581   5/1/1994    Document entitled Dey Laboratories Wholesale Dey S.J., 6/26/09, Ex. DL040                May
                   Price List                                   101
6585   5/24/1994   Memorandum from Charles Booth to All         Booth, 10/29/07, Abbott HHC902-0142 -       May
                   Associate Regional Administrators for        Ex. 363                 HHC902-0145
                   Medicare regarding the Determination of
                   Acquisition Cost of Drugs
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6586   6/1994      Dey Monthly Sales Report                    Previously disclosed     DL-TX 84784-84798    May
                                                               with Expert Report of
                                                               Stiroh
6587   6/1994      Excerpt from DMERC Medicare Advisory        Eiler, 8/28/08, Abbott   AWP035-1118          May
                   titled "1994 HCPCS Pricing List for Drug    Ex. 1128
                   Codes"
6589   6/6/1994    Letter and fax from Rena Clark at WPS to    R. Clark, 2/8/08, Dey    AWP010-1631-33       May
                   Alice Wiley at HCFA responding to Drug      Ex. 111
                   Acquisition Cost audit
6590   6/8/1994    HCFA Regional Carrier Letter No. 94-19        R. Stone, 2/29/08,      AWQ025-0215-32      May
                                                                 Roxane Ex. 44
6591   6/8/1994    Memorandum and attached documents from        Booth, 10/29/07, Dey HHC010-0111 -          May
                   Associate Regional Administrator for Medicare Ex. 103                 HHC010-0128
                   to Charles Booth regarding Carrier Drug
                   Pricing Variables
6592   7/1994      Dey Monthly Sales Report                      Previously disclosed    DL-TX 84799-84809   May
                                                                 with Expert Report of
                                                                 Stiroh
6593   7/1994      First DataBank's National Drug Data File      MA, P. Morgan,          FDB-AWP 05345-      May
                   (NDDF) User Manual                            11/30/07, Ex. 2         06015
6594   7/1994      OIG Report "Medicaid Program Savings                                                      May
                   Through the Use of Therapeutically Equivalent
                   Generic Drugs" (A-06-93-00008)
6596   7/26/1994   Memorandum and attached documents from        Booth, 10/29/07, Abbott HHD063-0037 -       May
                   Peter Hickman to Chuck Booth regarding Ways Ex. 366                   HHD063-0053
                   and Means Committee Bill on Coverage of
                   Outpatient Prescription Drugs and Home
                   Infusion Drug Therapy
6597   8/1994      Dey Monthly Sales Report                    Previously disclosed     DL-TX 84810-84820    May
                                                               with Expert Report of
                                                               Stiroh
6598   8/1994      Cigna pricing array for Cromolyn                                     AWQ021-0094-96       May
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6599   8/3/1994    Letter from George Reeb, Assistant Inspector L. Reed, 9/27/07,      HHD032-0040         May
                   General for Health Care Financing Audits, to Abbott Ex. 324
                   Jeffrey Ireland at Montana Medicaid requesting
                   Montana's participation in OIG's review of
                   pharmacy acquisition costs

6600   8/3/1994    Letter from George Reeb, Assistant Inspector                          HHD144-0326    May
                   General for Health Care Financing Audits, to
                   Benny Ridout
6601   8/3/1994    Letter from George Reeb at OIG to Susan       MO, McCann, 10/3/07, MO.025591         May
                   McCann at Missouri DSS                        Ex. 24
6602   8/8/1994    Memorandum from Charles Booth to All          Booth, 10/29/07, Abbott HHC902-0173    Expect
                   Associate Regional Administrators for         Ex. 365
                   Medicare regarding Estimated Acquisition Cost
                   Drug Survey
6603   8/11/1994   Letter from Luis Cobo, Ven-A-Care President, Richter, 12/7/07, Dey VAC MDL 43026-040 May
                   to Work Team C, regarding Partial Refunds of Ex. 32
                   Reimbursement for Parenteral Nutrition
                   Solution Lipids 10% & 20% CPT-4 Codes
                   B4184 and B4186, attaching South Carolina
                   Provider Remittance forms, Overcharge Work
                   Sheets, and check from Ven-A-Care to
                   Palmetto Government Business Admin for
                   "Refund"


6605   8/12/1994   Dey Laboratories memorandum from C.            FL, Wells, 5/25/04, Ex. DL 001-03        May
                   Jackson to M. Carrell, A. Hoyo and R. Uhl (cc: 63
                   H. Burnham, B. Mozak) re: State of Florida
                   Medicaid Program
6607   8/30/1994   "Record of Discussion" from the OIG National Sullivan, 3/12/08,        HHC022-0201-03   Expect
                   Wholesale Price Review Conference              Abbott Ex. 581
                   (Richmond, VA)
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6609   9/1994      Dey Monthly Sales Report                        Previously disclosed     DL-TX 84821-84831 May
                                                                   with Expert Report of
                                                                   Stiroh
6611   9/13/1994 Dey Laboratories Contract Procedures              TX, Rice, 3/24/03, Ex. DL-TX-0090881 - 889 May
                                                                   573
6614   9/19/1994 Letter from Luis Cobo to Palmetto GBA-C Re: Cobo, 3/4/08, Abbott           VAC MDL 43041-46 May
                  Partial Refunds of Reimbursement For             Ex. 541
                  Parenteral Nutrition Solution Lipids 20% CPT-
                  4 Code B4186, with attachments
6616   10/1994    Dey Monthly Sales Report                         Previously disclosed     DL-TX 84832-84842 May
                                                                   with Expert Report of
                                                                   Stiroh
6620   10/19/1994 Fax from Palmetto Government Benefits            Stone, 2/28/08, Abbott HHD008-0282 -       May
                  Administrators to Bob Vito                       Ex. 524                  HHD008-0287
6629   10/26/1994 Dey Laboratories Memorandum from E.              FL, Tipton, 3/21/06, Ex. DEY-FLA-0030318- May
                  Fagrell to L. Bariccelli, J. Bucaric, H.         281                      575
                  Burnham, D. Codute, C. Daulong, R. Ellis, T.
                  Galles, P. Marrs, G. Michaud, B. Mozak, C.
                  Rice, S. Schnars, J. Siebert, B. Tipton, R. Uhl,
                  R. Upp Re: IMS Report-2nd Quarter 1994

6630   10/27/1994 Letter and enclosed 1994 Q3 AMPs from Dey                                 DL-BO-163333-34     May
                  to NYS EPIC Program
6632   11/1994    Dey Monthly Sales Report                          Previously disclosed    DL-TX 84843-84852   May
                                                                    with expert Report of
                                                                    Stiroh
6635   11/8/1994   Letter from George Reeb, Assistant Inspector     Denemark, 12/9/2008,    HHD-144-0179-187    May
                   General for Health Care Financing Audits, to     Ex. Dey 610
                   Philip Soule, Medicaid Director, Department of
                   Health and Human Services
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6639   11/29/1994 Fax from Robert Zone, CGLIC Medicare              Vito, 6/19/07, Abbott    HHD042-0275 - 0277 May
                  Admin, to Robert Vito, HHS OIG                    Ex. 236
6641   11/30/1994 Letter from G. Reeb to B. Matula, Director of     Ridout, 12/5/2008,       HHD144-0141 - 50    May
                  Division of Medical Assistance                    Abbott Ex. 7
6643   12/1994    Dey Monthly Sales Report                          Previously disclosed     DL-TX 84712-84720   May
                                                                    with expert Report of
                                                                    Stiroh
6647   1995        Drug Cost Survey 1995                            Chesser, 10/28/08,       TX D&W 056923-930, May
                                                                    Abbott Ex. 1140          TABBH 17414-418,
                                                                                             TX D&W 056765, TX
                                                                                             D&W 057484, TX
                                                                                             D&W 057512, TX
                                                                                             D&W 056795, TX
                                                                                             D&W 057412, TX
                                                                                             D&W 056620, TX
                                                                                             D&W 057268, TX
                                                                                             D&W 057358, TX
                                                                                             D&W 057004, TX
                                                                                             D&W 057012, TX
                                                                                             D&W 057167


6649   1995        First DataBank PC Programmer's Guide             AL/MA, Chadwick,                             May
                                                                    10/23/07, Ex. 13
6660   8/1995      Myers & Stauffer Report - A Survey of            Previously disclosed                         May
                   Prescription Dispensing Prices In the State of   with expert Reports of
                   Wyoming                                          Bradford and Stiroh
6661   1995        National Pharmaceutical Council,                 Previously disclosed                         May
                   Pharmaceutical Benefits under State Medical      with expert Reports of
                   Assistance Programs                              Bradford and Stiroh
6662   1995        Blue Book for Windows listing of Dey                                      HHD013-0341-48      May
                   Albuterol prices
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6663   1995        Red Book for Windows listing of Dey                                    HHD013-0350-54      May
                   Albuterol prices
6664   1/1995      AdminaStar pricing array for J7620 (Albuterol) Eiler, 8/26/08, Ex. 4   AWP035-1401         May

6665   1/1995      Dey Monthly Sales Report                       Dey S.J. Opp. 8/28/09, DL-TX-84344-84372    May
                                                                  Ex. 313
6666   1/1995      AdminaStar pricing array for Albuterol                                 AWP035-1430         May
6670   1/30/1995   HCFA Memorandum from Director of Office        Sernyak, 3/6/07, Abbott HHD013-0205 - 06    May
                   of Physician and Ambulatory Care Policy and    Ex. 53
                   Director of Office of Programs Operations
                   Procedures to All Regional Administrators

6672   2/1995      Dey Monthly Sales Report                       Previously disclosed    DL-TX 84373-84416   May
                                                                  with expert Report of
                                                                  Stiroh
6676   2/6/1995    Document entitled "Medicaid Rx                 Vladeck, 6/21/07, Dey HHD013-1304           May
                   Reimbursement Report"                          Ex. 22
6677   2/13/1995   Fax from Robert Zone, CGLIC Medicare           Helton, 3/13/08,        HHD011-0209-11      May
                   Admin, to Robert Katz, OIG                     Roxane Ex. 53
6678   2/13/1995   Fax from Robert Zone, CGLIC Medicare           Vito, 2/6/08, Dey Ex. HHD 011-0311-31       Expect
                   Admin, to Robert Vito, HHS OIG                 47
6679   2/16/1995   60 Fed. Reg. 8953                              Defs' Common S.J.                           Expect
                                                                  Resp., 8/28/09, Ex. 208

6680   3/1995      Dey Monthly Sales Report                   Previously disclosed     DL-TX 84417-84445      May
                                                              with expert Report of
                                                              Stiroh
6681   3/1995      Medicare Supplier Bulletin Region B DMERC, C. Eiler, 8/26/08, Eiler AWQ058-0947-66         May
                   DMEPOS Bulletin 95-04                      Ex. 6
6682   3/9/1995    Letter from Robert Vito to Susan McCann    MO, McCann, 11/7/07, MO025398-99                May
                                                              Missouri 196
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6683   3/16/1995   OAI Work Paper File System Table of             Sernyak, 3/6/07, Abbott HHD008-0245-48      May
                   Contents (OEI-03-94-00393)                      Ex. 31
6685   3/23/1995   Letter from Robert Zone to Connie Conrad,       Helton, 3/13/08,        HHD011-0308-09      May
                   HCFA BPD                                        Roxane Ex. 54
6688   4/1995      Dey Monthly Sales Report                        Previously disclosed    DL-TX 84446-84473   May
                                                                   with Expert Report of
                                                                   Stiroh
6691   4/1995       Government Accountability Office, “Spending Previously disclosed                           May
                   Pressures Drive States Toward Program           with expert Report of
                   Reinvention,” April 1995                        Bradford
6692   4/6/1995    Letter from Beverly Pfohl at Red Book to Jesse TX, Lockwood, 9/4/09, WATMA005202            Expect
                   Childs III at Watson Laboratories seeking       Lockwood 26
                   WAC prices
6694   4/25/1995   Letter and enclosed 1995 Q1 AMPs from Dey                               DL-BO-162734-37     May
                   to NYS EPIC Program
6695   5/1995      Dey Monthly Sales Report                        Previously disclosed    DL-TX 84474-84502   May
                                                                   with expert Report of
                                                                   Stiroh
6697   5/15/1995   Collection of documents: OIG spreadsheet;       Chesser, 6/24/08,       HHD019-1922-935     May
                   letter from the State of Maryland to pharmacies Roxane Ex. 82
                   requesting invoice data; and invoices from
                   EdgeHill Pharmacy in Snow Hill, Maryland

6699   5/17/1995   Letter and attachment from Palmetto          Stone, 2/28/08, Dey Ex. HHD011-0488-513        May
                   Government Benefits Administrators to Bob    114
                   Katz, OIG
6703   06/1995     Dey Monthly Sales Report                     Previously disclosed    DL-TX 84503-84532      May
                                                                with Expert Report of
                                                                Stiroh
6708   07/1995     Dey Monthly Sales Report                     Previously disclosed    DL-TX 84533-84560      May
                                                                with Expert Report of
                                                                Stiroh
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6711   7/5/1995    Letter from Zachary Bentley to Palmetto GBA- Cobo, 3/4/08, Abbott       VAC MDL 43047-55 May
                   C Re: Partial Refunds of Reimbursement For Ex. 542
                   Parenteral Nutrition Solutions CPT-4 Code
                   4197, with attachments

6717   08/1995     Dey Monthly Sales Report                        Previously disclosed    DL-TX 84561-84589   May
                                                                   with Expert Report of
                                                                   Stiroh
6720   8/16/1995   Document entitled "Medicaid Drug Rebate         Gaston, 3/19/08,                            May
                   Program Release No. 18"                         Aventis Ex. 1
6721   8/16/1995   Fax from CIGNA DMERC to Rob Vito                Roxane S.J. Ex. 177;    HHD011-0221 - 24    May
                   regarding Nebulizer Medications                 Dey Ex. 126
6722   8/16/1995   Fax from Rob Vito to Pam Kelly, subject         Walker, 3/12/08,        HHD011-0225-28      May
                   "Policy of AWP," attaching Regional Medicare Roxane Ex. 49
                   Letter dated 5/25/94, subject "Determination of
                   Acquisition Costs of Drugs--POLICY
                   CLARIFICATION"
6725   8/25/1995   Fax from Pulmodose Carefree Solutions in        Jones, 12/8/08, Dey Ex. VAC MDL 48643-44 May
                   Kentucky to Zach Bentley attaching prices for   303
                   inhalant drugs and some of the services
                   available through Pulmidose
6726   8/30/1995   Handwritten Notes entitled "Record of           Thompson, 9/30/08,      HHD012-0225         May
                   Discussion"                                     Thompson Ex. 16
6727   8/31/1995   Contact Report                                  Thompson, 9/30/08,      HHD012-0248         May
                                                                   Thompson Ex. 17
6728   09/1995     Dey Monthly Sales Report                        Previously disclosed    DL-TX 84590-84618   May
                                                                   with expert Report of
                                                                   Stiroh
6731   9/5/1995    Contact Report                                  Thompson, 9/30/08,      HHD012-0238         May
                                                                   Thompson Ex. 18
6732   9/12/1995   Account Call Record, Territory 8                FL, Selenati, 5/5/05,   DEY FLA-0039599     May
                                                                   Ex. 339
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6735   9/14/1995  Document entitled "Presentation Privilege Log, Gaston, 1/24/08, Abbott VAC MDL 86162 -     May
                  Volume 5 No:1"                                 Ex. 453                  VAC MDL 86175
6737   9/18/1995 Document entitled "MDRI, Browse Quarterly Vito, 2/6/08, Roxane           HHD062-0798-801    May
                  Price Information, FDA Assigned Labeler Code Ex. 23
                  00300 (NDC1)"
6738   9/19/1995 Excerpt from the Federal Register, Vol. 60, No. Duzor, 3/26/08, Dey                         Expect
                  181, Proposed Rules, p.48442-48480             Ex. 172
6739   9/22/1995 Memorandum from Rick Speno to Lou               FL, Selenati, 5/5/05,    DEY-FLA-0144171    May
                  Barricelli regarding Medicaid Update           Ex. 340
6741   9/27/1995 Handwritten notes, "Record of Discussion-       Chesser, 6/24/08,        HHD021-0120-22     Expect
                  Results Conference" with typed "Record of      Roxane Ex. 87
                  Discussion" attached
6742   10/1995    Dey Monthly Sales Report                       Previously disclosed     DL-TX 84619-84647 May
                                                                 with expert Report of
                                                                 Stiroh
6746   10/4/1995 Fax from Marvin L. Hazelwood, Illinois          Defs' Common S.J.        AWP-IL-00010038-42 Expect
                  Department of Public Aid, to Robert Coolidge, Resp., 8/28/09, Ex. 15
                  South Dakota Medicaid
6749   10/20/1995 Notes from Bob Katz re: Contact with Barbara Sernyak, 3/6/07, Abbott HHD-011-0914-29       May
                  Tedesco and attached documents                 Ex. 39
6751   10/25/1995 Letter and attachments from T. Galles, Dey     TX, Galles, 2/6/03,      DL-TX-010325 - 334 May
                  Laboratories, to L. Nannas, RedBook            Galles 467
6753   11/1995    Dey Monthly Sales Report                       Previously disclosed     DL-TX 84648-84676 May
                                                                 with expert Report of
                                                                 Stiroh
6754   11/1995    Marketing Launch Plan for Albuterol            TX, Hill, 11/11/08, Hill DL-TX-0093357-387 May
                  Inhalation Aerosol, 17g (MDI)                  17
6755   11/1/1995 Telephone Contact Report - Prescription Drug Ragone, 4/18/07, Dey HHD007-0217               May
                  Inspection (OEI-03-95-00420)                   Ex. 7
6756   11/8/1995 Memorandum from “Karen” to “Rob,” “Bob,” Dey S.J. Ex. 57; Dey            HHD011-0915-29     Expect
                  and “Amy"                                      Ex. 17
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6757   11/9/1995  Draft Memorandum from A. Sernyak to L.         Vito, 12/2/08, Dey Ex. HHD917-0001-0003     May
                  Foley, L. Hilliard, L. Morris, T. Tantillo, R. 1103
                  Vito
6760   11/13/1995 Letter with attachments from Taylor Home       Vito, 6/20/07, Abbott HHD011-0934 - 0936    May
                  Health Pharmacy to Robert Vito re:             Ex. 238
                  Invoices/Costs of Respiratory Medications and
                  Nebulizer
6763   11/28/1995 Fax from Zach Bentley to Mark Lavine and       Jones, 10/8/02, Jones   R1-024059-060       May
                  Sally Straus at DOJ                            Ex. 294
6764   11/28/1995 Pharmaceutical Buyers, Inc. Catalog, dated     Dey S.J., 6/26/09, Ex. HHD194-1158-85       May
                  November 28, 1995                              63
6766   12/1995    Dey Monthly Sales Report                       Previously disclosed    DL-TX 84677-84709   May
                                                                 with expert Report of
                                                                 Stiroh
6767   12/1/1995 Dey’s Average Wholesale Price List              Dey S.J. Opp., 8/28/09, DL-TX-0093381       May
                                                                 Ex. 377
6769   12/4/1995 Fax Cover Page and attached documents from TX, Mozak, 11/6/02,          DL-TX-0090591-96    May
                  Dey Laboratories to First DataBank             Mozak Ex. 342
6777   1996       1996 Attendees of the Nat'l Symposium for      Shirley, 12/3/08, Ex.   HHD0052-0135-36     May
                  Medicaid Pharmacy Administrators               Abbott Shirley 6
6778   1996       CFR 447.204                                    Farrand, 10/28/08, Dey                      Expect
                                                                 Ex. 81
6779   1996       Fax from OIG to Ohio Medicaid referencing      Reid, 12/15/08, Abbott- HHD059-0014-0029    May
                  Barron's Articles                              Reid Ex. 006
6780   1996       List of Attendees at 1996 National Symposium Chesser, 10/28/08,        HHD142-0279-83      May
                  For Medicaid Pharmacy Administrators           Roxane Ex. 146

6783   1996        National Pharmaceutical Council,              Previously disclosed                        May
                   Pharmaceutical Benefits under State Medical   with expert Reports of
                   Assistance Programs                           Bradford and Stiroh
6784   1996        Cigna pricing array for Ipratropium Bromide                            AWQ 021-0097       May
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6785   1996        Blue Book for Windows listing of Dey                                HHD013-0355-61         May
                   Albuterol prices
6786   1/1996      CBO Report - How the Medicaid Rebate on     Duzor, 3/26/08, Dey                            May
                   Prescription Drugs Affects Pricing in the   Ex. 173A
                   Pharmaceutical Industry
6787   1/1996      Dey Laboratories Monthly Net Sales          Dey S.J. Opp. Ex. 383   DL-TX-0083840          May

6788   1/1996      Dey letter to Edward Vaccaro, New Jersey    Vaccaro, 12/2/08, USA VAC MDL 44864            May
                   Medicaid regarding addition of Albuterol    Ex. 7
6789   1/1996      Dey Monthly Sales Report                    Dey S.J. Opp., 8/28/09, DL-TX-83831-83866      May
                                                               Ex. 314
6791   1/1996      Letter from R. Mozak to Chain Drug Store    Marrs, 5/15/08, Marrs DL-TX-0093370            May
                   introducing new generic                     10
6794   1/1/1996    Texas Medicaid State Plan Amendment 95-20                           HHC010-0649-59         May

6796   1/17/1996   Dey Laboratories Memorandum from             TX, Bronstein, 3/11/03, DL-TX-0092596         May
                   Margarita Flores to Todd Galles and Ed Hugo Bronstein 545
                   (cc: Debbie Bronstein) re: Medicaid/Medicare
                   Mailing Albuterol MDI/Dey Care™ Products

6799   2/1996      Dey Laboratories Monthly Net Sales            Dey S.J. Opp., 8/28/09, DL-TX-0083876        May
                                                                 Ex. 384
6800   02/1996     Dey Monthly Sales Report                      Previously disclosed    DL-TX 83867-83905    May
                                                                 with expert Report of
                                                                 Stiroh
6801   2/1996      OIG Report - Medicare Payments for Nebulizer Dey S.J., 6/26/09, Ex.                        Expect
                   Drugs (OEI-03-94-00390)                       47
6803   2/13/1996   Email from Amy Sernyak to Barbara Tedesco Sernyak, 3/6/07, Dey        HHD011-0092 - 0097   May
                                                                 Ex. 1
6804   2/13/1996   Excerpt from a fax from Dr. Robert M. Zone to Dey S.J., 6/26/09, Ex. HHD011-0270           May
                   Robert Vito                                   62
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6806   2/20/1996   Letter and enclosed 1995 Q4 AMPs from Dey                            DL-BO-162834-38       May
                   to NYS EPIC Program
6808   2/29/1996   Email from Robert Vito to Robert Katz, Linda Sernyak, 3/6/07, Abbott HHD-008-441           May
                   Ragone, Thomas Robertson and David J. Graf Ex. 42

6809   3/1996      Dey Laboratories Monthly Net Sales            Dey S.J. Opp. , 8/28/09, DL-TX-0083915       May
                                                                 Ex. 385
6810   03/1996     Dey Monthly Sales Report                      Previously disclosed     DL-TX 83906-83945   May
                                                                 with expert Report of
                                                                 Stiroh
6811   3/1/1996    Dey’s Average Wholesale Price List            Dey S.J. Opp., 8/28/09, DL-TX-0105334        May
                                                                 Ex. 378
6812   3/1996      Letter from R. Mozak to Dey Customer          Marrs, 5/15/08, Marrs DL-TX-0076258          May
                   introducing new generic                       12
6813   3/6/1996    Email from Robert Vito to Robert Katz, Amy    Vito, 2/6/08, Roxane     HHD 042-0014        May
                   Sernyak, Karen Folk and Linda Ragone          Ex. 32

6815   3/18/1996   Letter from Mary Beth Clarke, OIG, to Shana Vito, 6/19/07, Abbott      HHD042-0018 - 0020 May
                   Olshan, HCFA re: Drug Reimbursement           Ex. 232
                   Information
6816   3/18/1996   Draft OIG report entitled Review of Pharmacy McCann, 10/3/07,          MO.025451-448       May
                   Acquisition Costs for Drugs Reimbursed Under McCann 34
                   the Medicaid Prescription Drug Program of the
                   Missouri Department of Social Services (A-06-
                   95-00067)

6817   3/19/1996   Fax from Zach Bentley to Robert Vito, dated   Dey S.J., 6/26/09, Ex.   R1-019102-109       May
                   March 19, 1996                                68
6821   3/28/1996   Cigna pricing array for Albuterol                                     AWQ021-0092          May
6822   4/1996      Dey Laboratories Monthly Net Sales            Dey S.J. Opp., 8/28/09, DL-TX-0083955        May
                                                                 Ex. 386
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6823   04/1996     Dey Monthly Sales Report                      Previously disclosed    DL-TX 83946-83991   May
                                                                 with expert Report of
                                                                 Stiroh
6824   4/1996      AdminaStar pricing array for Albuterol                                AWP035-1429         May
6828   4/18/1996   Document entitled "Medicare Professional      Roxane S.J., 6/26/09,   AWQ025-0722 - 24    May
                   Reimbursement Desk Procedure"                 Ex. 167
6829   4/19/1996   Letter from Searle to OIG regarding National Sullivan, 3/12/08,       HHD 142-0268-283    May
                   Symposium for Medicaid Pharmacy               Abbott Ex. 574
                   Administrators with agenda
6830   4/22/1996   Note and attached document from Bernadette Niemann, 9/14/07,          HHC026-0240-42      May
                   Schumaker to Jan Seabolt regarding Corrective Abbott Ex. 311
                   Action Plan for OIG Report OEI 03-94-00390

6836   5/1996      Dey Laboratories Monthly Net Sales            Dey S.J. Opp., 8/28/09, DL-TX-0083999       May
                                                                 Ex. 387
6837   05/1996     Dey Monthly Sales Report                      Previously disclosed    DL-TX 83992-84030   May
                                                                 with expert Report of
                                                                 Stiroh
6838   5/1996      OIG Report - Appropriateness of Medicare      Roxane S.J., 6/26/09,                       May
                   Prescription Drug Allowances (OEI-03-95-      Ex. 94
                   00420)
6839   5/1996      OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.         HHD014-0544-62      May
                   Costs for Drugs Reimbursed Under the         Resp., 8/28/09, Ex. 123;
                   Medicaid Prescription Drug Program of the    Abbott Ex. 325
                   California Department of Health Services (A-
                   06-95-00062)
6841   5/6/1996    Letter and attached documents from Cheryl     Niemann, 10/11/07,      HHD063-0379-85      May
                   King to Senator Strom Thurmond                Abbott Ex. 334
6844   5/24/1996   Fax from Bill Alpert to Robert Vitto re: My   Sernyak, 3/6/07, Abbott HHD008-0469 - 473   May
                   AWP sheet                                     Ex. 45
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6846   5/31/1996   Memos from June Gibbs Brown, Inspector       Chesser, 10/28/08,                             May
                   General to Bruce Vladeck, HCFA               Roxane Ex. 142
                   Administrator and Kimberly Belshe, Medi-Cal
                   Director, regarding OIG report "Review of
                   Pharmacy Acquisition Costs for Drugs
                   Reimbursed Under the Medicaid Prescription
                   Drug Program of the California Department of
                   Health Services"
6847   6/1996      Dey Laboratories Monthly Net Sales              Dey S.J. Opp., 8/28/09, DL-TX-0084042       May
                                                                   Ex. 388
6848   06/1996     Dey Monthly Sales Report                        Previously disclosed    DL-TX 84031-84101   May
                                                                   with expert Report of
                                                                   Stiroh
6849   6/1996      OIG report - A Comparison of Albuterol          Dey S.J., 6/26/09, Ex.                      Expect
                   Sulfate Prices (OEI 03-94-00392)                48; Abbott Ex. 60
6850   6/1996      OIG report - Suppliers’ Acquisition Costs for   Dey S.J., 6/26/09, Ex.                      Expect
                   Albuterol Sulfate (OEI-03-94-00393)             49; Abbott Ex. 30
6853   6/7/1996    Email from Robert Vito to Linda Ragone and      Vito, 6/20/07, Abbott HHD042-0066 - 0068    May
                   Robert Katz                                     Ex. 241
6854   6/10/1996   Article from Barron's - “Hooked on Drugs"       Bentley, 7/25/02,                           May
                                                                   Bentley 281, previously
                                                                   disclosed with Expert
                                                                   Report of Stiroh

6856   7/1996      Dey Laboratories Monthly Net Sales              Dey S.J. Opp., 8/28/09, DL-TX-0084113       May
                                                                   Ex. 389
6857   07/1996     Dey Monthly Sales Report                        Previously disclosed    DL-TX 84102-84138   May
                                                                   with Expert Report of
                                                                   Stiroh
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6858   7/1996      OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.       HHD014-0657-74        May
                   Costs for Drugs Reimbursed Under the        Resp., 8/28/09, Ex. 121
                   Medicaid Prescription Drug Program of the
                   Montana Department of Public Health and
                   Human Services (A-06-95 -00068)

6859   7/1996      AdminaStar pricing array for Albuterol                              AWP036-0404           May
6864   7/11/1996   Email from George Grob to Robert Vito         Vito, 6/20/07, Abbott HHD050-1262           May
                                                                 Ex. 245
6865   7/12/1996   Letter from Paul Metzger to Tom Tantillo      Stone, 2/29/08, Dey Ex. HHD011-1076-89      May
                                                                 117, 931
6866   7/25/1996   Email from Mary Beth Clark to George Grob,    Stone, 2/29/08, Dey Ex. HHD011-1094         May
                   Robert Brown, Robert Vito and Stuart Wright   118

6867   7/25/1996   Letter from Darlene Debus, Manager of        Niemann, 9/14/07,      HHD063-0377 - 0378 May
                   Colorado State Team, HCFA, to Grant Steffen, Abbott Ex. 309
                   Blue Cross Blue Shield of North Dakota

6868   7/29/1996   Email from Thomas Tantillo to Robert Vito and Stone, 2/29/08, Dey Ex. HHD011-1097         May
                   Ben Jackson                                   119
6869   8/1/1996    Contract award between Dey Laboratories and Dey S.J., 6/26/09, Ex. HHD194-1256            May
                   Gerimed, effective August 1, 1996             64
6870   8/1996      Dey Laboratories Monthly Net Sales            Dey S.J. Opp., 8/28/09, DL-TX-0084148       May
                                                                 Ex. 390
6871   8/1996      Dey Monthly Sales Report                      Previously disclosed    DL-TX 84139-84180   May
                                                                 with Expert Report of
                                                                 Helms
6872   8/1996      OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.                             May
                   Costs for Drugs Reimbursed Under the          Resp., 8/28/09, Ex. 51
                   Medicaid Prescription Drug Program of the
                   Florida Agency for Health Care Administration
                   (A-06-95 -00065)
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6873   8/1996      Cigna pricing array for Cromolyn                                      AWQ046-0018         May
6874   8/5/1996    Letter from Grant Steffen, Blue Cross Blue    Niemann, 9/14/07,       HHC014-0172-89      May
                   Shield of North Dakota, to Jill Merrill,      Abbott Ex. 310
                   Medicare Program, HCFA
6875   8/8/1996    Ven-A-Care Medicaid claim for Albuterol       Bentley, 11/6/08, Dey   VAC MDL 43968-73 May
                                                                 216
6877   8/26/1996   Ipratropium Bromide Launch Manual Fall 1996                           DL-TX-0076144-202   May

6880   9/1996      Dey Laboratories Monthly Net Sales          Dey S.J. Opp., 8/28/09, DL-TX-0084190         May
                                                               Ex. 391
6881   9/1996      Dey Monthly Sales Report                    Previously disclosed    DL-TX 84181-84221     May
                                                               with Expert Report of
                                                               Stiroh
6882   9/1996      OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.       HHD141-0277-93        May
                   Costs for Drugs Reimbursed Under the        Resp., 8/28/09, Ex. 23
                   Medicaid Prescription Drug Program of the
                   Delaware Department of Health and Social
                   Services (A-06-95-00063)

6883   9/1996      OIG Report - Review of Pharmacy Acquisition Weeks, 10/21/08, USA HHD141-0350 - 0367 May
                   Costs for Drugs Reimbursed Under the        Ex. 019
                   Medicaid Prescription Drug Program of the
                   North Carolina Department of Human Services
                   (A-06-05-00071)
6884   9/17/1996   Dey’s Average Wholesale Price List            Dey S.J. Opp., 8/28/09, DL-TX-0091799       May
                                                                 Ex. 376
6885   9/24/1996   Connecticut Medicaid notes summarizing        CT, Warrick S.J., Ex. CT0027836-44          May
                   meeting with Pharmacy TAG group               67
6886   9/30/1996   OIG Semiannual Report (20th Anniversary)      Ragone, 4/17/07,                            May
                                                                 Abbott Ex. 83
6887   10/1996     Dey Laboratories Monthly Net Sales            Dey S.J. Opp., 8/28/09, DL-TX-0084231       May
                                                                 Ex. 392
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6888   10/1996     Dey Monthly Sales Report                     Previously disclosed    DL-TX 84222-84260   May
                                                                with Expert Report of
                                                                Stiroh
6889   10/2/1996   Letter and attached documents from Zachary   Vladeck, 5/4/07, Abbott R2-039406-40545     May
                   Bentley and T. Mark Jones, Ven-A-Care of the Ex. 160
                   Florida Keys, Inc., to Bruce Vladeck,
                   Administrator of HCFA, regarding Excessive
                   Reimbursements for Certain Pharmaceuticals
                   by the Medicare and Medicaid Programs

6891   10/22/1996 Letter from Gary Stangler at Missouri DSS to MO, McCann, 10/3/07, MO.051786-87            May
                  June Gibbs Brown                             McCann 38
6892   10/25/1996 Dey Laboratories Memorandum regarding        Dey S.J., 6/26/09, Ex. DL0224                May
                  Contract Modification                        103
6894   11/1996    Dey Laboratories Monthly Net Sales           Dey S.J. Opp., 8/28/09, DL-TX-0084270        May
                                                               Ex. 393
6895   11/1996     Dey Monthly Sales Report                    Previously disclosed    DL-TX 84261-84298    May
                                                               with Expert Report of
                                                               Stiroh
6896   11/1996     OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.                            May
                   Costs for Drugs Reimbursed Under the        Resp., 8/28/09, Ex. 119
                   Medicaid Prescription Drug Program of the
                   Virginia Department of Medical Assistance
                   Services (A-06-95-00072)

6898   11/1996    AdminaStar pricing array for Albuterol                                 AWP036-0335        May
6899   11/15/1996 Dey’s Average Wholesale Price List             Dey S.J. Opp., 8/28/09, DL-TX-0096238      May
                                                                 Ex. 375
6901   12/1996     Dey Laboratories Monthly Net Sales            Dey S.J. Opp., 8/28/09, DL-TX-0084306      May
                                                                 Ex. 394
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6902   12/1996     Dey Monthly Sales Report                      Previously disclosed    DL-TX 84299-84342    May
                                                                 with Expert Report of
                                                                 Stiroh
6903   12/1996     DMERC Region D Supplier Manual (Revision Helton, 3/13/08, Dey                              May
                   No. 96-5)                                     Ex. 128
6904   12/1/1996   Handwritten Note and Attachments from         Sernyak, 3/6/07, Abbott HHD008-0480 - 489    May
                   George Grob to Mary Beth Clarke, Stuart       Ex. 47
                   Wright, Rob Vito, Mark Yessian
6906   12/1996     OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.         HHD014-0478-93       May
                   Cost for Drugs Reimbursed Under the           Resp., 8/28/09, Ex. 29
                   Medicaid Prescription Drug Program of the
                   Nebraska Department of Social Services (A-06-
                   95-00069)
6908   12/3/1996   Fax from Zachary Bentley and Mark Jones to Vladeck, 5/4/07, Abbott HHC003-0471-75          May
                   Thomas Hoyer at HCFA                        Ex. 161
6909   12/1996     OIG Report - Review of Pharmacy Acquisition Vaccaro, 12/2/08,                              May
                   Cost for Drugs Reimbursed Under the         Vaccaro Ex. 6
                   Medicaid Prescription Drug Program of the
                   New Jersey Department of Human Services (A-
                   06-95-00070)
6915   12/17/1996 Letters and attachments from Kathleen Buto to Buto, 9/13/07, Abbott    HHC003-0477-0484     May
                  T. Mark Jones and Zachary Bentley             Ex. 306

6917   12/30/1996 Memo to Pharmacy TAG members, including         CT, Warrick S.J.,      CT0028283-84         May
                  CT official, regarding drug acquisition costs   6/1/06, Ex. 66

6920   1997        Excerpt from Eli's Home Health Care Report      Vito, 2/5/08, Abbott Ex. HHD 062-0078-88   May
                   entitled "Federal Developments"                 470
6921   1997        Excerpts of the Balanced Budget Act of 1997, Dey S.J., 6/26/09, Ex.                        May
                   Pub. L. No. 105-33, § 4556, 111 Stat. 251, 462- 161
                   63 (1997)
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6922   1997     Inspection Schedule for OIG report "Excessive Hansford, 3/14/07, Dey HHD009-0007-20         May
                Medicare Reimbursement for Prescription         Ex. 3
                Drugs" (OEI-03-97-00290)
6931   1997     1997 DMERC Nebulizer pricing documents                                  AWQ057-0348-82      May
6932   1997     Schweitzer, Stuart O., Pharmaceutical           Previously disclosed                        May
                Economics and Policy, Oxford: 1997              with Expert Reports of
                                                                Bradford and Stiroh
6933   5/1997   Myers & Stauffer Report - Survey of Costs of Previously disclosed                           May
                Dispensing Prescriptions in the State of Kansas with Expert Reports of
                                                                Bradford and Stiroh
6934   1997     National Pharmaceutical Council,                Previously disclosed                        May
                Pharmaceutical Benefits under State Medical with Expert Reports of
                Assistance Programs                             Bradford and Stiroh
6935   1997     Balanced Budget Act of 1997 (BBA), Pub. L.                                                  May
                105-33, 111 Stat. 464-463 (1997)
6936   1997     42 U.S.C. § 1395l                                                                           May
6937   1997     42 U.S.C. § 1395m (1997)                                                                    May
6938   1997     Collection of claims submitted by Ven-A-Care Bentley, 3/5/08, Bentley VAC MDL 43937-67      May
                                                                Ex. 553
6939   1/1997   Dey Monthly Sales Report                        Dey S.J. Opp., 8/28/09, DL-TX-83379-83406   May
                                                                Ex. 315,
6941   1/1997   OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.                               May
                Costs for Drugs Reimbursed Under the            Resp., 8/28/09, Ex. 122
                Medicaid Prescription Drug Program of the
                Missouri Department of Social Services (A-06-
                95-00067)
6942   1/1997   OIG Report - Review of Pharmacy Acquisition FL, Wells, 5/26/05,                             May
                Costs for Drugs Reimbursed Under the        Wells Ex. 98
                Medicaid Prescription Drug Program of the
                District of Columbia Department of Human
                Services (A-06-95-00064)
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6943   1/1997      AdminaStar pricing array for Albuterol                                AWP036-0407       May
6944   1/2/1997    Article from The Washington Post entitled     Vito, 6/20/07, Abbott   HHD062-0642       May
                   "Battling the High Prices Medicare Pays for   Ex. 239
                   Drugs" with handwritten annotations
6945   1/8/1997    Fax from Linda Ragone to Teresa Revanna         Ragone, 4/18/07, Dey HHD009-0232-35     May
                                                                   Ex. 10
6948   1/20/1997   Article from Drug Topics entitled "More I.G. Sernyak, 3/6/07, Abbott HHD013 - 0231      May
                   reports cite Rx discounts by retail pharmacies" Ex. 50

6949   02/1997     Dey Monthly Sales Report                    Previously disclosed    DL-TX 83407-83434   May
                                                               with Expert Report of
                                                               Stiroh
6950   2/1997      OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.       HHD014-0620-38      May
                   Costs for Drugs Reimbursed Under the        Resp., 8/28/09, Ex. 117
                   Medicaid Prescription Drug Program of the
                   Maryland Department of Health and Mental
                   Hygiene (A-06-95-00066)

6951   2/1997      President's FY 1998 Budget: Medicare Savings                           HHD013-0235-37  May
                   and Investment Proposals Background
                   Materials
6952   2/4/1997    Fax from Mark Jones to Rob Vito attaching      M. Jones, 12/8/08, Dey VAC MDL 43554-56 May
                   Dey Labs prices for Ven-A-Care                 Ex. 307
6953   2/13/1997   Excerpt from Hearings before the United States Vladeck, 5/4/07, Abbott                 May
                   Senate Committee on Finance regarding the      Ex. 155
                   President's Fiscal Year 1998 Budget Proposal
                   for Medicare, Medicaid, and Welfare

6954   2/13/1997   Letter from Benny Ridout to George Grob,      Vito, 6/20/07, Abbott   HHD061-0977 - 0981 May
                   Deputy Inspector General at DHS               Ex. 253
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6956   2/21/1997   GAO Report "Pharmacy Benefit Managers:                                SCSHP0023906-21     May
                   FEHBP Plans Satisfied with Savings and
                   Services, But Retail Pharmacies Have
                   Concerns"
6958   03/1997     Dey Monthly Sales Report                      Previously disclosed    DL-TX 83435-83464   May
                                                                 with Expert Report of
                                                                 Stiroh
6959   3/1997      OIG Report - Questionable Practices Involving Ragone, 4/18/07,                            May
                   Nebulizer Drug Therapy (OEI-03-94-00391)      Abbott Ex. 104

6960   3/1997      AdminaStar pricing array for Ipratropium                              AWP036-0347         May
                   Bromide
6962   3/17/1997   Fax from K. Lawton to T. Galles re:            TX, Gmeiner 1/20/03, DL 010 - 022          May
                   AWP/WAC Pricing                                Gmeiner 623
6963   3/19/1997   Cigna Memorandum from Barbara Douglas to Helton, 3/13/08, Dey         AWQ046-0063-72      May
                   "DMD's & CO"                                   Ex. 134
6964   3/20/1997   Texas Pharmacy Association v. Texas                                                       Expect
                   Department of Health, No. 96-02266, 1997 WL
                   34703580 (Tex. Dist. Travis County March 20,
                   1997)
6966   3/27/1997   Document titled "Inhalation Solution Pricing - Stone, 2/29/08, Roxane AWQ022-0001-89      May
                   Summary of Methodology"                        Ex. 46
6967   3/27/1997   Email from Adrian Oleck to Cheryl Eiler and Eiler, 8/26/08, Eiler Ex. AWQ065-0145-46      May
                   Alice Mekkelson                                7
6968   3/27/1997   Fax from AdminaStar Federal to Paul Hughes, Eiler, 8/26/08, Eiler Ex. AWQ037-0095-99      May
                   Paul Metzger, Robert Zone, Michael Nelson      8

6970   04/1997     Dey Monthly Sales Report                      Previously disclosed    DL-TX 83465-83497   May
                                                                 with Expert Report of
                                                                 Stiroh
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6972   4/1997      OIG Report - Medicaid Pharmacy: Actual         Vladeck, 6/21/07, BMS                        May
                   Acquisition Cost of Prescription Drug Products Ex. 7
                   for Brand Name Drugs (A-06-96-00030)

6974   4/1/1997    Cigna pricing array for Ipratropium Bromide                            AWQ 021-0219     May
6975   4/1997      Cigna pricing array for Cromolyn                                       AWQ021-0206-08   May
6976   4/1997      Cigna pricing array for Cromolyn                                       AWQ046-0040      May
6977   4/1997      Cigna pricing array for Cromolyn                                       AWQ046-0089      May
6978   4/1997      Cigna pricing array for Cromolyn                                       AWQ046-0125      May
6981   4/4/1997    Fax from Zach Bentley and Mark Jones to Rob M. Jones, 12/8/08, Dey     VAC MDL 43585-86 May
                   Vito at OIG Re: Current Albuterol Prices    Ex. 308

6982   4/8/1997    Faxes from MediSpan to E. Gmeiner             TX, Gmeiner, 1/20/03,    DL 024 - 025; DL 043 - May
                                                                 Ex. 618                  046
6990   05/1997     Dey Monthly Sales Report                      Previously disclosed     DL-TX 83498-83529 May
                                                                 with Expert Report of
                                                                 Stiroh
6997   5/28/1997   Email from "STE900.CONF.ROOM" to Robin R. Stone, 2/28/08,              AWQ025-0300          May
                   Stone re: Drug Pricing Reminder               Abbott Ex. 528
6998   06/1997     Dey Monthly Sales Report                      Previously disclosed     DL-TX 83530-83561    May
                                                                 with Expert Report of
                                                                 Stiroh
6999   6/3/1997    Chart entitled "Excessive Medicare            Ragone, 4/18/07,         HHD009-0977-81       May
                   Reimbursement for Prescription Drugs (OEI-03- Roxane Ex. 2
                   97-00290) - Information Compiled From
                   VenACare Exhibits"
7000   6/5/1997    Document entitled "Medicaid Drug Rebate       Gaston, 3/19/08,                              May
                   Program Release No. 29"                       Aventis Ex. 3
7002   6/12/1997   Fax from Ven-A-Care of the Florida Keys, Inc. Vito, 6/20/07, Abbott    HHD052-2058 - 2061 May
                   to Rob Vito                                   Ex. 256
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7003   6/12/1997   Letter from Zachary Bentley and Mark Jones to TX, Bentley, 7/25/02,   R1-019327-29    May
                   Bruce Vladeck at HCFA, dated 6/12/97,         Ex. 280
                   regarding "The Health Care Financing
                   Administration's Knowing Squandering of
                   More Than One Billion Dollars of Medicare
                   Funds for Parenteral Nutrition"

7007   6/19/1997   Fax from “Mark” and “Zach” to Rob Vito and    M. Jones, 12/8/08, Dey VAC MDL 43646-650 May
                   Linda Ragone, dated June 19, 1997             Ex. 310
7009   6/19/1997   Fax from Ven-A-Care to Rob Vito, dated June   M. Jones, 12/8/08, Dey VAC MDL 43204-207 May
                   19, 1997                                      Ex. 323
7011   6/24/1997   Report of the House Committee on Budget       Vladeck, 6/21/07, BMS                    May
                   regarding the Balanced Budget Act of 1997     Ex. 3
7013   07/1997     Dey Monthly Sales Report                      Previously disclosed   DL-TX 83562-83596 May
                                                                 with Expert Report of
                                                                 Stiroh
7014   7/1/1997    AdminaStar pricing array for Albuterol                               AWP036-0808       May
7015   7/1/1997    AdminaStar pricing array for Albuterol                               AWP036-0841       May
7017   7/1997      Excerpt from the Red Book, Release: July,                            HHD051-0079-81    May
                   1997
7018   7/3/1997    Spreadsheet entitled "Excessive Medicare       Hansford, 3/14/07, HHD-013-2784-88   May
                   Payments for Prescription Drugs (OEI-03-97- Abbott Ex. 66
                   00290) - Drug Catalog/GPO Prices Compared
                   to Medicare"
7019   7/3/1997    Spreadsheet entitled "Excessive Medicare       Hansford, 3/14/07, HHD-013-2794-96   May
                   Payments for Prescription Drugs (OEI-03-97- Abbott Ex. 67
                   00290) - Drug Catalog/GPO Prices Compared
                   to Medicare"
7024   7/26/1997   Fax from Zach Bentley and Mark Jones to T. M. Jones, 12/8/08, Dey VAC MDL 45083-087 May
                   Reed Stephens at DOJ regarding Florida         Ex. 312
                   Medicaid's reimbursement for Albuterol Sulfate
                   0.083%
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7027   7/30/1997   Letter and enclosed 1997 Q2 AMPs from Dey                              DL-BO-162218-20      May
                   to NYS EPIC Program
7029   8/1997      Dey Monthly Sales Report                        Previously disclosed    DL-TX 83597-83633   May
                                                                   with Expert Report of
                                                                   Stiroh
7030   8/1997      OIG Report: Medicaid Pharmacy - Actual          DeParle, 12/5/07,       HHD014-0443-60      Expect
                   Acquisition Cost of Generic Prescription Drug Abbott Ex. 158
                   Products (A-06-97-00011)
7032   8/4/1997    Email from Mary Beth Clark to Robert Vito       Sernyak, 3/6/07, Abbott HHD013-2910-11      May
                                                                   Ex. 51
7033   8/5/1997    Balanced Budget Act § 4316, PL 105-33, 42       DeParle, 5/18/07,                           May
                   U.S.C. § 1395u                                  Abbott Ex. 201
7034   8/5/1997    42 U.S.C. § 1395u                                                                           May
7035   8/7/1997    Letter from E. Gmeiner to K. Gutgesell at First TX , Gmeiner, 1/20/03, DL-TX-001032         May
                   DataBank introducing new 30-pack for            Ex. 620
                   Ipratropium Bromide Inhalation Solution
7039   8/13/1997   Second Amended Complaint for Money              Thompson, 9/30/08, Ex.                      May
                   Damages & Civil Penalties Under the False       24
                   Claims Act 31 U.S.C. §§ 3729-3732 in United
                   States of America ex rel Ven-A-Care of the
                   Florida Keys, Inc. v. Dey Laboratories, Civil
                   Action No. 95-1354-Civ. (S.D. Fla.)

7041   8/14/1997   Faxes from MediSpan and First DataBank to E. TX, Gmeiner, 1/20/03,     DL-TX-001023 - 025; May
                   Gmeiner re: Pricing Database Confirmation     Ex. 619                  DL-TX-001030 - 031
                   Form
7042   8/15/1997   "Draft, A Study of the Cost of Economical and KY, Bahr, 1/29/08, Ex.   KYDMS125090-         May
                   Efficiently Dispensed Prescription            6                        125116
                   Medications" (Myers and Stauffer)
7045   09/1997     Dey Monthly Sales Report                      Previously disclosed     DL-TX 83634-83684    May
                                                                 with Expert Report of
                                                                 Stiroh
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7052   10/1997     Dey Monthly Sales Report                        Previously disclosed     DL-TX 83685-83732   May
                                                                   with Expert Report of
                                                                   Stiroh
7055   10/17/1997 United States’ Unopposed Motion for              Dey S.J., 6/26/09, Ex.   ABT 008-0339-0342   May
                  Extension of Seal on Qui Tam Complaint           96
                  Through January 15, 1998 and for Partial
                  Lifting of the Seal and Memorandum of Law in
                  United States of America ex rel Ven-A-Care of
                  the Florida Keys, Inc. v. Abbott Labs. et al.,
                  Civil Action No. 95-1354-Civ. (S.D. Fla.)

7059   10/28/1997 Fax from Dey Laboratories to Connie              TX, 1/20/03, Gmeiner DL-TX-001037           May
                  Westbrook, MediSpan                              621
7062   10/30/1997 Email from Robert Niemann to Colleen             Niemann, 10/11/07,      HHC007-0292         May
                  Carpenter                                        Abbott Ex. 346
7064   11/1997    Dey Monthly Sales Report                         Previously disclosed    DL-TX 83733-83786 May
                                                                   with Expert Report of
                                                                   Stiroh
7066   11/10/1997 Fax from Zach Bentley to Rob Vito attaching      M. Jones, 12/8/08, Dey VAC MDL 43712-714 May
                  Albuterol prices                                 Ex. 313
7067   11/11/1997 Dey Laboratories Inter-Office Memorandum         TX, Bronstein, 3/11/03, DL-TX-0161660 - 664 May
                  from W. Tate to Regional Managers (cc: D.        Bronstein 551
                  Bronstein, C. Daulong, D. Marr, P. Marrs, R.F.
                  Mozak, C. Rice, S. Sullivan, B. Tipton) re:
                  Pricing Authorization
7068   11/14/1997 Email from Robert Niemann to Mark Vogel          Niemann, 10/11/07,     HHC007-0294       May
                                                                   Abbott Ex. 347
7069   11/24/1997 Fax from “Zach” to Robert Vito, dated            M. Jones, 12/8/08, Dey VAC MDL 43715-720 May
                  November 24, 1997                                Ex. 314
7072   12/1997    Dey Monthly Sales Report                         Previously disclosed   DL-TX 83787-83829 May
                                                                   with Expert Report of
                                                                   Stiroh
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7073   12/1997    OIG report - Excessive Medicare Payments for N. Molyneaux, 1/11/07,                    Expect
                  Prescription Drugs (OEI-03-97-00290)         Abbott Ex. 2
7075   12/8/1997 Letter from Congressman Charles Grassley to DeParle, 12/5/07,         HHD009-0107-08    May
                  Nancy-Ann Min DeParle                        Roxane Ex. 11
7078   12/13/1997 Remarks By The President In Radio Address    Dey S.J., 6/26/09, Ex. HHD009-0104 -      Expect
                  To The Nation                                170                     HHD009-0105
7084   1998       Article from Eli's Home Care Week entitled   Defs' Common S.J.       HHD009-0150       May
                  "Clinton Plans to Revive Average Acquisition Resp., 8/28/09, Ex. 209
                  Cost Issue"
7088   1998       Receipt Signature Sheet for Ven-a-Care       J. Young, 12/3/08,      VAC MDL 75948-951 May
                  Presentation Material at NAMFCU Conference Roxane Ex. 13

7094   1998       National Pharmaceutical Council,              Disclosed with Expert                         May
                  Pharmaceutical Benefits under State Medical   Reports of Bradford and
                  Assistance Programs                           Stiroh
7095   1998       42 C.F.R. § 405.517 (1998)                                                                  May
7097   1998       Cigna pricing array for Ipratropium Bromide                             AWQ 021-0220-21     May
7098   1/1998     Dey Monthly Sales Report                        Dey S.J. Opp., 8/28/09, DL-TX-82649-82734   May
                                                                  Ex. 316
7099   1/1998     HCFA Program Memorandum,                        DeParle, 5/18/07,       HHD051-0291 -       Expect
                  Intermediaries/Carriers, Transmittal No. AB-97- Abbott Ex. 202          HHD051-0292;
                  25, regarding Implementation of the New                                 AWP037-0018-19
                  Payment Limit for Drugs and Biologicals

7100   1/1998     Print-out from Red Book™ for Windows®         Dey S.J., 6/26/09, Ex.    HHD010-0348-49      May
                                                                59
7102   1/1/1998   42 U.S.C. § 1395u(o)(1) (effective Jan. 1,                                                  May
                  1998)
7103   1/1/1998   42 C.F.R. § 405.502(g), (h)                                                                 May
7104   1/1/1998   42 U.S.C. § 1395m                                                                           May
7105   1/1/1998   AdminaStar pricing array for Albuterol                                  AWP036-1801         May
7106   1/1/1998   AdminaStar pricing array for Albuterol                                  AWP036-1756         May
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7107   1/1/1998    AdminaStar pricing array for Ipratropium                             AWP036-1593       May
                   Bromide
7108   1/1/1998    AdminaStar pricing array for Ipratropium                             AWP036-1767       May
                   Bromide
7111   1/7/1998    Federal Register Copy of HCFA Proposed         N. DeParle, 5/18/07,  HHC001-0606-12    May
                   Rules regarding the Medicare Program and the Ex. Abbott 210
                   Application of Inherent Reasonable ness to All
                   Medicare Part B Services
7112   1/7/1998    63 Fed. Reg. 689                                                                       May
7113   1/9/1998    Note from Nancy Edwards to Nola Shanks re: A. Sernyak, 3/6/07, Ex. HHD009-0217         May
                   OIG Final Report "Excessive Medicare -         52
                   Payments for Prescription Drugs (OEI-03-97-
                   00290)
7114   1/21/1998   Chart of HCFA Organizational Structure         N. DeParle, 12/5/07,                    May
                                                                  Ex. Roxane 9
7119   1/26/1998   Letter and attached documents from Nancy-      N. DeParle, 5/18/07,  HHC001-0363-66    Expect
                   Ann DeParle to Congressman Pete Stark          Ex. Abbott 205
7120   1/29/1998   A Study of the Cost of Economically and        Previously disclosed  KY_DMS_125167-    May
                   Efficiently Dispensed Prescription             with Expert Report of 125190
                   Medications, prepared by Myers & Stauffer      Stiroh
7121   02/1998     Dey Monthly Sales Report                       Previously disclosed  DL-TX 82735-82768 May
                                                                  with Expert Report of
                                                                  Stiroh
7122   2/3/1998    Fax from “Zach” to Rob Vito, dated February M. Jones, 12/8/08, Ex. VAC MDL 43454-456 May
                   3, 1998                                        Dey 315
7127   2/13/1998   Letter from Bill Thomas and Bill Archer,       N. DeParle, 5/18/07,                    May
                   Committee on Ways and Means, to Nancy-Ann Ex. Abbott 207
                   DeParle
7132   03/1998     Dey Monthly Sales Report                       Previously disclosed  DL-TX 82769-82804 May
                                                                  with Expert Report of
                                                                  Stiroh
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7133   3/2/1998    Fax from HCFA to Rob Vito re: Medicare        N. DeParle, 5/18/07,     HHD042-0319-23      May
                   Overpayment for Drugs                         Ex. Abbott 203
7140   3/16/1998   Food and Drug Administration, Center for      Previously disclosed                         May
                   Drug Evaluation and Research, “The new drug   with Expert Report of
                   development process,” available at            Bradford
                   www.fda.gov/CDER/HANDBOOK/
7145   3/19/1998   Ven-A-Care of the Florida Keys, Inc.,         J. Lockwood, 3/17/08,    MA052850-54123      May
                   Presentation to National Association of       Ex. Roxane 64
                   Medicaid Fraud Control Units, March 19,
                   1998, Massachusetts
7147   3/20/1998   Ven-A-Care's Presentation to Nancy-Ann    N. DeParle, 5/18/07,         2900611-2901380     May
                   DeParle, Administrator of HCFA            Ex. Abbott 206
7149   04/1998     Dey Monthly Sales Report                  Previously disclosed         DL-TX 82805-82838   May
                                                             with Expert Report of
                                                             Stiroh
7151   4/2/1998    Fax from Barbara Zelner to Mark Levine    Dey S.J., 6/26/09, Ex.       VAC MDL 75947-51 May
                                                             84
7152   4/7/1998    Fax from NAMFCU to Zach Bentley enclosing M. Jones, 12/8/08, Ex.       VAC MDL 75930-934 May
                   state signatures acknowledging receipt of Dey 328
                   VAC's presentation material at the NAMFCU
                   conference on March 19, 1998

7155   4/14/1998   Fax from NAMFCU to Zach Bentley enclosing M. Jones, 12/8/08, Ex.       VAC MDL 75939-943 May
                   state signatures acknowledging receipt of Dey 327
                   VAC's presentation material at the NAMFCU
                   conference on March 19, 1998

7157   4/29/1998   E-mail from Bob Zone to                       Dey S.J., 6/26/09, Ex.   AWQ057-0215-        May
                   LBallantine@hcfa.gov regarding Inherent       180                      AWQ057-0216
                   Reasonableness - Albuterol sulfate 0.083%
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7158   4/29/1998   Email from B. Zone to Seattle.SEA1 (Tschoen) Previously disclosed      HHC907-0862         May
                   re: Inherent Reasonableness - Albuterol Sulfate with Expert Report of
                   0.083%                                          Bradford
7159   05/1998     Dey Monthly Sales Report                        Previously disclosed   DL-TX 82839-82877   May
                                                                   with Expert Report of
                                                                   Stiroh
7161   5/1998      OIG Report - Need to Establish Connection       N. DeParle, 12/5/07,                       May
                   Between the Calculation of Medicaid Drug        Ex. Dey 30
                   Rebates and Reimbursement for Medicaid
                   Drugs (A-06-97-00052)
7162   5/20/1998   Chart: 1st Quarter '98 Reimbursement Amounts D. Tawes, 12/13/07, Ex. HHD010-0297           May
                   From Selected Medicare Carriers for Top Drug Roxane 16
                   Codes
7163   5/21/1998   Document entitled Conversions From NDC          Dey S.J., 6/26/09, Ex. HHD010-0111-12      May
                   Amounts to HCPCS Amounts                        58
7167   06/1998     Dey Monthly Sales Report                        Previously disclosed   DL-TX 82878-82951   May
                                                                   with Expert Report of
                                                                   Stiroh
7169   6/5/1998    63 Fed. Reg. 30846, 30878                       D. Thompson, 3/28/08,                      May
                                                                   Abbott Ex. 1019

7171   6/15/1998   AdminaStar pricing array for Albuterol                              AWP036-2248            May
7172   6/15/1998   AdminaStar pricing array for Ipratropium                            AWP036-2274            May
                   Bromide
7175   7/1998      CBO Report - "How Increased Competition     L. Reed, 3/18/08, Ex.                          May
                   from Generic Drugs Has Affected Prices and Abbott 751
                   Returns in the Pharmaceutical Industry,"
                   available at
                   http://www.cbo.gov/ftpdocs/6xx/doc655/pharm
                   .pdf
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7176   07/1998     Dey Monthly Sales Report                      Previously disclosed      DL-TX 82952-83024   May
                                                                 with Expert Report of
                                                                 Stiroh
7178   7/1/1998    AdminaStar pricing array for Albuterol                                  AWP036-2108         May
7179   7/1/1998    AdminaStar pricing array for Albuterol                                  AWP036-2109         May
7180   7/1/1998    AdminaStar pricing array for Albuterol                                  AWP036-2305         May
7181   7/1/1998    AdminaStar pricing array for Ipratropium                                AWP036-2131         May
                   Bromide
7183   7/6/1998    Email from Robert Vito to Linda Ragone, Mary R. Vito, 12/2/08, Ex.      HHD995-0017         May
                   Beth Clark and Stuart Wright                   Dey 1104
7185   7/15/1998   Myers and Stauffer Report - A Survey of        S. Bridges, 12/10/08,                        May
                   Dispensing Pharmaceutical Prescriptions and Ex. Roxane 14
                   Drug Acquisition Costs in the State of
                   Arkansas
7187   7/20/1998   DMERC A pricing array for K0505                                         AWQ057-0946-63      May
7188   7/20/1998   DMERC A pricing array for K0505                                         AWQ057-0237-48      May
7191   8/1998      A Survey of Costs of Dispensing Prescriptions Previously disclosed      KY_DMS_ 125191-     Expect
                   and Estimated Acquisition Cost in the State of with Expert Reports of   125274
                   Kentucky, prepared by Myers & Stauffer         Bradford & Stiroh

7192   08/1998     Dey Monthly Sales Report                      Previously disclosed      DL-TX 83025-83096   May
                                                                 with Expert Report of
                                                                 Stiroh
7193   8/1998      OIG Report - Are Medicare Allowances for      Dey S.J., 6/26/09, Ex.                   Expect
                   Albuterol Sulfate Reasonable? (OEI-03-97-     46; Abbott Ex. 64
                   00292)
7195   8/13/1998   Fax from “Zach” to Rob Vito, dated August 13, M. Jones, 12/8/08, Ex. VAC MDL 43543-545 May
                   1998                                          Dey 316
7196   8/16/1998   Medicaid Drug Rebate, Reconciliation of State Z. Bentley, 11/6/08, Ex. R1-014856       May
                   Invoice Chart                                 Dey 219
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7197   09/1998     Dey Monthly Sales Report                     Previously disclosed     DL-TX 83097-83173   May
                                                                with Expert Report of
                                                                Stiroh
7198   9/1998      Compilation of documents - DMERC Medicare                             AWQ057-0228-36      May
                   News, No. 40; Health Industry Distributors
                   Association Alert - Regions A and B Select
                   Eight HCPCS Codes for IR Reductions; Email
                   from S. Greer to M. Vogel re: Inherent
                   Reasonableness Surveys
7199   9/2/1988    2nd Cir. Opinion, Pharm. Soc. of the State of                         A903-23             Expect
                   New York, Inc., et al. v. Cuomo et al.
7200   9/11/1998   Dey, L.P. Inter-Office Memorandum with        TX, D. Bronstein,       DL-TX-0092540; DL- May
                   handwritten annotations from D. Bronstein to 3/11/03, Ex. Bronstein   TX-0092526; DL-TX-
                   T. Galles (cc: B. Mozak) re: WAC Price        534                     0092529-530; DL-TX-
                   Adjustments; handwritten notes; Email from D.                         0092527
                   Bronstein to T. Galles re: WAC Adjustments

7201   9/11/1998   RedBook Product Listing Verification Form    TX, E. Gmeiner,          DL-TX-001014-022    May
                   with handwritten annotations                 1/20/03, Ex. Gmeiner
                                                                622
7206   9/30/1998   Cigna pricing array for Albuterol                                     AWQ021-0199         May
7207   10/1998     Dey Monthly Sales Report                     Previously disclosed     DL-TX 83174-83252   May
                                                                with Expert Report of
                                                                Stiroh
7209   10/1/1998   AdminaStar pricing array for Albuterol                                AWP036-2524         May
7210   10/1/1998   AdminaStar pricing array for Albuterol                                AWP036-2525         May
7211   10/1/1998   AdminaStar pricing array for Ipratropium                              AWP036-2520         May
                   Bromide
7212   10/1/1998   AdminaStar pricing array for Ipratropium                              AWP039-1230         May
                   Bromide
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7215   10/6/1998   Fax transmittal sheet and attached document   S. Gaston, 1/24/08, Ex. VAC MDL 45005-       May
                   from Dr. John and Zach Bentley to T. Reed     Abbott 459              VAC MDL 45031
                   Stephens, Esq., United States Department of
                   Justice
7217   10/8/1998   Contact Report for Laura Brooks             R. Niemann, 10/11/07,      HHC906-0124-25      May
                                                               Ex. Abbott 348
7221   11/1998     Dey Monthly Sales Report                    Previously disclosed       DL-TX 83253-83315   May
                                                               with Expert Report of
                                                               Stiroh
7222   11/1998     OIG Report - Comparing Drug Reimbursement: N. DeParle, 12/5/07,        HHD014-0051-70      Expect
                   Medicare and Department of Veterans Affairs Abbott Ex. 101
                   (OEI-03-97-00293)
7226   11/4/1998   Letter from S. Hudspeth to T. Reed Stephens                            DL-TX-0095400-12    May

7227   11/16/1998 Declaration of T. Reed Stephens in Support of Dey S.J., 6/26/09, Ex.    ABT 008-1066-1076   May
                  United States’ Unopposed Application for        97
                  Extension of Time to Elect Whether to
                  Intervene in Qui Tam Action in United States
                  of America ex rel Ven-A-Care of the Florida
                  Keys, Inc. v. Abbott Labs. et al., Civil Action
                  No. 95-1354-Civ. (S.D. Fla.)
7228   11/16/1998 Letter and enclosed 1998 Q3 AMPs from Dey                               DL-BO-162037-43     Expect
                  to NYS EPIC Program
7229   11/17/1998 Email from Jim Cuca attaching updated drug     R. Clark, 2/8/08, Ex.  WPS00271              May
                  pricing file                                   Roxane 40
7230   11/20/1998 Letter from June Gibbs Brown to Nancy-Ann      D. Tawes, 4/25/07, Ex. HHC003-0375-76        Expect
                  Min DeParle re: OIG Final Report: Comparing    Abbott 133
                  Drug Reimbursement: Medicare and
                  Department of Veterans Affairs (OEI-03-97-
                  00293)
7236   11/30/1998 Myers and Stauffer Report - Idaho Drug         ID, G. Duerr, 12/3/09,   ID214241-4279       May
                  Acquisition Cost Study                         Ex. 16
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7238   11/30/1998 Draft Myers & Stauffer Report - Idaho Drug      Previously disclosed     HHC020-1591-1606    May
                  Acquisition Cost Study                          with Expert Report of
                                                                  Bradford
7239   12/1998     1999 Ipratropium Bromide Inhalation Solution                            DL-TX-0076290-      May
                   Marketing Plan                                                          76328

7240   12/1998     Dey Monthly Sales Report                      Previously disclosed      DL-TX 83316-83377   May
                                                                 with Expert Report of
                                                                 Stiroh
7241   12/1998    HCFA Program Memorandum regarding              Dey S.J., 6/26/09, Ex.    HHC021-0030-        Expect
                  "Implementation of the New Payment Limit for 171                         HHC021-0031
                  Drugs and Biologicals," Transmittal No. AB-98-
                  76
7244   12/17/1998 Bergen Brunswig price list                     TX, M. Jones, 10/8/02,                        May
                                                                 Ex. 301
7245   12/21/1998 Cigna pricing array for Albuterol                                        AWQ021-0200         May
7246   12/22/1998 Dey, L.P. Inter-Office Memorandums from T. TX, T. Galles, 2/6/03,        DL-TX-0091985-991   May
                  Galles to Distribution, dated December 22,     Ex. 468
                  1998 and December 17, 1998, re: WAC Price
                  Changes
7249   1999       42 C.F.R. § 405.517 (1999)                     Dey S.J., 6/26/09, Ex.                        Expect
                                                                 175
7251   1999       Cigna pricing array for K0505                  C. Helton, 3/13/08, Ex.                       May
                                                                 132
7252   1999       Cigna pricing array for K0518                  C. Helton, 3/13/08, Ex.                       May
                                                                 130
7253   1999       DHHS Report to Congress - "The Average         N. DeParle, 5/18/07,      HHC902-0801-0818    May
                  Wholesale Price for Drugs Covered under        Ex. Abbott 200
                  Medicare"
7255   1999       National Association of State Medicaid         R. Reid, 12/15/08,        MO.028185-216       May
                  Directors Pharmacy Technical Advisory Group Abbott-Reid Ex. 13
                  Meeting Agenda
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7263   1999       Mossinghoff, Gerald J., “Overview of the    Previously disclosed                         May
                  Hatch-Waxman Act and Its Impact on the Drug with Expert Report of
                  Development Process,” Food and Drug Law     Bradford
                  Journal, Vol. 54, 1999, pp. 187-194

7264   1999       Myers & Stauffer Report - A Survey of         Previously disclosed                       May
                  Dispensing Costs of Pharmaceuticals in the    with Expert Reports of
                  State of Kansas                               Bradford & Stiroh
7265   1999       National Pharmaceutical Council,              Previously disclosed                       May
                  Pharmaceutical Benefits under State Medical   with Expert Reports of
                  Assistance Programs                           Bradford & Stiroh
7267   1999       Balanced Budget Refinement Act of 1999                                                   May
                  (BBRA) Pub. L. 106-113, (1999)
7268   1999       AdminaStar pricing array for Albuterol                                 AWP034-0844        May
7270   1/1/1999   Cardinal Health Generic Wholesale Service     NY, M. Erick, 6/17/08, Car.Hlth/SLB 0142596-Expect
                  Agreement between CH and Dey L.P.             Ex. Erick 3              617
7271   1/1999     Dey Monthly Sales Report                      Previously disclosed     DL-TX-81823-81889 May
                                                                with Expert Report of
                                                                Stiroh
7275   1/1/1999   AdminaStar pricing array for Albuterol                                 AWP039-0834        May
7276   1/1/1999   AdminaStar pricing array for Albuterol                                 AWP039-0835        May
7277   1/4/1999   Letter from Robert F. Mozak to State Medicaid L. Reed, 10/2/08, Ex. DL-0050127-130        Expect
                  Administrator                                 Dey 184
7278   1/4/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/2009, Ex. DL-0050063         Expect
                  Administrator                                 30
7280   1/7/1999   Dey, L.P. Memorandum regarding Future         Dey S.J., 6/26/2009, Ex. DL-TX-0092446-50   May
                  Medicaid Mailings                             29
7284   02/1999    Dey Monthly Sales Report                      Previously disclosed     DL-TX 81890-81923 May
                                                                with Expert Report of
                                                                Stiroh
7285   2/1999     EconoLink for Windows Reference Manual,       J. Lockwood, 6/19/09, VAC MDL 90297-693 May
                  Version 5.50                                  Ex. Roxane 224
                        Case 1:01-cv-12257-PBS Document 7077-2 Filed 04/26/10 Page 53 of 179




7286   2/1999      OIG's Partnership Plan - Utah Division of  P. Chesser, 10/28/08,                            May
                   Health Care Financing Reports on Medicaid  Ex. Roxane 147
                   Pharmacy Acquisition Costs of Brand Name
                   and Generic Drugs (A-06-99-00035 and A-06-
                   99-00036)
7290   2/17/1999   Wisconsin Medicaid 1999-2001 Biennial          WI, C. Decker,           PSW 00009050-053    May
                   Budget Issue Paper                             12/11/06, PSW Ex. 8
7292   2/22/1999   Fax from Zach Bentley to T. Reed Stephens at   M. Jones, 12/8/08, Ex.   R1-023971-4012      May
                   DOJ regarding Drug Prices Survey               Dey 317

7293   03/1999     Dey Monthly Sales Report                      Previously disclosed      DL-TX 81957-82018   May
                                                                 with Expert Report of
                                                                 Stiroh
7294   3/1999      Myers and Stauffer Report - A Survey of       J. Lockwood, 4/24/09,     WY00004571-659      May
                   Dispensing and Estimated Acquisition Costs of Ex. Lockwood 20
                   Pharmaceuticals in the State of Wyoming
                   (Prepared for the Wyoming Department of
                   Health Division of Health Care Financing)
7295   3/1999      AdminaStar pricing array for Albuterol                                  AWP034-0833         May
7296   3/1999      AdminaStar pricing array for Albuterol                                  AWP034-0840         May
7300   3/16/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    DL-0050171          Expect
                   Administrator                                 109
7301   3/16/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    DEY-MDL-0105073- Expect
                   Administrator                                 110                       078
7302   3/16/1999   Letter from Robert F. Mozak to State Medicaid M. Jones, 12/8/08, Ex.    R1-014879        Expect
                   Administrator                                 Dey 329
7303   3/16/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    WI-Prod-AWP-128277 Expect
                   Administrator                                 130
7306   3/16/1999   Letter from R. Mozak to State Medicaid        FL, J. Wells, 12/16/04,   DEY10181257-263     Expect
                   Administrator                                 Ex. Dey 4
7307   3/18/1999   Email from Colleen M. King to Cheryl Eiler, C. Eiler, 8/28/08, Ex.      AWP039-0584         May
                   Robin Stone, Barbara Douglas                  Abbott 1124
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7309   3/25/1999   Letter from Nancy-Ann DeParle to                N. DeParle, 5/18/07,     HHC003-0349          May
                   Congressman Bill Thomas                         Ex. Abbott 211
7311   3/25/1999   AdminaStar pricing array for Ipratropium                                 AWP034-0853          May
                   Bromide
7312   3/29/1999   Dey, L.P. Advertising/Promotional Labeling                               DL-TX 0170971-72     May
                   Approval Record for Albuterol Sulfate
                   Inhalation Solution with handwritten notes
7313   4/1999      Dey Monthly Sales Report                        Previously disclosed     DL-TX 82019-82087    May
                                                                   with Expert Report of
                                                                   Stiroh
7316   4/22/1999   Annotated invoices - Indiana pharmacies         Dey S.J., 6/26/09, Ex.   HHD028-0207-20       May
                                                                   66
7317   4/22/1999   Declaration of T. Reed Stephens in Support of Dey S.J., 6/26/09, Ex.     ABT 008-1038 -1043   May
                   United States’ Unopposed Application for        98
                   Extension of Time to Elect Whether to
                   Intervene in Qui Tam Action in United States
                   of America ex rel Ven-A-Care of the Florida
                   Keys, Inc. v. Abbott Labs. et al., Civil Action
                   No. 95-1354-Civ. (S.D. Fla.)
7321   05/1999     Dey Monthly Sales Report                        Previously disclosed    DL-TX 82088-82161     May
                                                                   with Expert Report of
                                                                   Stiroh
7325   06/1999     Dey Monthly Sales Report                        Previously disclosed    DL-TX 82162-82224     May
                                                                   with Expert Report of
                                                                   Stiroh
7327   6/1999      Study by Barton McCann and Julia James          T. Scully, 7/13/07, Ex.                       May
                   entitled "The Impact of Medicare Payment        BMS 9
                   Policies on Patient Access to Quality Cancer
                   Care"
7330   6/8/1999    Meeting Minutes, Pharmacy Technical                                      KHPA021150/1160      May
                   Advisory Group National Association of State
                   Medicaid Directors
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7335   6/25/1999   Fax from Chuck Clapton to Rob Vito              R. Vito, 12/2/08, Ex.    HHD920-1542-1544    May
                                                                   Dey 1105
7336   6/30/1999   AdminaStar pricing array for Albuterol                                   AWP034-0834         May
7337   6/30/1999   AdminaStar pricing array for Albuterol                                   AWP034-0841         May
7338   7/1/1999    AdminaStar pricing array for K0511              C. Eiler, 8/26/08, Ex.   AWP039-1215         May
                                                                   Eiler 11
7339   07/1999     Dey Monthly Sales Report                        Previously disclosed   DL-TX 82225-82293     May
                                                                   with Expert Report of
                                                                   Stiroh
7341   7/1999      Medicaid Provider Coverage, Limitations and     FL, S. Lipscomb,       FL002401-2764         Expect
                   Reimbursement Handbook - Prescribed Drug        12/20/05, Lipscomb Ex.
                   Services                                        159
7342   7/1/1999    AdminaStar pricing array for Albuterol                                 AWP039-1204           May
7343   7/1/1999    AdminaStar pricing array for Albuterol                                 AWP039-1206           May
7344   7/1/1999    AdminaStar pricing array for Ipratropium                               AWP039-1229           May
                   Bromide
7345   7/6/1999    Email from C. King to C. Eiler regarding Drug   C. Eiler, 8/26/08, Ex.                       May
                   Updates                                         Roxane 102
7348   7/14/1999   AdminaStar pricing array for Ipratropium                                 AWP034-0854         May
                   Bromide
7350   7/23/1999   Dey, L.P. Inter-Office Memorandum from D.       TX, D. Bronstein,      DL-TX-0078198         May
                   Bronstein and T. Galles to B. Mozak (cc: C.     3/11/03, Ex. Bronstein
                   Rice) re: AWP                                   540
7353   7/30/1999   Letter and enclosed 1999 Q2 AMPs from Dey                              DL-BO-160443-53       May
                   to NYS EPIC Program
7354   8/1999      A Survey of Dispensing and Acquisition Costs    Previously disclosed   KY_DMS_ 125275-       May
                   of Pharmaceuticals in the Commonwealth of       with Expert Reports of 125347
                   Kentucky, prepared by Myers & Stauffer          Bradford & Stiroh

7355   08/1999     Dey Monthly Sales Report                        Previously disclosed     DL-TX 82294-82364   May
                                                                   with Expert Report of
                                                                   Stiroh
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7358   8/10/1999   Dey letter to State Medicaid Administrator      M. Clifford, 10/29/08, DL-0050553         Expect
                   regarding Albuterol Sulfate release             Ex. Dey 203
7361   8/10/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex. DEY-LABS-0415389- Expect
                   Administrator                                   111                     399
7362   8/10/1999   Letter from Robert F. Mozak to State Medicaid M. Jones, 12/8/08, Ex. R1-014889            Expect
                   Administrator                                   Dey 330
7363   8/10/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex. WI-Prod-AWP-128276 Expect
                   Administrator                                   131
7364   8/10/1999   Memorandum From T. Galles to R. Johnston R. Johnston, 12/11/08, DL63384-386               May
                   Re: New 105-01 Albuterol Multidose Medicaid Ex. Johnston 53
                   Letters
7366   8/20/1999   Fax from “Zach” to Rob Vito, dated August 20, M. Jones, 12/8/08, Ex. VAC MDL 43319-20 May
                   1999                                            Dey 318
7368   09/1999     Dey Monthly Sales Report                        Previously disclosed    DL-TX 82366-82438 May
                                                                   with Expert Report of
                                                                   Stiroh
7369   9/1999      HCFA Program Memorandum,                        Dey S.J., 6/26/09, Ex. HHD084-0665-       Expect
                   Intermediaries/Carriers, Transmittal No. AB-99- 172                     HHD084-0667
                   63
7371   9/1999      Myers and Stauffer Report - A Survey of         Defs' Common S.J.       KY_AWP_KRF_0316 May
                   Dispensing and Acquisition Costs of             Resp., 8/28/09, Ex. 100 4-3272
                   Pharmaceuticals in the State of Louisiana
                   (Prepared for the Department of Health and
                   Hospitals, Baton Rouge, Lousiana)
7373   9/1999      Draft Report: A Survey of Dispensing Costs of Produced by Kansas   KHPA054574/4642       Expect
                   Pharmaceuticals in the State of Kansas,
                   prepared by Myers and Stauffer for the Kansas
                   Department of Social and Rehabilitation
                   Services
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7374   9/1999      Report: A Survey of Dispensing Costs of        Produced by Kansas      KHPA081163_24492/ May
                   Pharmaceuticals in the State of Kansas,                                4544
                   prepared by Myers & Stauffer (M&S) for KS
                   Medicaid
7377   9/8/1999    Draft Kathpal Technologies Report Prepared                                                 May
                   for the HCFA - High Cost Drugs Under the
                   Outpatient Prospective Payment System

7379   9/21/1999   AdminaStar pricing array for Albuterol                                 AWP034-0835         May
7380   9/21/1999   AdminaStar pricing array for Albuterol                                 AWP034-0842         May
7381   9/21/1999   AdminaStar pricing array for Ipratropium                               AWP034-0855         May
                   Bromide
7383   10/1999     Dey Monthly Sales Report                       Previously disclosed    DL-TX 82439-82507   May
                                                                  with Expert Report of
                                                                  Stiroh
7385   10/1/1999   DMERC A pricing array for J7619                                        AWQ057-1179         May
7386   10/1/1999   DMERC A pricing array for K0504                                        AWQ057-1218-19      May
7387   10/1/1999   DMERC A pricing array for K0505                                        AWQ057-1220-21      May
7388   10/1/1999   Title 42, § 405.517, Revised October 1, 1999   Previously disclosed                        May
                                                                  with Expert Report of
                                                                  Stiroh, Bradford
7389   10/1/1999 AdminaStar pricing array for Albuterol                                   AWP039-1453         May
7390   10/1/1999 AdminaStar pricing array for Albuterol                                   AWP039-1914         May
7391   10/1/1999 DMERC A pricing array for Cromolyn                                       AWQ057-1222-24      May
7396   10/26/1999 Letter from Connecticut Medicaid to HCFA                                CT0032100-01        May
                  regarding assurances and findings for drug
                  payments
7397   11/1999    Dey Monthly Sales Report                        Previously disclosed    DL-TX 82508-82576   May
                                                                  with Expert Report of
                                                                  Stiroh
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7398   11/1/1999   HCFA letter to State Medicaid Directors        R. Homar, 12/2/08, Ex. WY00000197-199        May
                   regarding Annual Assurance for Multiple        Roxane 17
                   Source Drugs
7403   12/1999     Dey Monthly Sales Report                       Previously disclosed     DL-TX 82577-82647   May
                                                                  with Expert Report of
                                                                  Stiroh
7404   12/1/1999  Letter and attached document from Robin         Roxane S.J., 6/26/09,AWQ025-0876 - 87        May
                  Stone to Marvin Stoogenke and Colleen           Ex. 168
                  Carpenter
7405   12/7/1999 Annotated invoices - West Virginia pharmacies Dey S.J., 6/26/09, Ex. HHD027-0342-60           May
                                                               65
7407   12/7/1999 Letter from HCFA to Iowa Medicaid regarding                           HHD289-0002-10          May
                  State Plan Amendment 99-09
7408   12/11/1999 AdminaStar pricing array for Ipratropium                             AWP034-0957             May
                  Bromide
7412   2000       Dey Sales & Marketing 2000 Business Plan     TX, W. Tate, 2/7/03,    DL-TX-0091192-246       May
                                                               Ex. Tate 473
7413   2000       Approved Drug Products with Therapeutic      S. Gaston, 1/24/08, Ex.                         May
                  Equivalence Evaluations, 20th Edition        Dey 136
7415   2000       Excerpt from 2000 Red Book                   R. Stone, 10/14/09, Ex.                         May
                                                               Roxane 253
7416   2000       First DataBank's NDDF (National Drug Data MA, P. Morgan,             FDB-AWP 06295-          May
                  File) Documentation Manual                   11/30/07, Ex. Morgan 3 07027

7420   2000        Letter from Dey to State Medicaid              R. Reid, 12/15/08, Ex.   DEY-MDL-0105083- Expect
                   Administrator, sent to Ohio and other states   Dey 621                  89
                   regarding drug pricing
7423   2000        Section of binder received by NH with AWPs     L. Farrand, 10/28/08,    NH04330-04404       May
                   and WACs from Department of Justice            Ex. Dey 90
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7424   2000       United States Food and Drug Administration   Dey S.J., 6/26/09, Ex.                   May
                  publication Approved Drug Products, 20th ed. 18
                  (2000)
7426   2000       Document titled OIG-RPT, MED-GUIDE 1997- M. Butt, 2/8/10, Ex.         NYCO AWP NYDOH May
                  2 MED-GUIDE TB ¶45,559, Medicaid             Butt 16                  06440-6444
                  Pharmacy: Actual Acquisition Cost of Generic
                  Prescription Drug Products
7429   5/9/2000   Myers & Stauffer Report - Independent        Previously disclosed                     May
                  Accountant's Report on Applying Agreed-Upon with Expert Report of
                  Procedures Related to the Oklahoma State and Bradford
                  Education Employees Group Insurance Board's
                  Pharmacy Benefit Manager for Calendar Year
                  1999
7430   2000       National Pharmaceutical Council,                S.Schondelmeyer,                      May
                  Pharmaceutical Benefits under State Medical     2/27/09, Ex. Roxane
                  Assistance Programs                             Schondelmeyer 2
7431   2000       Medicare, Medicaid, and SCHIP Benefits                                                May
                  Improvement and Protection Act of 2000
                  (BIPA), P.L. 106-554, App. F, 114 Stat. 2763,
                  2763A-522 (2000)
7432   2000       AdminaStar pricing array for Ipratropium                              AWP034-1742     May
                  Bromide
7433   1/2000     Dey Monthly Sales Report                     Dey S.J. Opp., 8/28/09, DL-TX-80995-81060 May
                                                               Ex. 318
7436   1/2000     Kaiser Family Foundation Report, The Role of WI, Defs' Joint S.J.    WI-Prod-AWP-103702-May
                  PBMs in Managing Drug Costs: Implications Resp., 1/15/08, Ex. 25 103772
                  for a Medicare Drug Benefit
7437   1/2000     AdminaStar pricing array for Albuterol                               AWP039-2420        May
7438   1/1/2000   DMERC A pricing array for Cromolyn                                   AWQ057-0432-33     May
7439   1/1/2000   DMERC A pricing array for Cromolyn                                   AWQ057-0500        May
7440   1/1/2000   DMERC A pricing array for Cromolyn                                   AWQ057-0503        May
7441   1/1/2000   DMERC A pricing array for Cromolyn                                   AWQ057-1180        May
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7457   02/2000     Dey Monthly Sales Report                       Previously disclosed     DL-TX81061-81136   May
                                                                  with Expert Report of
                                                                  Stiroh
7461   2/16/2000   Letter from Patrick E. Lupinetti, NAMFCU       Dey S.J., 6/26/09, 231   HHD006-0109-       May
                   Drug Pricing Team, to Medicaid Pharmacy                                 HHD006-0111
                   Director
7464   2/22/2000   Survey Results of Wholesale Prices for         A. Hiramatsu, 6/11/09, HI_HI 000009003-     May
                   Selected Infusion, Injectable and Inhalation   Ex. Hiramatsu 109      9289
                   Drugs for Establishment of Corrected "AWP"
                   & "WAC" by First DataBank, United States
                   Department of Justice, Main Justice

7471   03/2000     Dey Monthly Sales Report                       Previously disclosed   DL-TX81137-81202     May
                                                                  with Expert Report of
                                                                  Stiroh
7479   3/9/2000    HCFA Press Release re: Competition to Help     D. Tawes, 12/2/08, Ex. HHD157-0084 -0086    May
                   Medicare Protect Quality, Reduce Medical       Roxane 160
                   Supply Costs in San Antonio
7481   3/13/2000   Anda invoice                                   J. Lockwood, 7/23/08,    VAC MDL 43248      May
                                                                  Ex. Roxane 95
7484   3/17/2000   Analysis of Why the United States Should                                DL-TX-0095512-49   May
                   Decline Intervention in United States ex rel.
                   [Relator] v. [Defendants] (S.D. Fla.) (Under
                   Seal)
7485   3/20/2000   AdminaStar pricing array for Ipratropium                                AWP034-0857        May
                   Bromide
7486   3/28/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    DEY-LABS-0415614 Expect
                   Administrator                                 112
7487   3/28/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    WI-Prod-AWP-128871 May
                   Administrator                                 132
7489   3/28/2000   Dey Price Notification Letter re: AWP and                               ID 028399          Expect
                   WAC
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7490   3/31/2000   Letter from Robert Mozak to Medicaid          M. Jones, 12/8/08, Ex.   R1-014902-903      Expect
                   Administrator regarding price change          Dey 331
                   notification for Dey products
7491   3/31/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09 Ex.    WI-Prod-AWP-128273 Expect
                   Administrator, dated March 31, 2000           133

7492   4/2000      AdminaStar pricing array for J7618 (Albuterol) C. Eiler, 8/26/08, Ex. AWP033-0353         May
                                                                  Eiler 9
7493   4/1/2000    AdminaStar pricing array for J7619             C. Eiler, 8/26/08, Ex. AWP039-2835         May
                                                                  Eiler 5
7494   4/1/2000    AdminaStar pricing array for J7619             C. Eiler, 8/26/08, Ex. AWP033-0247         May
                                                                  Eiler 10
7495   04/2000     Dey Monthly Sales Report                       Previously disclosed   DL-TX81203-81268    May
                                                                  with Expert Report of
                                                                  Stiroh
7496   4/2000      First DataBank NDDF (National Drug Data        K. Chadwick, 10/23/07, FDB-AWP 06295-      May
                   File)™ Documentation Manual                    Chadwick Ex. 12        7027

7497   4/2000      Print-out from Red Book™ for Windows®         D. Thompson, 9/30/08, HHD005-0374           May
                                                                 Ex. Thompson 6

7498   4/2000      Print-out from Red Book™ for Windows®         D. Thompson, 9/30/08, HHD005-0366-          May
                                                                 Ex. Thompson 7        HHD005-0370

7499   4/1/2000    DMERC A pricing array for J7644                                        AWQ057-0034-35     May
7500   4/1/2000    DMERC A pricing array for J7644                                        AWQ057-0047        May
7501   4/1/2000    DMERC A pricing array for J7644                                        AWQ057-0077        May
7502   4/1/2000    DMERC A pricing array for J7644                                        AWQ057-0099        May
7503   4/1/2000    DMERC A pricing array for J7644                                        AWQ057-0108        May
7504   4/1/2000    DMERC A pricing array for J7644                                        AWQ057-0140-41     May
7505   4/1/2000    DMERC A pricing array for J7644                                        AWQ057-0156        May
7506   4/1/2000    DMERC A pricing array for J7644                                        AWQ057-0428        May
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7507   4/1/2000    DMERC A pricing array for J7644                                       AWQ057-0499      May
7508   4/1/2000    DMERC A pricing array for J7644                                       AWQ057-0501      May
7509   4/1/2000    DMERC A pricing array for J7644                                       AWQ057-0508      May
7510   4/1/2000    DMERC A pricing array for J7644                                       AWQ057-1019      May
7511   4/1/2000    DMERC A pricing array for J7644                                       AWQ057-1049      May
7512   4/1/2000    DMERC A pricing array for J7644                                       AWQ057-1161      May
7513   4/1/2000    DMERC A pricing array for J7644                                       AWQ057-1181      May
7514   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-1046      May
7515   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-1125      May
7516   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-1158      May
7517   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-1178      May
7518   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-0031      May
7519   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-0044      May
7520   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-0074      May
7521   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-0095      May
7522   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-0104      May
7523   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-0137      May
7524   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-0152      May
7526   4/5/2000    Fax from Ven-A-Care of the Florida Keys, Inc. R. Vito, 2/6/08, Ex.    VAC MDL 43246-49 May
                   to Rob Vito                                   Roxane 37
7529   4/14/2000   Red Book™ Database Services Database          K. Minne, 11/18/08, Ex. CAMylan03471964- May
                   Overview Manual                               Minne 77                2033
7533   4/28/2000   Letter from Dey to HCFA re: enclosed 2000 Q1                          DL-BO-163693-94  Expect
                   AMPs
7536   05/2000     Dey Monthly Sales Report                      Previously disclosed    DL-TX81269-81333 May
                                                                 with Expert Report of
                                                                 Stiroh
7539   5/11/2000   Email chain and attachments between D.        KY, D. Bahr, 1/30/08, KY_DMS_000000001 May
                   Green, D. Bahr and others                     Ex. Bahr 53             17379-117389
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7540   5/12/2000   Article from The Wall Street Journal entitled   B. Vladeck, 5/4/07, Ex.                      May
                   Medicare Monitor: How a Whistle-Blower          Abbott 165
                   Spurred Pricing Case Involving Drug-Makers

7544   5/24/2000   HCFA Change Management System Change            R. Nieman, 10/11/07,      AWP039-2512-15     May
                   Request (CR) Form                               Ex. Abbott 352
7550   5/31/2000   Letter from Donna Shalala to Tom Bliley,        N. DeParle, 5/18/07,      HHC001-0359-62     May
                   Chairman of the House of Representatives        Ex. Abbott 213
                   Commerce Committee
7551   6/2000      A Survey of Dispensing and Acquisition Costs    Previously disclosed   KY_DMS_ 125348-       Expect
                   of Pharmaceuticals in the Commonwealth of       with Expert Reports of 125456
                   Kentucky, prepared by Myers & Stauffer          Bradford & Stiroh

7553   06/2000     Dey Monthly Sales Report                        Previously disclosed      DL-TX81335-81399   May
                                                                   with Expert Report of
                                                                   Stiroh
7555   6/2000      OIG report entitled Medicare Reimbursement      Dey S.J., 6/26/09, Ex.                       Expect
                   of Albuterol (OEI-03-00-00311)                  52

7557   6/5/2000    Draft Pharmacy Pricing Project                MA, S. Grossman,        MA003291-95            May
                                                                 10/24/07, Ex. MPha 4
7562   6/12/2000   Email from Robert Niemann to Maureen Hoppa R. Nieman, 10/11/07,                              May
                                                                 Ex. Abbott 353
7564   6/14/2000   Contact Report with handwritten notes         R. Nieman, 10/11/07, HHC001-0671-76            May
                                                                 Ex. Abbott 356
7565   6/14/2000   Redacted HCFA Memorandum from Robert          Defs' Common S.J.       HHD340-0002-04         May
                   Berenson, Director of Center for Health Plans Resp., 8/28/09, Ex. 200
                   and Providers, to HCFA Administrator re:
                   Medicare Average Wholesale Price (AWP) for
                   Drug Pricing
7566   6/15/2000   AdminaStar pricing array for Albuterol                                    AWP034-0838        May
7567   6/15/2000   AdminaStar pricing array for Albuterol                                    AWP034-0846        May
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7568   6/15/2000   AdminaStar pricing array for Ipratropium                            AWP034-0858            May
                   Bromide
7570   6/20/2000   Document prepared by Cindy Pelter: "New     Defs' Common S.J.       HHC001-0657-60         May
                   AWPs - State by State Information and       Resp., 8/28/09, Ex. 149
                   Reactions - 06/20/00"
7574   6/23/2000   Email from David Shepherd to Martha McNeill D. Duzor, 2/27/08, Ex.                         May
                   forwarding an email from Cody Wiberg        Abbott 492
                   regarding NAMFCU drug pricing issues

7580   6/27/2000   Email from Beverly Parker to Robert Niemann R. Berenson, 12/18/07, HHC001-0661             May
                                                               Ex. Abbott 444

7582   6/30/2000   Letter from Dey to Hon. T. Bliley regarding    TX, Z. Bentley,          R1-022917-20       May
                   request for documents regarding prices charged 7/25/02, Ex. Bentley
                   for prescription drugs marketed by Dey         278

7583   07/2000     Dey Monthly Sales Report                       Previously disclosed     DL-TX81400-81467   May
                                                                  with Expert Report of
                                                                  Stiroh
7585   7/2000      GAO Report - Use of Revised "Inherent          Dey S.J., 6/26/09, Ex.                      May
                   Reasonableness" Process Generally              179
                   Appropriate (GAO/HEHS-00-79)
7586   7/2000      Kaiser Family Foundation Report entitled       A. Maxwell, 6/10/09,                        May
                   "Prescription Drug Trends, a chartbook"        Ex. Dey Maxwell 2
7587   7/2000      Print-out from Red Book™ for Windows®          D. Thompson, 9/30/08, HHD006-0740-          May
                                                                  Ex. Thompson 5        HHD006-0741

7588   7/2000      Print-out from Red Book™ for Windows®          D. Thompson, 9/30/08, HHD006-0711-          May
                                                                  Ex. Thompson 4        HHD006-0716

7590   7/1/2000    DMERC A pricing array for J7619                                         AWQ057-1047        May
7591   7/1/2000    DMERC A pricing array for J7619                                         AWQ057-1126        May
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7592   7/1/2000    DMERC A pricing array for J7619                                        AWQ057-1159        May
7593   7/1/2000    DMERC A pricing array for J7619                                        AWQ057-0032        May
7594   7/1/2000    DMERC A pricing array for J7619                                        AWQ057-0045        May
7595   7/1/2000    DMERC A pricing array for J7619                                        AWQ057-0075        May
7596   7/1/2000    DMERC A pricing array for J7619                                        AWQ057-0097        May
7597   7/1/2000    DMERC A pricing array for J7619                                        AWQ057-0105        May
7598   7/1/2000    DMERC A pricing array for J7619                                        AWQ057-0138        May
7599   7/1/2000    DMERC A pricing array for J7619                                        AWQ057-0153        May
7600   7/1/2000    AdminaStar pricing array for Albuterol                                 AWP033-0246        May
7601   7/2000      AdminaStar pricing array for Albuterol                                 AWP033-0248        May
7604   7/10/2000   Myers & Stauffer Technical Proposal for       A. Hansen, 12/10/08,     KYDMSPL1022485-    May
                   Medicaid Pharmacy Dispensing Fee Audit for Ex. Abbott-Hansen 4         1022552
                   the Kentucky Medicaid Program
7606   7/18/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   DEY-BO0018899-904 Expect
                   Administrator                                 114
7607   7/18/2000   Letter from Robert F. Mozak to State Medicaid M. Jones, 12/8/08, Ex.   R1-014883-884      Expect
                   Administrator                                 Dey 332
7608   7/18/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    WI-Prod-AWP-128269-Expect
                   Administrator                                 134                       270
7609   7/18/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    DEY-WI-0121379-90; May
                   Administrator                                 263                       DEY-MDL-0105083-
                                                                                           94
7610   7/18/2000   Dey letter to State Medicaid Administrators re:                         DEY-AL 0140622     Expect
                   Albuterol Inhalation Aerosol                                            014633
7611   7/19/2000   Spreadsheet entitled "Catalog Drug Prices"      D. Tawes, 12/13/07, Ex. HHD005-0131- 0136 May
                                                                   Roxane 22
7614   7/28/2000   Letter to Donna Shalala, Secretary of DHS,      N. DeParle, 5/18/07,    AS00359-362        May
                   signed by 91 Members of Congress                Ex. Abbott 220
7615   7/28/2000   Letter and enclosed 2000 Q2 AMPs from Dey                               DL-BO-164117-129 Expect
                   to HCFA
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7616   08/2000     Dey Monthly Sales Report                       Previously disclosed    DL-TX81468-81533    May
                                                                  with Expert Report of
                                                                  Stiroh
7617   8/2000      White Paper by Dey titled "The Limitations of                          DL-WO-00036-51      May
                   AWP and the Implications for the Medicare
                   and Medcaid Programs"
7619   8/2/2000    Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   DEY-LABS-0415537- May
                   Administrator, dated August 2, 2000           115                      542

7620   8/4/2000    Letter and attached sign-in sheet from Stuart R. Nieman, 9/14/07, Ex. HHD042-0423-24       May
                   Wright to Neil Donovan regarding Request for Abbott 313
                   Exit Conference: "Medicare Reimubursement
                   of Prescription Drugs OEI-03-00-00310"

7621   8/6/2000    Article from New York Times -                 Roxane S.J., 6/26/09,                        May
                   “Administration Plans Cuts in Some Drug       Ex. 117
                   Payments"
7622   8/8/2000    Report titled "Cost Control for Prescription  WI, D. Kreling,          WI-Prod-AWP-103680-May
                   Drug Programs: Pharmacy Benefit Manager       12/4/08, Ex. Kreling 7   698
                   PBM Efforts, Effects, and Implication" by
                   David Kreling (Prepared for the Department of
                   Health and Human Services)

7626   8/15/2000   Letter from National Association for Medical   R. Berenson, 12/18/07, AWP039-2749-50       May
                   Direction of Respiratory Care to Robert        Ex. Abbott 445
                   Berenson
7630   09/2000     Dey Monthly Sales Report                       Previously disclosed    DL-TX81551-81617    May
                                                                  with Expert Report of   DL-TX 81535-81550
                                                                  Stiroh
7632   9/8/2000    Letter from Nancy-Ann Min DeParle to           N. DeParle, 5/18/07,                        May
                   Members of Congress                            Ex. Abbott 215
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7633   9/8/2000    The Lewin Group Report - Impact of Proposed    R. Vito, 2/5/08, ex.     AWP 039-2751-61   May
                   AWP Reductions on the Provision of Home        Abbott 469
                   Drug Therapies to Medicare and Medicaid
                   Patients
7634   9/12/2000   AdminaStar pricing array for Albuterol                                  AWP034-0839       May
7635   9/12/2000   AdminaStar pricing array for Albuterol                                  AWP034-0847       May
7636   9/12/2000   AdminaStar pricing array for Ipratropium                                AWP034-0859       May
                   Bromide
7637   9/18/2000   Letter from Congressman Edolphus "Ed"          N. DeParle, 5/18/07,     HHC003-0352-53    May
                   Towns to Nancy-Ann DeParle                     Ex. Abbott 219
7640   9/18/2000   Letter from C. Rice to J. Hansen                                        DL-WO-00001-02    Expect
7641   9/18/2000   Letter from C. Rice to Senator Dodd                                     DL-WO-00006-07    Expect
7642   9/18/2000   Letter from C. Rice to Congressman                                      DL-WO-00008-09    Expect
                   Greenwood
7643   9/18/2000   Letter from C. Rice to J. White                                         DL-WO-00010-11    Expect
7644   9/18/2000   Letter from C. Rice to S. Christensen                                   DL-WO-00013-14    May
7645   9/18/2000   Letter from C. Rice to Congressman Johnson                              DL-WO-00015-16    Expect

7646   9/18/2000   Letter from C. Rice to M. Castillo                                      DL-WO-00017-18    Expect
7647   9/18/2000   Letter from C. Rice to H. Canevari                                      DL-WO-00019-20    Expect
7648   9/18/2000   Letter from C. Rice to D. Fisher                                        DL-WO-00023-24    Expect
7649   9/18/2000   Letter from C. Rice to J. McManus                                       DL-WO-00025-26    Expect
7650   9/18/2000   Letter from C. Rice to L. Elder                                         DL-WO-00027-28    Expect
7651   9/18/2000   Letter from C. Rice to Congressman Thompson                             DL-WO-00031-32    Expect

7652   9/18/2000   Email chain among T. Couch, J. Spillers, et al. Previously disclosed    HHC004-0131-37    Expect
                   re: Comments on SC SPA 00-009                   with Expert Report of
                                                                   Helms
7653   9/19/2000   Letter from C. Rice to B. Andresen                                      DL-WO-00021-22    May
7655   9/25/2000   Letter and attached documents from Tom          N. DeParle, 5/18/07,    TX-ABT0002973-    May
                   Bliley to Nancy-Ann Min DeParle                 Ex. Abbott 218          3132
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7656   9/26/2000   Letter from C. Rice to Congressman Coburn                             DL-WO-00003-05      May

7657   9/27/2000   Letter and attachments from Robert Berenson, R. Berenson, 12/18/07, HHD101-1198-1204      Expect
                   HCFA, to Randy Robin, Home Care Supply       Ex. Dey 34

7660   9/28/2000   Pharmacy Technical Advisory Group Meeting H. Tomlinson, 11/4/08,      MO.028120-137       May
                   Minutes                                      Ex. Abbott 1155
7662   10/1/2000   AdminaStar pricing array for J7631           C. Eiler, 8/26/08, Ex.   AWP034-1732         May
                                                                Eiler 12
7663   10/2000     Dey Monthly Sales Report                     Previously disclosed     DL-TX 81618-81684   May
                                                                with Expert Report of
                                                                Stiroh
7665   10/2000     Interim Report to the 77th Texas Legislature TX, Teva S.J.,                               May
                                                                10/30/09, Ex. 42
7666   10/2000     AdminaStar pricing array for Albuterol                                AWP033-1103-1106    Expect
7667   10/2000     AdminaStar pricing array for Albuterol                                AWP033-1107-1110    May
7668   10/2000     AdminaStar pricing array for Ipratropium                              AWP034-1128-1129    May
                   Bromide
7669   10/1/2000   DMERC A pricing array for Cromolyn                                    AWQ057-0046         May
7670   10/1/2000   DMERC A pricing array for Cromolyn                                    AWQ057-0076         May
7671   10/1/2000   DMERC A pricing array for Cromolyn                                    AWQ057-0098         May
7672   10/1/2000   DMERC A pricing array for Cromolyn                                    AWQ057-0471-72      May
7673   10/1/2000   DMERC A pricing array for Cromolyn                                    AWQ057-0506-07      May
7675   10/2/2000   Letter and attachments from HCFA to Mr. Alan R. Berenson, 12/18/07,   HHD101-1307-14      May
                   K. Parver                                    Ex. Abbott 447

7678   10/3/2000   Letter and attachments from American          R. Berenson, 12/18/07, AWP039-2746-71       May
                   Association for Homecare to Dr. Adrian Oleck, Ex. Abbott 446
                   DMERC Regional B
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7679   10/5/2000   Supplemental Analysis of Why the United                                DL-TX-0095550-70   May
                   States Should Decline Intervention in United
                   States ex rel. Ven-A-Care v. Abbott
                   Laboratories, No. 95-1354-CIV-GOLD (S.D.
                   Fla.) (Under Seal)
7680   9/8/2000    HCFA Program Memorandum to                    R. Clark, 2/8/08, Ex.    AWP010-0875-96     Expect
                   Intermediaries/Carriers regarding An          Abbott 487
                   Additional Source of Average Wholesale Price
                   Data in Pricing Drugs and Biologicals Covered
                   by the Medicare Program (Transmittal AB-00-
                   86)
7681   10/12/2000 Chart titled Comparisons of Fees Based on     C. Helton, 3/13/08, Ex.   AWP039-2847-48     Expect
                  HCFA AWP and Red Book AWP                     Roxane 56
7682   10/13/2000 Letter and attachment from Barbara Douglas to C. Helton, 3/13/08, Ex.   AWP039-2776-79     May
                  Robert Niemann                                Roxane 57
7683   10/13/2000 Letter and attachment from Robin Stone to     R. Stone, 2/29/08, Ex.    AWP039-2781-86     May
                  Robert Niemann                                Roxane 45
7684   10/15/2000 Letter from Cheryl Eiler, DMERC Region B      R. Nieman, 10/11/07,      AWP039-2772-86     May
                  Pricing Specialist, to Robert Niemann, HCFA Ex. Abbott 357

7687   10/25/2000 Fax from The Lewin Group, Inc. to Luis Cobo TX, M. Jones, 10/8/02, R1-012403-414           May
                  attaching an article dated 9/8/00, entitled  Ex. Jones 293
                  "Impact of Proposed AWP Reductions on the
                  Provision of Home Drug Therapies to Medicare
                  and Medicaid Patients"

7689   10/30/2000 Letter and attached document from Jeremy        D. Thompson, 9/30/08, DEY-LABS-0307378- May
                  Massett to Judy Allison                         Ex. Thompson 11       81

7690   10/30/2000 Letter and enclosed 2000 Q3 AMPs from Dey                               DL-BO-164490-93    Expect
                  to HCFA
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7691   10/30/2000 Letter and enclosed 2000 Q3 AMPs from Dey                                DEY-LABS-0307378- Expect
                  to CMS                                                                   81
7692   10/30/2000 Letter from Dey to NYS EPIC program re:                                  DEY-LABS-0307382- Expect
                  enclosed 2000 Q3 AMPs                                                    83
7693   11/2000    Dey Monthly Sales Report                        Previously disclosed     DL-TX81685-81697 Expect
                                                                  with Expert Report of
                                                                  Stiroh
7695   11/3/2000   Memorandum from Stuart Wright to Neil          D. Tawes, 4/25/07, Ex. HHD006-0541           May
                   Donovan re: Start Notice and Request for       Dey 18
                   Entrance Conference: The Effect of More
                   Accurate Average Wholesale Prices on
                   Medicaid Drug Payments (OEI-03-01-00010)

7698   11/14/2000 HCFA Program Memorandum,                        Dey S.J., 6/26/09, Ex.   HHD084-0695-        May
                  Intermediaries/Carriers, Transmittal No. AB-00- 173                      HHD084-0696
                  110
7700   11/17/2000 HCFA Program Memorandum,                        Dey S.J., 6/26/09, Ex.   HHD004-0022-        Expect
                  Intermediaries/Carriers, Transmittal No. AB-00- 183; Abbott Ex. 1007     HHD004-0023
                  115
7701   11/20/2000 Letter from Pharmacists Society of the State of M. Butt, 2/8/10, Ex.     NYCO AWP NYDOH Expect
                  New York to K. Fuller, NYS DOH                  Butt 22                  8138 - 8139

7706   12/1/2000   A Survey of Acquisition Costs of               Previously disclosed     KY_DMS_ 125504-     Expect
                   Pharmaceuticals in the Commonwealth of         with Expert Report of    125546
                   Kentucky, prepared by Myers & Stauffer         Stiroh
7707   12/1/2000   A Survey of Dispensing Costs of                Previously disclosed     KY_DMS_ 125547-     Expect
                   Pharmaceuticals in the Commonwealth of         with Expert Report of    125618
                   Kentucky, prepared by Myers & Stauffer         Stiroh
7708   12/2000     Dey Monthly Sales Report                       Previously disclosed     DL-TX 81751-81816   May
                                                                  with Expert Report of
                                                                  Stiroh
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7712   12/7/2000   Letter from OIG to Wheat Ridge Regional        A. Chapman,             HHD016-1163-67      May
                   Center and an attached invoice                 12/15/2008, Ex. Dey
                                                                  365
7717   12/20/2000 AdminaStar pricing array for Albuterol                                  AWP034-0848         May
7722   2001       Article entitled “Prescription Drugs Under      MT, Dey S.J., 2/7/07,                       May
                  Medicare: The Legacy of the Task Force on       Ex. Z
                  Prescription Drugs, Part I,” published in the
                  Journal of Research in Pharmaceutical
                  Economics
7727   2001        Excerpt from 2001 Red Book                  R. Stone, 10/14/09, Ex.                        May
                                                               Roxane 254
7737   2001        Summary/Narrative for Contractors Pricing   P. Walker, 3/12/08, Ex.                        May
                   Report, Transmittal Number: 2001-673        Roxane 48
7742   3/2001      Myers & Stauffer Report - An Evaluation of  Previously disclosed                           Expect
                   Medicaid Pharmaceutical Management Options with Expert Reports of
                   for the State of Louisiana                  Bradford & Stiroh
7743   6/2001      Myers & Stauffer Report - A Survey of       Previously disclosed                           Expect
                   Acquisition Costs of Pharmaceuticals in the with Expert Reports of
                   State of Arkansas                           Bradford & Stiroh
7744   6/2001      Myers & Stauffer Report - A Survey of       Previously disclosed                           May
                   Dispensing Costs of Pharmaceuticals in the  with Expert Reports of
                   State of Arkansas                           Bradford & Stiroh
7745   2001        National Pharmaceutical Council,            Previously disclosed                           Expect
                   Pharmaceutical Benefits under State Medical with Expert Reports of
                   Assistance Programs                         Bradford & Stiroh
7746   11/2001     OIG Report - Review of Pharmacy Acquisition Previously disclosed                           May
                   Costs for Drugs Reimbursed Under the        with Expert Report of
                   Medicaid Prescription Drug Program of the   Stiroh
                   Texas Health and Human Services Commission
                   (A-06-01-00001)
7749   1/2001      Dey Monthly Sales Report                       Dey S.J. Opp., 8/28/09, DL-TX-80208-80272   May
                                                                  Ex. 319
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7753   1/2001      OIG report - Medicare Reimbursement of         Dey S.J., 6/26/09, Ex.                        May
                   Prescription Drugs (OEI-03-00-00310)           53; Abbott Ex. 1005
7754   1/2001      Print-out from Red Book™ for Windows®          Dey S.J. Opp., 8/28/09, HHD006-0703-          Expect
                                                                  Ex. 416                 HHD006-0710
7758   1/2001      AdminaStar pricing array for Albuterol                                 AWP034-0843      May
7759   1/2001      AdminaStar pricing array for Albuterol                                 AWP033-0969-0972 May
7760   1/2001      AdminaStar pricing array for Ipratropium                               AWP033-0987-0988 May
                   Bromide
7763   1/2/2001    Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex. DEY-BO0018909-12 May
                   Administrator                                   116
7764   1/2/2001    Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex. WI-Prod-AWP-128245 Expect
                   Administrator                                   135
7773   1/12/2001   66 Fed. Reg. 3176 (Jan. 12, 2001)                                                       May
7780   1/18/2001   HCFA Program Memorandum,                        D. Thompson, 3/28/08, HHC007-0001-07    Expect
                   Intermediaries/Carriers, Transmittal No. AB-01- Ex. Abbott 1009
                   04, regarding Implementation of the National
                   Drug Code (NDC) to Process Claims for
                   Prescription Drugs and Biologicals and Request
                   for Comments--Advance Notice

7786   1/26/2001   Letter from Dey to HCFA re: enclosed 2000 Q4                             DL-BO-164988-89     Expect
                   AMPs
7787   1/29/2001   Draft letter to the Medicaid pharmacy director, J. Fine, 12/9/08, Ex.    MD 0004553-56       May
                   state Medicaid agency for Maryland, from        Abbott Maryland 22
                   Patrick Lupinetti and others
7790   1/31/2001   Document titled "Region III Drug Reports 1991- R. Vito, 6/19/07, Ex.     HHD068-1498 - 1502 May
                   2001"                                           Roxane 230
7791   02/2001     Dey Monthly Sales Report                        Previously disclosed     DL-TX 80273-80337   May
                                                                   with Expert Report of
                                                                   Stiroh
7795   2/19/2001   Document entitled "Survey Results as of         D. Tawes, 4/25/07, Ex.   HHD006-0530-37      May
                   2/19/2001"                                      Abbott 142
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7800   03/2001     Dey Monthly Sales Report                     Previously disclosed     DL-TX 80338-80403   May
                                                                with Expert Report of
                                                                Stiroh
7801   3/14/2001   National Association of Chain Drug Stores,   WI, Defs' Joint S.J.     WI-Prod-AWP-118997-May
                   Issue Briefs, printed from the NACDS website Resp., 1/15/08, Ex. 91   1199012

7803   3/22/2001   AdminaStar pricing array for Albuterol                                AWP034-0849         May
7805   3/29/2001   Work paper from OIG 1999 review              P. Chesser, 10/28/08,    HHD022-0173-76      May
                                                                Ex. Roxane 151
7807   04/2001     Dey Monthly Sales Report                     Previously disclosed   DL-TX 80404-80470     May
                                                                with Expert Report of
                                                                Stiroh
7808   4/2001      Print-out from Red Book™ for Windows®        D. Tawes, 12/2/08, Ex. HHD157-0218-19        May
                                                                Roxane 162
7811   4/2001      AdminaStar pricing array for Albuterol                              AWP033-0849           May
7812   4/2001      AdminaStar pricing array for Ipratropium                            AWP033-0862           May
                   Bromide
7813   4/2001      Palmetto pricing array for Cromolyn                                   AWQ045-0542-45      May
7817   4/11/2001   Printout from a GPO website showing contract M. Jones, 12/8/08, Ex.   R1-024344-346       May
                   prices for the Subject Drugs                 Dey 321
7818   4/12/2001   Document entitled "Questions for HCFA-Larry S. Gaston, 3/19/08, Ex.   HHC004-0191 -       Expect
                   Reed/Sue Gaston"                             Abbott 753               HHC004-0192
7819   4/17/2001   Memorandum from HCFA to All Medicare         C. Eiler, 8/26/08, Ex.   AWP031-0526-28      May
                   Carriers and DMERCs                          Roxane 103
7824   4/27/2001   Chart entitled "Contacted"                   D. Tawes, 4/25/07, Ex.   HHD006-0081-0082    May
                                                                Abbott 141
7825   4/27/2001   Chart entitled "Response Query1"             D. Tawes, 4/25/07, Ex.   HHD006-0122-0127    May
                                                                Abbott 144
7826   4/27/2001   Letter and enclosed 2001 Q1 AMPs from Dey                             DL-BO-167264-68     Expect
                   to HCFA
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7827   05/2001     Dey Monthly Sales Report                       Previously disclosed     DL-TX 80471-80527   May
                                                                  with Expert Report of
                                                                  Stiroh
7828   5/2001      GAO Report - DOD and VA Pharmacy:              Dey S.J., 6/26/09, Ex.                       May
                   Progress and Remaining Challenges in Jointly   43
                   Buying and Mailing Out Drugs (GAO-01-588)

7829   5/1/2001    Letter from C. Rice to Senator Feinstein                                DL-WO-00033         May
7830   5/1/2001    Letter from C. Rice to Congressman Thompson                             DL-WO-00035         May

7831   5/2001      OIG Report: “Review of Alabama State                                    ALMED-828 164-      May
                   Medicaid Agency Enhanced Payments to                                    828177
                   Public Hospitals for Fiscal Years 1997 to
                   2000,” A-04-00-02171 (May 2001)
7835   5/15/2001   Email and attached document from R. Stone to Roxane S.J., 6/26/09,      AWQ029-000104-111 May
                   C. King, C. Eiler, C. Helton, B. Douglas, V. Ex. 173
                   Brantley regarding Drug Procedures

7836   5/16/2001   Email from Mary Nunn to Frank Spruill and M. R. Stone, 2/29/08, Ex.     AWP034-0453-61      May
                   Stoogenke re: Drug Pricing Information        Roxane 43
7837   5/16/2001   Fax cover sheet from Ven-A-Care to Rob Vito, M. Jones, 12/8/08, Ex.     VAC MDL 43204-207 May
                   message: "McKesson + Balan"                   Dey 323
7838   5/16/2001   Fax from Ven-A-Care to Rob Vito, dated May M. Jones, 12/8/08, Ex.       VAC MDL 43201-203 May
                   16, 2001                                      Dey 322
7839   5/16/2001   Generic Wholesale Service Agreement                                     CH0055539-60        May
7840   5/18/2001   Fax from Rhode Island Medicaid to HCFA        J. Young, 12/3/08, Ex.                        May
                   including correspondence regarding State Plan Roxanne 6
                   Amendment 95-05.
7842   5/25/2001   Anda invoice                                  TX, M. Jones, 10/8/02,    R1-027092           May
                                                                 Ex. Jones 303
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7843   5/30/2001   Internet page printout from HCFA website Re: WI, Trial, DTX 305        WI-Prod-AWP-121278-May
                   Unit Rebate Amount (URA) Calculation;                                  95
                   Rebate Agreement Between the Secretary of
                   Health and Human Services and the
                   Manufacturer Identified in Section XI of this
                   Agreement
7844   5/30/2001   Sign-in Sheet for the Entrance Conference re:   D. Tawes, 12/2/08, Ex. HHD157-0627         May
                   Excessive Medicare Reimbursement for            Roxane 167
                   Albuterol and Ipratropium Bromide
7847   6/2001      A Survey of Dispensing Costs of                 S. Bridges, 12/10/08,  ARK00006870-6932    Expect
                   Pharmaceuticals in the State of Arkansas        Ex. Roxane 15
7848   6/1/2001    Chart titled Summary of Allowed Charge          D. Tawes, 12/2/08, Ex. HHD157-0844-60      May
                   Based on The Distance from the Supplier         Roxane 165
                   Physicial Address for Selected Supplier
                   Numbers (Dates of Service: January 1, 2000 to
                   December 31, 2000)
7849   06/2001     Dey Monthly Sales Report                      Previously disclosed     DL-TX 80529-80594   May
                                                                 with Expert Report of
                                                                 Stiroh
7849   06/2001     Dey Monthly Sales Report                      Previously disclosed     DL-TX 80529-80594   May
                                                                 with Expert Report of
                                                                 Stiroh
7850   6/2001      Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   DEY-BO-0246811-12 May
                   Administrator                                 117
7851   6/1/2001    Yahoo! Yellow Pages Search Result for Certain D. Tawes, 12/2/08,       HHD157-0824-0832    May
                   Pharmacies and an attached Chart titled       Roxane Ex. 166
                   Supplier Summary (6 Digit) for Procedure
                   Codes K0518 (J7644) (Dates of Service:
                   January 1, 2000 to December 31, 2000)
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7854   6/4/2001    Document entitled "Ipratropium Bromide        D. Thompson, 9/30/08, HHD181-0031            Expect
                   Wholesale Prices"                             Thompson Ex. 22

7855   6/4/2001    Spreadsheet titled Ipratropium Bromide AWP    Dey S.J. Opp., 8/28/09, HHD181-0029          May
                   Prices, Source: April 2001 Red Book™ for      Ex. 413
                   Windows®
7865   07/2001     Dey Monthly Sales Report                      Previously disclosed     DL-TX 80595-80660   May
                                                                 with Expert Report of
                                                                 Stiroh
7866   7/2001      OIG Report - Cost Containment of Medicaid     Dey S.J., 6/26/09, Ex.                       Expect
                   HIV/AIDS Drug Expenditures (OEI-05-99-        38
                   00611)
7872   7/2001      AdminaStar pricing array for Albuterol                                 AWP033-0716         May
7873   7/2001      Palmetto pricing array for Cromolyn                                    AWQ045-0716-19      May
7880   7/16/2001   Letter from Robert F. Mozak to Martha         Dey S.J., 6/26/09, Ex.                       May
                   McNeill                                       152
7882   7/24/2001   Document entitled "Federal Upper Limit        S. Gaston, 3/19/08, NY HHD175-1073 -         May
                   System" with attachments                      Counties Defs Ex. 13   HHD175-1077

7883   7/26/2001   Letter and enclosed 2001 Q2 AMPs from Dey                              DL-BO-167577-79     Expect
                   to HCFA
7884   7/26/2001   Letter and enclosed 2001 Q2 AMPs from Dey                              DL-BO-167604-12     Expect
                   to NYS EPIC Program
7885   08/2001     Dey Monthly Sales Report                      Previously disclosed     DL-TX80661-80720    May
                                                                 with Expert Report of
                                                                 Stiroh
7887   8/2001      Draft OIG report - Review of Pharmacy         MT, Defs' Joint S.J.,    MT013731-013743     May
                   Acquisition Costs for Drugs Reimbursed Under 2/8/07, Ex. 038
                   the Medicaid Prescription Drug Program of the
                   Montana Department of Public Health and
                   Human Services (A-06-01-00005)
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7888   8/2001      OIG Report - Medicaid Pharmacy - Actual       T. Gustafson, 12/17/07, HHD079-0001-29       May
                   Acquisition Cost of Brand Name Prescription   Abbott Ex. 438
                   Drug Products (A-06-00-00023)

7889   8/2001      Dana, Jr., James D., “Price Dispersion under Previously disclosed                          May
                   Demand Uncertainty,” International Economic with Expert Report of
                   Review, Volume 42, Number 3, pp. 649-670     Bradford

7898   8/17/2001   Document entitled "Federal Upper Limit        S. Gaston, 3/19/08, NY HHD175-1065 -         May
                   System" with attachments                      Counties Defs Ex. 11   HHD175-1071

7900   8/24/2001   Document entitled "Staff Action Cover Sheet" D. Duzor, 10/30/07,      HHC004-0222          May
                   regarding Medicaid Pharmacy-Actual           Abbott Ex. 370
                   Acquisition Cost of Generic Drug Products

7903   8/27/2001   Email from Teresa Revanna to George Grob, R. Vito, 2/6/08, Roxane HHD 068-0636-37          May
                   Stuart Wright, Robert Vito, George Reeb, Ben Ex. 28
                   Jackson, John Hagg, Bill Shrigley, Paul
                   Chesser, Deborah Holmes, Andrea Walker

7905   8/31/2001   Email from Teresa Revanna to Stuart Wright,   M. Jackson, 12/12/08,   HHD 068-0638 - 639   May
                   Rob Vito, and Ben Jackson, forwarding email   Dey Ex. 935
                   from Chuck Clapton to Teresa Revanna

7906   8/31/2001   Memorandum from Congressional Research        Roxane S.J., 6/26/09,                        May
                   Service to House Committee on Energy and      Ex. 111
                   Commerce - “Regulatory and Legislative
                   History of Medicare Drug Reimbursement
                   Based on Average Wholesale Price"
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7907   8/31/2001   Wall Street Journal article entitled "Medicaid is M. Jackson, 12/12/08,   HHD 164-0089 - 90   May
                   Overpaying for Drugs," with handwritten           Roxane Ex. 211
                   notations
7908   09/2001     Dey Monthly Sales Report                          Previously disclosed    DL-TX80721-80783    May
                                                                     with Expert Report of
                                                                     Stiroh
7909   9/2001      GAO Report - Medicare: Payments for Covered Roxane S.J., 6/26/09,                             Expect
                   Outpatient Drugs Exceed Providers’ Cost           Ex. 131

7910   9/2001      Medicaid Drug Rebate Operational Training    T. Bruce, 11/6/08, Dey DEY-BO0006569-822 May
                   Guide                                        Ex. 211
7911   9/2001      Medicaid Drug Rebate Operational Training    T. Bruce, 11/6/08, Dey                   May
                   Guide, prepared by CMS's Center for Medicaid Ex. 212
                   and State Operations, Finance, Systems and
                   Quality Group - Division of State Systems

7914   9/4/2001    Website printout regarding 2001 OIG Report A. Hiramatsu, 5/1/08, HI_HI 000015049-51           May
                   Suggesting Lower Acquisition Costs for Brand Ex. Hiramatsu 007
                   Drugs
7915   9/5/2001    Letter from Gordon Sato, Regional Inspector  A. Chapman, 12/15/08, HHC013-1110-11             May
                   General for Audit Services, to Roger Gunter  Ex. Dey 366

7918   9/10/2001   Letter to The Honorable Michael Bilirakis and TX, C. Rice 10/30/01,                           May
                   The Honorable James Greeenwood, members Rice 077
                   of the House Committee on Commerce, from
                   C. Rice declining invitation to appear before
                   the joint Energy and Commerce Subcommittee
                   on Investigations and Oversight, and Health
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7919   9/10/2001   Letter to The Honorable Michael Bilirakis, The TX, C. Rice 10/30/01,   DL-TX-0095954 - 955 May
                   Honorable James Greeenwood from C. Rice re: Rice 576
                   appearance before the joint Energy and
                   Commerce Subcommittee on Investigations and
                   Oversight and Health
7920   9/10/2001   Fax and attachments from S. Hudspeth to T.                          DL-WO-00054-64         May
                   Dilenge
7924   9/14/2001   Fax and attachments from S. Hudspeth to C.                          DL-WO-00067-75         May
                   Clapton
7925   9/15/2001   Work Paper File Checklist for Medicaid's Use D. Tawes, 4/25/07, Dey HHD006-0196 - 0199     May
                   of Revised AWPs (OEI-03-01-00010)            Ex. 19
7933   9/21/2001   GAO Report - Medicare Part B Drugs: Program S. Schondelmeyer,                              Expect
                   Payments Should Reflect Market Prices        2/25/09, Dey
                                                                Schondelmeyer Ex. 9
7935   9/21/2001   Testimony of Thomas Connaughton Before the R. Vito, 2/5/08, Abbott                         May
                   Subcommittees on Health and Oversight &      Ex. 473
                   Investigations, Committee on Energy and
                   Commerce, regarding Medicare Drug
                   Reimbursements: A Broken System for Patients
                   and Taxpayers
7938   9/2001      OIG Report - Medicaid's Use of Revised     S. Gaston, 1/24/08,         HHD101-1266 -       May
                   Average Wholesale Prices (OEI-03-01-00010) Abbott Ex. 455              HHD101-1285

7941   9/28/2001   Emails from                                   S. Gaston, 3/19/08, NY HHD175-0850 -         May
                   "FedUpperLimitForm@cms.hhs.gov" to            Counties Defs Ex. 4    HHD175-0852
                   "ful@cms.hhs.gov" regarding comments on
                   draft FUL prices
7943   10/2001     Dey Monthly Sales Report                      Previously disclosed     DL-TX 80784-80848   May
                                                                 with Expert Report of
                                                                 Stiroh
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7944   10/2001    Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   DEY-BO-0254353     Expect
                  Administrator, dated October 2001             118

7945   10/2001    OIG Report - Review of Payments for          R. Stone, 2/29/08, Dey                       May
                  Inhalation Drugs Made By Region C Durable Ex. 121
                  Medical Equipment Regional Carrier (A-06-00-
                  00053)
7946   10/2001    Letter from Robert F.                        CA, Dey S.J., 11/25/09, DEY-BO-0254353       May
                  Mozak to State Medicaid Administrator        Ex. 37

7947   10/1/2001 Dey Price Notification Letter re: AWP                                   ID 026036-38       May
7950   10/2001    AdminaStar pricing array for Albuterol                                 AWP033-0529        May
7951   10/2001    AdminaStar pricing array for Albuterol                                 AWP033-0530        May
7952   10/1/2001 DMERC A pricing array for Cromolyn                                      AWQ057-0033        May
7953   10/1/2001 DMERC A pricing array for Cromolyn                                      AWQ057-0106-07     May
7954   10/1/2001 DMERC A pricing array for Cromolyn                                      AWQ057-0139        May
7955   10/2001    Palmetto pricing array for Cromolyn                                    AWQ045-0661-63     May
7959   10/10/2001 Letter from NACDS to Cheryl Harris at CMS N. Valentine, 7/19/07,       NACDS-WI 0215-17   May
                  Re: Wisconsin Medicaid State Plan            Valentine 10
                  Amendment Reducing Pharmacy
                  Reimbursement
7960   10/10/2001 Letter from NACDS to Peggy Handrich at       N. Valentine, 7/19/07,                       May
                  DHHS regarding potential action by Wisconsin Valentine 14
                  Medicaid based on an August 2001 OIG report

7962   10/12/2001 Chart titled Top 100 Counties by Allowed       D. Tawes, 12/2/08,     HHD157-0863-64      May
                  Charge for K0518 (Dates of Service: January 1, Roxane Ex. 164
                  2000 to December 31, 2000)
7963   10/12/2001 Document entitled "Federal Upper Limit         S. Gaston, 3/19/08, NY HHD175-0557 -       May
                  System" with attachments                       Counties Defs Ex. 12   HHD175-0559

7967   10/21/2001 1 Tex. Admin. Code 355.8541                                                               Expect
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7969   10/23/2001 Email from Jesse Anderson at Oregon             HI, Watson & Sandoz HHD312-0318-320         May
                  Medicaid to Maria Garza regarding Oregon        S.J., 8/25/09, Ex. 11
                  SPA 01-12
7972   10/29/2001 Letter and enclosed 2001 Q3 AMPs from Dey                                DL-BO-167997-99    Expect
                  to CMS
7974   10/31/2001 Myers & Stauffer; Study of Medi-Cal             J. Gorospe, 5/6/09, Ex.- MS-CA0091871-89    Expect
                  Pharmacy Reimbursement Rates; Progress          Gorospe 045
                  Report
7975   11/2001    A Survey of Acquisition Costs of                KY, Defs' Joint MSJ,     KY_DMS_ 125619- Expect
                  Pharmaceuticals in the Commonwealth of          10/15/08, Ex. 029        125670
                  Kentucky, prepared by Myers & Stauffer
7976   11/2001    David Kreling, et al., Kaiser Family Foundation Previously disclosed     WI-Prod-AWP-113628-May
                  Report, Prescription Drug Trends, A Chartbook with Expert Report of 113690
                  Update                                          Bradford
7977   11/2001    Dey Monthly Sales Report                        Previously disclosed     DL-TX 80849-80926 May
                                                                  with Expert Report of
                                                                  Stiroh
7978   11/2001    Excerpt from the Henry J. Kaiser Family         Alabama, Trial, DTX                         May
                  Foundation report entitled "Prescription Drug 1176
                  Trends: A Chartbook Update"
7979   11/2001    Myers and Stauffer Report - A Survey of         Defs' Common S.J.        KY_DMS_ 169652- Expect
                  Dispensing Costs of Pharmaceuticals in the      Resp., 8/28/09, Ex. 101 169724
                  Commonwealth of Kentucky (Prepared for the
                  Kentucky Department for Medicaid Services)

7980   11/1/2001   Sign-in Sheet for the Exit Conference re:   D. Tawes, 12/2/08,      HHD157-0631           May
                   Excessive Medicare Reimbursement for        Roxane Ex. 168
                   Albuterol and Ipratropium Bromide
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7983   11/2001     Myers and Stauffer, A Survey of Acquisition HI, Watson & Sandoz        KY_DMS_000000001 Expect
                   Costs of Pharmaceuticals in the             S.J., 8/25/09, Ex. 14      38057-091
                   Commonwealth of Kentucky, Prepared for the
                   Kentucky Department for Medicaid Services

7984   11/2001     OIG Report - "Review of Pharmacy              A. Chapman, 12/15/08,                     May
                   Acquisition Costs for Drugs Reimbursed Under Ex. Dey 367
                   the Medicaid Prescription Drug Program of the
                   Colorado Department of Health Care Policy
                   and Financing" (A-06-01-00004)

7985   11/2001     OIG Report "Review of Pharmacy Acquisition                                              May
                   Costs for Drugs Reimbursed Under the
                   Medicaid Prescription Drug Program of the
                   Washington Department of Social and Health
                   Services" (A-06-01-00006), available at
                   http://oig.hhs.gov/oas/reports/region6/6010000
                   6.pdf

7989   11/6/2001  Checklist for Submitting Reports to               D. Tawes, 12/2/08,    HHD157-1054      May
                  Headquarters for IG Approval re: Excessive        Roxane Ex. 169
                  Medicare Reimbursement for Ipratropium
                  Bromide (OEI-03-01-00411)
7995   11/21/2001 Email from Charlotte Yeh to Jerry Rogan,          R. Niemann, 10/11/07, AWP002-2015-19   May
                  Deborah Johnson, Arlene Kraus, Angel Chau,        Abbott Ex. 350
                  Jane Hite re: Using Multiple Dose Vials
                  (MDV) for Injection Calculations
7998   11/26/2001 Email from Cody Wiberg, Pharmacy Program          D. Duzor, 10/30/07,   HHD086-0016 -    May
                  Manager of Minnesota Department of Human          Abbott Ex. 380        HHD086-0019
                  Services, to other State Medicaid officials
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8002   11/27/2001 Excerpt from an Anda, Inc. catalog                 TX, M. Jones, 10/8/02, R1-027254           May
                                                                     Jones Ex. 300
8003   11/28/2001 Wholesaler invoice                                 Roxane Ex. 200         R2-002422           May
8007   11/29/2001 Memorandum in Support of Unopposed Ex              Dey S.J. Ex. 99                            May
                  Parte Application of the United States for an
                  Extension of Time to Intervene as of Right in
                  United States of America ex rel Ven-A-Care of
                  the Florida Keys, Inc. v. Dey Inc. et al., Civil
                  Action No. 00-10698 (D. Mass.)

8008   12/2001     Dey, L.P. December 2001 Notice of Price           M. Terrebonne,         DEY-MDL-0105071- Expect
                   Change                                            3/31/08, Ex. Dey 057   78

8009   12/2001     Chart entitled "Albuterol Sulfate (NDC 49502- D. Thompson, 9/30/08,                          May
                   0697-33) - December 2001"                     Thompson Ex. 23

8010   12/2001     Dey Monthly Sales Report                      Previously disclosed       DL-TX 80928-80992   May
                                                                 with Expert Report of
                                                                 Stiroh
8012   12/2001     Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.     WI-Prod-AWP-128225 Expect
                   Administrator, dated December 2001            136

8013   12/2001     OIG Report - Review of Pharmacy Acquisition D. Thompson, 9/30/08,                            May
                   Costs for Drugs Reimbursed Under the        Thompson Ex. 19
                   Medicaid Prescription Drug Program of the
                   Indiana Family and Social Services
                   Administration (A-06-01-00008)
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8014   12/2001     OIG report - Review of Pharmacy Acquisition MA, P. Chesser,                            May
                   Costs for Drugs Reimbursed Under the        10/28/08, Roxane Ex.
                   Medicaid Prescription Drug Program of the   155
                   West Virginia Department of Health and
                   Human Resources (A-06-01-00007)

8015   12/2001     Letter from Dey to Pricing Database        K. Minne, 11/19/08,     Red Book 07021-22   Expect
                   Administrator re: New Product Announcement Minne Ex. 88

8020   12/5/2001   Email from HHS External Affairs to HHS-OIG- Alabama, Trial, DTX ALMED-392246-48 May
                   Media regarding OIG's posting of five audit   277
                   reports and one corrected audit link
8022   12/6/2001   Email from Scott Speer on behalf of John      AL, J. Rector, 8/29/07, ALMED-392229-241 May
                   Coster, Vice President, Federal and State     NCPA 6
                   Programs at NACDS, to various state Medicaid
                   agencies Re: Documents Responding to OIG
                   Report on Pharmacy's Acquisition Costs for
                   Branded Drugs, attaching the 12/6/01 letter
                   from NACDS to HHS Re: Analysis by
                   University of Texas of OIG Report on Brand
                   Name Drug Acquistion Costs and a report by
                   the Center for Pharmacoeconomic Studies at
                   the University of Texas at Austin entitled "A
                   Review of HHS Office of Inspector General
                   Report: Medicaid Pharmacy--Actual
                   Acquisition Cost of Brand Name Prescription
                   Drug Products"


8027   12/10/2001 Wholesaler invoice listing a number of Subject M. Jones, 12/9/08,   R2-026795, VAC      May
                  Drugs                                          Roxane Ex. 201       MDL 27960
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8033   12/28/2001 Email from Charlene Brown to Richard           T. Scully, 7/13/07, Dey                       May
                  Chambers, Dorothy Collins, Sheree Kanner,      Ex. 27
                  Thomas Scully, Dennis Smith
8034   2002       Document entitled "Pharmacy Payment and        T. Scully, 7/13/07, Dey                       May
                  Patient Cost Sharing" by the National          Ex. 24
                  Pharmaceutical Council
8036   2002       Fax from Oregon Medicaid to CMS regarding      K. Ketchum, 12/15/08, HHC020-0515-0523        May
                  State Plan Amendment and State Medicaid        Roxane Ex. 005
                  Pharmacy Survey
8054   2002       Encouragement of Provider Participation, 42    Previously disclosed                          May
                  C.F.R. § 447.204 (2002)                        with Expert Report of
                                                                 Bradford
8055   2002        National Pharmaceutical Council,              Previously disclosed                          May
                   Pharmaceutical Benefits under State Medical with Expert Reports of
                   Assistance Programs                           Bradford & Stiroh
8059   1/2002      Dey Monthly Sales Report                      Previously disclosed      DL-TX 79928-79992   May
                                                                 with Expert Report of
                                                                 Stiroh
8062   1/2002      Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    EDEY-BO-0053142-    Expect
                   Administrator, dated January 2002             120                       143
8065   1/2002      AdminaStar pricing array for Albuterol                                  AWP033-1459         May
8066   1/2002      AdminaStar pricing array for Albuterol                                  AWP033-1460         May
8067   1/2002      AdminaStar pricing array for Ipratropium                                AWP033-1474         May
                   Bromide
8068   1/2002      Palmetto pricing array for Cromolyn                                     AWQ045-0772-74      May
8081   1/25/2002   Letter from Associate CMS Regional            KY, Def's Joint Reply                         May
                   Administrator Calvin Cline to Arkansas        SJ, 1/15/09, Ex. 026
                   Medicaid Director Ray Hanley re: approval of
                   state plan amendment changing Arkansas
                   Medicaid's drug reimbursement formula
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8082   1/28/2002   Volume I, deposition of Patricia Kay Morgan, AL, P. Morgan,           FDB-AWP 00556-717 May
                   dated 1/28/02, in In re Texas Civil Investigative 8/27/07, Morgan 1
                   Demand to First DataBank, Inc.

8083   1/29/2002   Letter and enclosed 2001 Q4 AMPs from Dey                             DL-BO-168349-50     Expect
                   to CMS
8084   1/30/2002   Email and attachment from M. Moden to P.                              TXMGT0094597-601 Expect
                   Napier re: AMP calculations
8085   02/2002     Dey Monthly Sales Report                    Previously disclosed      DL-TX 79994-80040   May
                                                               with Expert Report of
                                                               Stiroh
8086   2/2002      OIG report - Review of Pharmacy Acquisition M. Jackson, 12/12/08,                         May
                   Costs for Drugs Reimbursed Under the        Montana Ex. 2
                   Medicaid Prescription Drug Program of the
                   Montana Department of Public Health and
                   Human Services (A-06-01-00005)

8088   2/2002      OIG Report - Review of Pharmacy Acquisition FL, J. Wells, 5/26/05,                        May
                   Costs for Drugs Reimbursed Under the          Wells Ex. 105
                   Medicaid Prescription Drug Program of the
                   Florida Agency for Health Care Administration
                   (A-06-01-00002)
8089   2/5/2002    Charts titled "Generic"                         M. Butt, 1/26/10, Butt NYCO AWP NYDOH Expect
                                                                   Ex. 9                    13591-99
8091   2/9/2002    Email from Ray Hanley to various recipients     S. Bridges, 12/11/08,    HHC014-0232-35 May
                                                                   Roxane 040
8101   2/28/2002   Email from Mark Yessian to Robert Vito          R. Vito, 6/19/07, Abbott HHD067-0092    May
                                                                   Ex. 231
8103   3/2002      Dey Monthly Sales Report                        Previously disclosed     DL-TX0129964-  May
                                                                   with Expert Report of 0130014
                                                                   Stiroh
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8105   3/2002      Excerpt from the Region B DMERC Supplier C. Eiler, 8/26/08, Eiler AWP037-0030-33              May
                   Manual                                      Ex. 2
8107   3/2002      OIG Report - Excessive Medicare             Dey S.J. Ex. 54; Abbott                           Expect
                   Reimbursement for Albuterol (OEI-03-01-     Ex. 86
                   00410)
8108   3/2002      OIG Report - Excessive Medicare             Dey S.J., 6/26/09, Ex.                            Expect
                   Reimbursement for Ipratropium Bromide (OEI- 60; Dey Ex. 511
                   03-01-00411)
8109   3/2002      OIG Report- Review of Pharmacy Acquisition K. Howell, 4/22/08,                                May
                   Costs for Drugs Reimbursed Under the        Abbott Ex. 1071
                   Medicaid Prescription Drug Program of the
                   Wisconsin Department of Health and Family
                   Services (A-06-01-00003)

8110   3/2002      OIG Report: Medicaid Pharmacy - Actual          T. Scully, 5/15/07,                           Expect
                   Acquisition Cost of Generic Prescription Drug   Abbott Ex. 197
                   Products (A-06-01-00053)
8119   3/11/2002   Letter from NACDS to OIG Re: OIG Release        N. Valentine, 7/19/07,                        May
                   of State Reports on Medicaid Pharmacy           Valentine 16
                   Acquisition Cost of Brand Name Drugs

8122   3/14/2002   GAO Report - Medicare Outpatient Drugs:         T. Scully, 7/13/07,                           May
                   Program Payments Should Better Reflect          BMS Ex. 8
                   Market Prices
8125   3/19/2002   Fax from Melissa Brown at OIG to Paul           M. Jackson, 12/12/08,    HHD 182-0305 - 310   May
                   Chesser, attaching a letter from Congressman    Dey Ex. 934
                   Phlip Crane to Janet Rehnquist dated August
                   20, 2002
8127   3/20/2002   Email with attached document from Susan         S. Gaston, 3/19/08,      HHD180-0034 -        May
                   Gaston to Jessie Spillers and Sharman           Abbott Ex. 754           HHD180-0039
                   Leinwand
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8128   3/20/2002   OIG work paper entitled "Current Proposals to MA, P. Chesser,         HHD022-0267-70      May
                   Medicaid Reimbursement for Three States"      10/28/08, Roxane Ex.
                                                                 157
8132   04/2002     Dey Monthly Sales Report                      Previously disclosed    DL-TX 80041-80092   May
                                                                 with Expert Report of
                                                                 Stiroh
8135   4/2002      Document titled AMP vs. AWP                                           HHD978-0240         Expect
8137   4/2002      AdminaStar pricing array for Albuterol                                AWP033-1337         May
8138   4/2002      AdminaStar pricing array for Albuterol                                AWP033-1338         May
8139   4/2002      AdminaStar pricing array for Ipratropium                              AWP033-1352         May
                   Bromide
8140   4/2002      Palmetto pricing array for Cromolyn                                   AWQ045-0828-31      May
8141   4/2002      Palmetto pricing array for Cromolyn                                   AWQ025-0563-66      May
8150   4/15/2002   Article from Drug Topics entitled "CMS wants D. Tawes, 4/25/07,       HHD005-0411         Expect
                   to drop AWP-based Medicare payments"          Abbott Ex. 135

8151   4/16/2002   Document entitled "Payer Forum"               AL, P. Morgan,         FDB-ALABAMA        May
                                                                 8/27/07, Morgan 10     085641-648
8152   4/16/2002   Document titled How the Medicare Module       AL, K. Chadwick,       FDB/Alabama 106382 May
                   Meets Market needs and Medicaid: The State    10/23/07, Chadwick Ex.
                   of the State                                  16
8154   4/21/2002   1 Tex. Admin. Code 354.3092                                                             May
8156   4/29/2002   Letter and enclosed 2002 Q1 AMPs from Dey                            DL-BO-165243-46    Expect
                   to CMS
8157   05/2002     Dey Monthly Sales Report                      Previously disclosed    DL-TX 80093-80144   May
                                                                 with Expert Report of
                                                                 Stiroh
8158   5/2002      First DataBank PriceProbe, Documentation,     MA, P. Morgan,          FDB-AWP 29376-514 May
                   Main Navigation Page                          11/30/07, Morgan Ex.
                                                                 17
8161   5/1/2002    Texas Medicaid New Drug Application Form                              TXMGT061990-993     May
                   (blank)
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8162   5/4/2002    Smith, Lisa K., “Respiratory's New Coding        Previously disclosed                         May
                   Headache,” HME Today, available at               with Expert Report of
                   http://www.hmetoday.com/issues/articles/2002- Bradford
                   05_04.asp
8163   5/6/2002    Print-out from Innovatix.com’s website, dated M. Jones, 12/8/08, Dey      R2-015617-618       May
                   May 6, 2002                                      Ex. 324
8165   5/10/2002   Letter from M. McNeill to Manufacturer                                    DL-TX 85864-65      Expect
8173   5/20/2002   Letter from National Association of Chain        KY Defs' Joint SJ,       KY_DMS_ 120573-     May
                   Drug Stores to CMS regarding Kentucky            10/15/08, Ex. 079        120574
                   pharmacy reimbursement
8174   5/20/2002   Letter from J. Coster, Vice President of Federal Previously disclosed     KY_DMS_000000001 May
                   and State Programs, to G. Grasser, Associate     with Expert Report of    20573-74
                   Regional Administrator, Region IV, CMS           Bradford

8176   5/21/2002   CRS Report - Medicare: Payments for Covered Abbott Ex. 439                HHD079-0030-42      May
                   Prescription Drugs
8177   5/22/2002   HCFA Program Memorandum,                         Dey S.J., 6/26/09, Ex.   HHD085-0006 -       Expect
                   Intermediaries/Carriers, Transmittal No. AB-02- 174                       HHD085-0007
                   075
8181   06/2002     Dey Monthly Sales Report                         Previously disclosed     DL-TX 80145-80206   May
                                                                    with Expert Report of
                                                                    Stiroh
8182   6/2002      Myers and Stauffer Report - A Survey of          K. Gorospe, 9/22/08,     CAAG/DHS0068571- May
                   Acquisition Costs of Pharmaceuticals in the      Ex. Gorospe 043          68646
                   State of California (Prepared for the California
                   Department of Health Services)
8183   6/2002      Myers and Stauffer Report - Study of Medi-Cal Defs' Common S.J.                               May
                   Pharmacy Reimbursement (Prepared for the         Resp., 8/28/09, Ex. 97
                   California Department of Health Services)
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8185   6/2002      Gencarelli, D. M., “Average Wholesale Price Previously disclosed                           May
                   for Prescription Drugs: Is There a More       with Expert Report of
                   Appropriate Pricing Mechanism?” National      Bradford
                   Health Policy Forum Issue Brief No. 775, June
                   2002
8191   6/13/2002   Email from H. Murphy to J. Cooke re: HB915    S. Schondelmeyer,          VDP_0965269       Expect
                   AMP requirements - update                     5/22/09, Ex. Dey
                                                                 Schondelmeyer 11
8205   7/1/2002    AdminaStar pricing array for J7631            C. Eiler, 8/26/08, Eiler   AWP033-1343       May
                                                                 Ex. 13
8206   07/2002     Dey Monthly Sales Report                      Previously disclosed       DL-TX0129754-     May
                                                                 with Expert Report of      0129804
                                                                 Stiroh
8209   7/2002      AdminaStar pricing array for Albuterol                                   AWP038-1189       May
8210   7/2002      AdminaStar pricing array for Albuterol                                   AWP038-1192       May
8211   7/2002      AdminaStar pricing array for Albuterol                                   AWP033-1228       May
8212   7/2002      AdminaStar pricing array for Ipratropium                                 AWP033-1243       May
                   Bromide
8213   7/1/2002    DMERC A pricing array for Cromolyn                                       AWQ057-0154-55    May
8214   7/1/2002    DMERC A pricing array for Cromolyn                                       AWQ057-1018       May
8215   7/1/2002    DMERC A pricing array for Cromolyn                                       AWQ057-1048       May
8216   7/1/2002    DMERC A pricing array for Cromolyn                                       AWQ057-1160       May
8217   7/2002      Palmetto pricing array for Cromolyn                                      AWQ045-0885-88    May
8230   7/29/2002   Letter and enclosed 2002 Q2 AMPs from Dey                                DL-BO-165617-18   Expect
                   to CMS
8231   08/2002     Dey Monthly Sales Report                      Previously disclosed       DL-TX0129703-     May
                                                                 with Expert Report of      0129753
                                                                 Stiroh
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8233   8/2002      Myers and Stauffer report "Determination of   N. Molyneaux, 1/11/07, TXMGT0183632-705 May
                   the Cost of Dispensing Pharmaceutical         Abbott Ex. 21
                   Prescriptions for the Texas Vendor Drug
                   Program," prepared for the Texas Health and
                   Human Services Commission
8242   8/12/2002   Letter and attachments from CMS to M.                                  HHD087-3742-90    May
                   Robinson re: Kentucky Title XIX State Plan
                   Amendment, Transmittal #02-04
8250   9/2002      Dey Monthly Sales Report                      Previously disclosed     DL-TX 0129646-    May
                                                                 with Expert Report of    0129702
                                                                 Stiroh
8251   9/2002      Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   WI-Prod-AWP-128869 May
                   Administrator, dated September 2002           137

8252   9/2002      OIG Report - Medicaid Pharmacy - Additional D. Duzor, 10/30/07,                          Expect
                   Analyses of the Actual Acquisition Cost of  Abbott Ex. 372
                   Prescription Drug Products (A-06-02-00041)

8255   9/5/2002    Prescribed Drugs - Public Hearing, DHCFP      S. Grossman, 10/24/07,                     May
                   Testimony                                     Ex. MPha 11

8256   9/13/2002   Medicare Payment Advisory Commission          M. Butt, 2/12/10, Butt   HHD135-0843 -69   May
                   Meeting Brief                                 Ex. 32
8257   9/13/2002   Palmetto pricing array for Cromolyn                                    AWQ025-0496-97    May
8271   10/1/2002   42 C.F.R. § 447.518                           R. Vito, 6/20/07, Abbott                   May
                                                                 Ex. 240
8273   10/2002     Dey Monthly Sales Report                      Previously disclosed     DL-TX 129597-     May
                                                                 with Expert Report of 0129645
                                                                 Stiroh
8274   10/2002     DMERC Claim Record                            R. Stone, 2/28/08,                         May
                                                                 Abbott Ex. 526
8276   10/2002     AdminaStar pricing array for Albuterol                                 AWP033-1794       May
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8277   10/2002     AdminaStar pricing array for Albuterol                                AWP033-1795       May
8278   10/2002     AdminaStar pricing array for Ipratropium                              AWP033-1810       May
                   Bromide
8287   10/4/2002   Letter from NACDS to OIG Re: OIG               N. Valentine, 7/19/07,                   May
                   Additional Analyses of Pharmacy Acquisition Valentine 15
                   Cost for Brand Name Drugs
8289   10/7/2002   Email from Marsha McQueeney to Cheryl          M. McQueeney,          AWP037-0059-60    May
                   Eiler, subject "If Congress Doesn't Fix Drug   3/26/08, Roxane Ex. 70
                   Rule, Medicare Might"
8290   10/7/2002   Email from Robin Stone to Elaine Yerashunas, C. Eiler, 8/26/08,       AWP038-1503       May
                   Gina Josefowicz, Cheryl Eiler, Carolyn Helton, Roxane Ex. 101
                   Barbara Douglas, Christopher Tuggy, Shannell
                   McClurkin, Verna Brantley

8299   10/22/2002 Redacted CMS Memorandum from Dennis           D. Smith, 2/26/08,                         May
                  Smith to Thomas Scully and Ruben J. King-     Abbott-Smith Ex. 487
                  Shaw, Jr.
8301   10/22/2002 Memorandum from Dennis Smith to Thomas Defs' Common S.J.              HHD830-000001-04   Expect
                  Scully and Ruben J. King-Shaw, Jr. re: Review Resp., 8/28/09, Ex. 137
                  of Medicaid Drug State Plan Amendments

8302   10/22/2002 Email between S. Childs and M. McNeill        TX, Sandoz S.J.,      VDP_0998399-400      May
                                                                10/30/09, Ex. 75
8307   10/29/2002 Letter from Dey to Medi-Cal Electronic Data                         DL-BO-166180         May
                  Systems (EDS) re: enclosed 2002 Q3 AMPs

8308   10/29/2002 Letter and enclosed 2002 Q3 AMPs from Dey                           DL-BO-166200-01      Expect
                  to CMS
8309   10/29/2002 Letter and enclosed 2002 Q3 AMPs from Dey                           DEY-LABS-0310294- May
                  to NYS EPIC program                                                 301
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8311   10/31/2002 Email exchange between Sue Gaston at CMS          AL, Trial, DTX 1169       FDB-NEC 041070-72 May
                  and Kay Morgan at FDB (copying others)
                  regarding Definitions of AWP/WAC/DP

8312   11/2002     Dey Monthly Sales Report                         Previously disclosed   DL-TX 0129546-    May
                                                                    with Expert Report of 0129596
                                                                    Stiroh
8316   11/4/2002   Print-out from the Customer Support FAQ          AL, K. Chadwick,       FDB-AWP 02005-06 May
                   section of First DataBank's website              10/23/07, Chadwick Ex.
                                                                    11
8318   11/13/2002 Deposition of Patricia Kay Morgan, dated          AL, P. Morgan,         FDB-AWP 01439-822 May
                  11/13/02, in State of Texas v. Dey, Inc. et al.   8/27/07, Morgan 2

8325   12/2002     Dey Monthly Sales Report                        Previously disclosed  DL-TX 0129487-        May
                                                                   with Expert Report of 0129545
                                                                   Stiroh
8327   12/3/2002   CMS Program Memorandum,                         D. Thompson, 3/28/08,                       Expect
                   Intermediaries/Carriers, Transmittal No. AB-02- Abbott Ex. 1012
                   174, regarding Single Drug Pricer (SDP)

8330   12/5/2002   Memorandum in Support of Unopposed Ex            Dey S.J., 6/26/09, Ex.                     May
                   Parte Application of the United States for an    100
                   Extension of Time to Intervene as of Right in
                   United States of America ex rel Ven-A-Care of
                   the Florida Keys, Inc. v. Dey Inc. et al., Civil
                   Action No. 00-10698 (D. Mass.)

8332   12/9/2002   67 Fed. Reg. 74132-33                            Defs' Common S.J.                          May
                                                                    Resp., 8/28/09, Ex. 204

8333   12/9/2002   Letter from Roger Gunter to Diane Dunstan        A. Chapman, 12/15/08, HHC013-1087-89       May
                                                                    Ex. Dey 374
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8334   12/10/2002 Letter from John Coster, Vice President of    D. Duzor, 2/27/08,      HHC002-0172 -   May
                  Policy and Programs at NACDS, to Sharon       Abbott Ex. 490          HHC002-0175
                  Summers regarding reduction in Medicaid
                  pharmacy reimbursement
8339   12/13/2002 67 Fed. Reg. 76684, 2002 WL 31778540                                                  May
8340   12/16/2002 Letter from Deirdre Duzor to Dennis Braddock, D. Duzor, 10/30/07,     HHC020-1199 -   May
                  Secretary of WA Department of Social and      Abbott Ex. 374          HHC020-1202
                  Health Services
8342   12/17/2002 Letter from David Parrella at Connecticut DSS CT, E. Dudley, 5/16/05, CT0022396-97    May
                  to Harold Finn at CMS                         Dudley 7
8347   2003       42 C.F.R. § 405.517 (2003)                    Dey S.J., 6/26/09, Ex.                  May
                                                                176
8348   2003       42 U.S.C. § 1396r-8 (2003)                    Defs' Common S.J.                       Expect
                                                                Resp., 8/28/09, Ex. 11
8365   2003       Medicare Prescription Drug Improvement and Previously disclosed                       May
                  Modernization Act of 2003, 117 Stat. 2066     with Expert Reports of
                  (2003)                                        Stiroh and Bradford
8366   2003       Danzon, Patricia M. and Adrian Towse,         Previously disclosed                    May
                  “Differential Pricing for Pharmaceuticals:    with Expert Report of
                  Reconciling Access, R&D and Patents,”         Bradford
                  International Journal of Health Care Finance
                  and Economics, 3, pp. 183–205
8367   2003       DiMasi, Joseph A., Ronald W. Hansen, and      Previously disclosed                    May
                  Henry G. Grabowski, “The price of innovation: with Expert Report of
                  new estimates of drug development costs,”     Bradford
                  Journal of Health Economics, 22, pp. 151-185

8368   2003       National Pharmaceutical Council,              Previously disclosed                    May
                  Pharmaceutical Benefits under State Medical   with Expert Reports of
                  Assistance Programs                           Bradford & Stiroh
8369   2003       42 U.S.C. § 1395u                                                                     May
8370   2003       42 U.S.C. § 1395m                                                                     May
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8372   1/2003      "OIG/CMS Medicaid," by Edward Heckman, in AL, J. Rector, 8/29/07, NCPA-00654-659         May
                   the January 2003 issue of America's Pharmacist NCPA 16

8374   1/2003      Dey Monthly Sales Report                    Previously disclosed     DEY-BO-0005574-     May
                                                               with Expert Report of DEY-BO-0005611
                                                               Stiroh
8377   1/2003      Print-out from Red Book™ for Windows®       R. Vito, 2/6/08, Dey Ex. HHD100-0380         May
                                                               48
8382   1/1/2003    42 CFR 447.204                              S. Schondelmeyer,                            May
                                                               2/27/09, Ex. Roxane
                                                               Schondelmeyer 7
8383   1/2003      AdminaStar pricing array for Albuterol                               AWP033-1972         May
8384   1/2003      AdminaStar pricing array for Albuterol                               AWP033-1973         May
8385   1/2003      AdminaStar pricing array for Ipratropium                             AWP033-1653-1654    May
                   Bromide
8392   1/6/2003    Letter from National Association of Chain   A. Hansen, 3/8/08,      KY_DMSS_6607-        May
                   Drug Stores to Myers & Stauffer regarding   Hansen Ex. 033          6608
                   studies
8402   1/29/2003   Letter and enclosed 2002 Q4 AMPs from Dey                           DL-BO-166767-69      Expect
                   to CMS
8403   1/29/2003   Letter and enclosed 2002 Q4 AMPs from Dey                           DL-BO-166746-47      May
                   to Texas Vendor Drug Program
8404   1/29/2003   Letter and enclosed 2002 Q4 AMPs from Dey                           DEY-LABS-0310900- May
                   to Medi-Cal EDS and CMS                                             04
8405   02/2003     Dey Monthly Sales Report                    Previously disclosed    DEY-BO-0005885-   May
                                                               with Expert Report of   DEY-BO-0005932
                                                               Stiroh
8406   2/2003      Email between states' Medicaid directors    A. Hiramatsu, 5/1/08,   HI_HI 000052625-27   May
                   regarding 340B Program                      Ex. Hiramatsu 063
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8411   2/7/2003    CMS Program Memorandum,                         D. Thompson, 3/28/08,                       Expect
                   Intermediaries/Carriers, Transmittal No. AB-03- Abbott Ex. 1013
                   014, regarding Single Drug Pricer (SDP)

8416   2/19/2003   Wisconsin survey comments regarding            C. Decker, 12/11/06,     PSW 00005327-5328   May
                   reimbursement proposal                         PSW Ex. 006
8422   03/2003     Dey Monthly Sales Report                       Previously disclosed     DEY-BO-0005941-     May
                                                                  with Expert Report of    DEY-BO-0005978
                                                                  Stiroh
8423   3/2003      Letter from Russell Johnston to State Medicaid Dey S.J., 6/26/09, Ex.   MD0015270-71        May
                   Administrator, dated March 2003                124
8428   3/10/2003   Manning, Joe, "Pharmacies say Budget Cut       Previously disclosed                         May
                   would Cost Millions," The Milwaukee Journal with Expert Report of
                   Sentinel                                       Stiroh
8437   3/17/2003   Letter from Stephen Virbitsky, DHHS OIG                                 PA 711046-056       May
                   Regional Inspector General for Audit Services,
                   to Michael Stauffer, DPW Deputy Secretary for
                   Administration, regarding draft OIG Report
                   entitled “Review of the Commonwealth of
                   Pennsylvania’s Medicaid Drug Rebate Program
                   (A-03-03-00201)” and attaching copy of the
                   report
8442   3/27/2003   Catalogs from Anda titled "Injectables,        D. Tawes, 12/2/08,       HHD157-0083-0092    May
                   Vaccines & Solutions Product Reference         Roxane Ex. 171
                   Guide"
8443   3/27/2003   Chart titled Comparison of Ipratropium         D. Tawes, 12/2/08,       HHD171-0004         May
                   Bromide Prices (AWP, WAC, and Innovatix)       Roxane Ex. 176
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8450   4/2003      Draft Powerpoint presentation entitled "First   AL, P. Morgan,        ALMED-351019-029 May
                   DataBank's 17th Annual Customer Seminar,        8/27/07, Morgan 9
                   April 6-8, 2003, Everything You Always
                   Wanted to Know About Pricing Data"

8451   4/2003      Powerpoint presentation entitled "Everything AL, P. Morgan,            FDB-ALABAMA      May
                   You Always Wanted to Know About Pricing 8/27/07, Morgan 12             086451-481
                   Data," by Kay Morgan
8455   4/2003      AdminaStar pricing array for Albuterol                                 AWP033-2095      May
8456   4/2003      AdminaStar pricing array for Ipratropium                               AWP033-2124      May
                   Bromide
8457   4/2003      Palmetto pricing array for Cromolyn                                    AWQ025-0639-40   May
8458   4/2003      Palmetto pricing array for Cromolyn                                    AWQ045-0014-15   May
8468   4/9/2003    Letter from Patrick J. O'Connell, Assistant    L. Reed, 10/2/08, Dey HHD260-0001-0002   May
                   Attorney General for the State of Texas, to    Ex. 183
                   Dennis Smith, Director of CMS, re: Request for
                   Information from the State of Texas
8470   4/15/2003   Declaration of Becky Farris in Support of      Dey S.J. Opp., 8/28/09,                  May
                   Plaintiff’s Ex Parte Application for a         Ex. 350
                   Temporary Restraining Order and Order to
                   Show Cause Re Preliminary Injunction, filed
                   on April 15, 2003 in Dey, L.P. v. First
                   Databank, Inc., et al., Civil Action No. 26-
                   21019 (Calif. Super. Ct.)
8471   4/15/2003   Declaration of Hema Chandranatha in Support Dey S.J. Opp., 8/28/09,                     May
                   of Plaintiff’s Ex Parte Application for a    Ex. 348
                   Temporary Restraining Order and Order to
                   Show Cause Re Preliminary Injunction, filed
                   on April 15, 2003 in Dey, L.P. v. First
                   Databank, Inc., et al., Civil Action No. 26-
                   21019 (Calif. Super. Ct.)
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8472   4/15/2003   Declaration of Pamela Marrs in Support of      Dey S.J. Opp., 8/28/09,                  May
                   Plaintiff’s Ex Parte Application for a         Ex. 353
                   Temporary Restraining Order and Order to
                   Show Cause Re Preliminary Injunction, filed
                   on April 15, 2003 in Dey, L.P. v. First
                   Databank, Inc., et al., Civil Action No. 26-
                   21019 (Calif. Super. Ct.)
8473   4/15/2003   Declaration of Steven Desrosiers in Support of Dey S.J. Opp., 8/28/09,                  May
                   Plaintiff’s Ex Parte Application for a         Ex. 349
                   Temporary Restraining Order and Order to
                   Show Cause Re Preliminary Injunction, filed
                   on April 15, 2003 in Dey, L.P. v. First
                   Databank, Inc., et al., Civil Action No. 26-
                   21019 (Calif. Super. Ct.)
8474   4/16/2003   Chart titled Comparison of Ipratropium         Tawes, 12/2/08, Roxane HHD171-0006       May
                   Bromide Prices (Texas Medicaid, RedBook,       Ex. 177
                   Innovatix, and Anda)
8479   4/29/2003   Letter and enclosed 2003 Q1 AMPs from Dey                             DEY-LABS-0362155- Expect
                   to CMS                                                                56
8480   4/29/2003   Letter and enclosed 2003 Q1 AMPs from Dey                             DEY-LABS-0308499- May
                   to NYS EPIC Program                                                   507
8482   5/1/2003    List titled Potential FUL Amounts              Tawes, 12/2/08, Roxane HHD245-000486-487 May
                                                                  Ex. 190
8485   5/8/2003    Email from Paula Avarista to Robert Vito re:   Vito, 6/20/07, Abbott HHD068-0411 - 1412 May
                   AMPAA Conference                               Ex. 255
8486   5/9/2003    List titled Reimbursement (minus dispensing    Tawes, 12/2/08, Roxane HHD160-0224-0225 May
                   fees) and Utilization Data for Drug Products   Ex. 191
                   Not on FUL List
8487   5/9/2003    Spreadsheet entitled "Information for Drug     Tawes, 12/2/08, Roxane HHD160-0190       May
                   Products that Meet FUL Criteria"               Ex. 189
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8491   5/15/2003   Letter from Deirdre Duzor to Dennis Braddock, Duzor, 10/30/07,       HHC018-0016       May
                   Secretary of WA Department of Social and      Abbott Ex. 376
                   Health Services
8499   6/19/2003   1 Tex. Admin. Code 354.1927                                                            May
8502   07/2003     Dey Monthly Sales Report                      Previously disclosed   DEY-LABS-0296821- May
                                                                 with Expert Report of 870
                                                                 Stiroh
8505   7/1/2003    DMERC A pricing array for J7644                                      AWQ057-0996-97    May
8506   7/1/2003    DMERC A pricing array for J7644                                      AWQ057-1129-30    May
8508   7/1/2003    DMERC A pricing array for Cromolyn                                   AWQ057-1127-28    May
8509   7/2003      Palmetto pricing array for Cromolyn                                  AWQ045-0288-90    May
8510   7/2003      Palmetto pricing array for Cromolyn                                  AWQ045-0335-37    May
8511   7/2003      Palmetto pricing array for Cromolyn                                  AWQ025-0694-96    May
8517   7/2003      OIG Report - Review of the Commonwealth of                           PA 711002-028     May
                   Pennsylvania's Medicaid Drug Rebate Program
                   (A-03-03-00201)
8521   7/18/2003   Print-out from Innovatix.com’s website        Tawes, 12/2/08, Roxane HHD100-0373-0376 May
                                                                 Ex. 173
8522   7/19/2003   Report entitled "Generic Drug Cost            Roxane S.J., 6/26/09,                    May
                   Containment in Medicaid: Lessons from Five Ex. 204
                   State Maximum Allowable Cost (MAC)
                   Programs," prepared for CMS
8524   7/29/2003   Letter and enclosed 2003 Q2 AMPs from Dey                            DEY-LABS-0362149- Expect
                   to CMS                                                               50
8525   7/29/2003   Letter and enclosed 2003 Q2 AMPs from Dey                            DEY-LABS-0309094- May
                   to First Health                                                      97
8526   7/29/2003   Letter and enclosed 2003 Q2 AMPs from Dey                            DEY-LABS-0309099- May
                   to NYS EPIC Program                                                  100
8527   08/2003     Dey Monthly Sales Report                      Previously disclosed   DEY-LABS-0296767- May
                                                                 with Expert Report of 820
                                                                 Stiroh
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8533   8/4/2003    Letter from Linda Minamoto to All State         Gaston, 3/19/08, Dey    HHC016-0123 -     May
                   Medicaid Agencies regarding Notification of     Ex. 137                 HHC016-0125
                   Medicaid Drug Federal Upper Limit (FUL)
                   Changes to Transmittal No. 37, Dated
                   November 20, 2001
8535   8/14/2003   Letter from Gregory Carson at CMS to All         R. O'Brien, 5/8/07,    HHD043-0001-02    May
                   Fiscal Intermediaries and All Carriers regarding Abbott Ex. 172
                   Coordination of Responses to Subpoenas and
                   Other Requests from Outside Entities

8536   8/20/2003   68 Fed. Reg. 50428-52                           D. Thompson, 3/28/08,                     May
                                                                   Abbott Ex. 1023

8539   09/2003     Dey Monthly Sales Report                        Previously disclosed   DEY-LABS-0296707 - May
                                                                   with Expert Report of 766
                                                                   Stiroh
8540   9/9/2003    List titled 2003 VA Prices for Albuterol and    Tawes, 12/2/08, Roxane HHD100-0163        May
                   Ipratropium Bromide Solutions (Source:          Ex. 174
                   www.vapbm.org)
8545   9/19/2003   Chart titled Comparison of Ipratropium          Tawes, 12/2/08, Roxane HHD100-0393        May
                   Bromide Prices (Texas Medicaid, RedBook,        Ex. 178
                   Innovatix, and Anda)
8547   10/2003     Dey Monthly Sales Report                      Previously disclosed      DEY-LABS-0296608 - May
                                                                 with Expert Report of     706
                                                                 Stiroh
8548   10/2003     OIG Report - State Strategies to Contain      Roxane S.J., 6/26/09,                       May
                   Medicaid Drug Costs (OEI-05-02-00680)         Ex. 210
8549   10/2003     Survey of Dispensing and Acquisition Costs of T. Hansen, 12/11/08,      KY_DMS_ 125698-   Expect
                   Pharmaceuticals in the Commonwealth of        Ex. 13                    125834
                   Kentucky, prepared by Myers & Stauffer
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8551   10/1/2003   Title 42, § 405.517, Revised October 1, 2003   Previously disclosed                       May
                                                                  with Expert Reports of
                                                                  Stiroh and Bradford
8552   10/1/2003  DMERC A pricing array for Cromolyn                                       AWQ057-0995       May
8553   10/2003    Palmetto pricing array for Cromolyn                                      AWQ025-1056-57    May
8554   10/2003    Palmetto pricing array for Cromolyn                                      AWQ045-0399-400   May
8558   10/8/2003  Article from Health Affairs entitled "Market R. Berenson, 12/18/07,                        May
                  Watch, Medicare Payment Policy: Does Cost Dey Ex. 35
                  Shifting Matter?"
8560   10/29/2003 Letter from Dey to Medi-Cal EDS re: enclosed                             DEY-LABS-0309574- May
                  2003 Q3 AMPs                                                             75
8561   10/29/2003 Letter and enclosed 2003 Q3 AMPs from Dey                                DEY-LABS-0309576- May
                  to First Health                                                          82
8562   10/29/2003 Letter and enclosed 2003 Q3 AMPs from Dey                                DEY-LABS-0309571- Expect
                  to CMS                                                                   72
8563   10/29/2003 Letter and enclosed 2003 Q3 AMPs from Dey                                DEY-LABS-0309566- May
                  to NYS EPIC Program                                                      70
8565   11/2003    Dey Monthly Sales Report                     Previously disclosed        DEY-LABS-0296551 - May
                                                               with Expert Report of       607
                                                               Stiroh
8566   11/2003    Red Book™ Database Services Product Guide K. Minne, 11/19/08,            TH 073-108        May
                  Version 1.1                                  Minne Ex. 84
8568   11/7/2003 68 Fed. Reg. 63196                            D. Thompson, 3/28/08,                         May
                                                               Abbott Ex. 1016

8572   11/16/2003 1 Tex. Admin. Code 354.1921                                                                May
8573   11/16/2003 1 Tex. Admin. Code 354.1923                                                                May
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8574   11/18/2003 Letter from Gregory Carson at CMS to All     R. O'Brien, 5/8/07,     HHD043-0003-04      May
                  Fiscal Intermediaries, All Carriers, and All Abbott Ex. 171
                  Durable Medical Equipment Regional Carriers
                  regarding Coordination of Responses to
                  Supboenas and Other Requests from Outside
                  Entities Regarding TAP Pharmaceutical
                  Products, Inc. and Lupron -- Part II,
                  Preservation of Documents and Contact
                  Identification
8579   12/2003    Dey Monthly Sales Report                       Previously disclosed    DEY-LABS-0296435 - May
                                                                 with Expert Report of 549
                                                                 Stiroh
8581   12/1/2003 Email from Joanne Spalding, CMS, to multiple R. Niemann, 10/11/07, AWP012-0002-04          May
                  CMS officials                                  Abbott Ex. 358
8583   12/8/2003 42 U.S.C. § 1395u (2003)                        Scully, 5/15/07, Abbott                    May
                                                                 Ex. 194
8584   12/8/2003 Excerpts from the Medicare Prescription Drug Dey S.J., 6/26/09, Ex.                        May
                  Improvement and Modernization Act of 2003, 40
                  Pub. L. No. 108-173, § 303(c)(2), 117 Stat.
                  2066, 2233-54 (2003)
8585   12/12/2003 Fax from Mark Jones to Jamie Yavelberg         M. Jones, 12/8/08, Dey VAC MDL 80423-432 May
                  attaching charts of prices for various         Ex. 325
                  manufacturers
8587   12/15/2003 Letter from Russell Johnston to Medicaid       Carolyn Helton,         AWQ021-0461        Expect
                  Administrator                                  3/13/08, Dey Ex. 135
8588   12/15/2003 Letter from Russell Johnston to State Medicaid Dey S.J., 6/26/09, Ex. CT0024785           Expect
                  Administrator, dated December 15, 2003         122

8591   12/19/2003 42 U.S.C. § 1395w-3a (2003)                   Scully, 7/13/07, Dey                       Expect
                                                                Ex. 26
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8592   12/24/2003 Department of Health and Human Services,         Previously disclosed                        May
                  Centers for Medicare and Medicaid Services,      with Expert Report of
                  “CMS Manual System Pub. 100-04 Medicare          Bradford
                  Claims Processing, Transmittal 55”

8598   2004       United States Department of Veteran Affairs   Dey S.J., 6/26/09, Ex.                         May
                  catalog entitled VA Federal Supply Schedules, 44
                  dated 2004, available at
                  http://www.gsaadvantage.gov/images/products/
                  elib/pdf_files/va.pdf.
8605   2004       National Pharmaceutical Council,                                                             May
                  Pharmaceutical Benefits under State Medical
                  Assistance Programs
8606   2004       42 U.S.C. §§ 1395l(a), (b)                                                                   May
8607   2004       Palmetto pricing array for Ipratropium Bromide                            AWQ037-0086-0089   May

8610   1/1/2004   CMS Record Retention Policy                      V. Robey, 3/20/07,       HHC013-1489-1547   May
                                                                   Abbott Ex. 73
8611   1/2004     Dey Monthly Sales Report                         Previously disclosed     DEY-LABS-0296124 - May
                                                                   with Expert Report of    163
                                                                   Stiroh
8612   1/2004     OIG Report - Medicare Reimbursement for          L. Ragone, 4/18/07,                         May
                  Lupron (OEI-03-03-00250)                         Abbott Ex. 106
8613   1/2004     OIG report - Update: Excessive Medicare          Dey S.J., 6/26/09, Ex.                      Expect
                  Reimbursement for Albuterol (OEI-03-03-          55
                  00510)
8614   1/2004     OIG Report - Update: Excessive Medicare     Dey S.J., 6/26/09, Ex.                           Expect
                  Reimbursement for Ipratropium Bromide (OIG- 61
                  03-03-00520)
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8617   1/2/2004    CMS Memorandum from Gregory Carson and                           HHD927-0033-73       May
                   Gerald Walters to All Medicare Carriers and
                   Durable Medical Equipment Regional Carriers
                   re: Carrier Subpoenas Seeking Documents
                   Related to Pharmaceutical Litigation

8631   1/29/2004   Letter and enclosed 2003 Q4 AMPs from Dey                       DEY-LABS-0303634- Expect
                   to CMS                                                          36
8632   1/29/2004   Letter and enclosed 2003 Q4 AMPs from Dey                       DEY-LABS-0303637- May
                   to First Health                                                 41
8633   1/29/2004   Letter and enclosed 2003 Q4 AMPs from Dey                       DEY-LABS-0303629- May
                   to NYS EPIC Program                                             31
8634   1/29/2004   Letter from Dey to Medi-Cal EDS re: enclosed                    DEY-LABS-0303632- May
                   2003 Q4 AMPs                                                    33
8635   1/30/2004   CMS Manual System, Pub. 100-04 Medicare Scully, 5/15/07, Abbott                   May
                   Claims Processing (Transmittal 75)           Ex. 193

8637   02/2004     Dey Monthly Sales Report                     Previously disclosed    DEY-LABS-0296164 - May
                                                                with Expert Report of 216
                                                                Stiroh
8638   2/2004      OIG Report - Omission of Drugs from the      Roxane S.J., 6/26/09,                      May
                   Federal Upper Limit List in 2001 (OEI-03-02- Ex. 140; Abbott Ex. 108
                   00670)
8644   2/12/2004   Document entitled "DRAFT Pharmacy TAG        Duzor, 2/27/08, Abbott NASMD-0001285 -     May
                   Minutes Thursday, February 12, 2004"         Ex. 495                 NASMD-0001287
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8645   2/13/2004   CMS Memorandum from Gregory Carson and                                HHD927-0074-78    May
                   Gerald Walters to All Medicare Carriers and
                   Durable Medical Equipment Regional Carriers
                   re: Production of Documents Identified in
                   Response to Carrier Subpoenas Seeking
                   Documents Related to Pharmaceutical
                   Litigation - AWPMDL #2

8655   03/2004     Dey Monthly Sales Report                      Previously disclosed    DEY-LABS-0296217 - May
                                                                 with Expert Report of   269
                                                                 Stiroh
8659   04/2004     Dey Monthly Sales Report                      Previously disclosed    DEY-LABS-0296270 - May
                                                                 with Expert Report of   322
                                                                 Stiroh
8660   4/1/2004    Medicare Prescription Drug, Improvement and                                             May
                   Modernization Act of 2003 (MMA), Pub. L.
                   108-173, 117 Stat. 2066 (2003) (effective April
                   1, 2004)
8669   4/22/2004   News Release: HHS Approves First-Ever Multi- Hiramatsu, 5/1/08, Ex.                     May
                   State Purchasing Pools for Medicaid Drug        Hiramatsu 34
                   Programs
8671   4/29/2004   Letter and enclosed 2004 Q1 AMPs from Dey                             DEY-LABS-0301610- Expect
                   to CMS                                                                11
8672   4/29/2004   Letter and enclosed 2003 Q1-4, 2004 Q1 AMPs                           DEY-LABS-0301620- May
                   from Dey to First Health                                              26
8673   4/29/2004   Letter and enclosed 2004 Q1 AMPs from Dey                             DEY-LABS-0301613- May
                   to Medi-Cal EDS and NYS EPIC Program                                  18

8674   05/2004     Dey Monthly Sales Report                      Previously disclosed    DEY-LABS-0296323 - May
                                                                 with Expert Report of   375
                                                                 Stiroh
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8675   5/2004      OIG Report - Medicare Reimbursement for      L. Ragone, 4/18/07,                       May
                   Existing End-Stage Renal Disease Drugs (OEI- Abbott Ex. 109
                   03-04-00120)
8678   5/20/2004   Document entitled "DRAFT Pharmacy TAG        Duzor, 2/27/08, Abbott NASMD-0001288 -    Expect
                   Minutes Thursday, May 20, 2004"              Ex. 496                NASMD-0001292
8680   06/2004     Dey Monthly Sales Report                     Previously disclosed   DEY-LABS-0296376 - May
                                                                with Expert Report of 433
                                                                Stiroh
8681   6/1/2004    Print-out from the FDA website               Tawes, 12/2/08, Roxane HHD162-0224-0225 May
                                                                Ex. 188
8682   6/7/2004    Document entitled "Transmittal No.37 -       Gaston, 3/19/08, NY                       May
                   Federal Upper Limit Drug List, June 7, 2004" Counties Defs Ex. 9

8686   6/25/2004   Email from B. Wright at Hearst to Dave Kuehl AL, Trial, DTX 1444   ABC(AWP)001954-    May
                   at AmerisourceBergen attaching a letter, a Non-                    966
                   Disclosure Agreement and Drug Pricing Policy

8688   07/2004     Dey Monthly Sales Report                   Previously disclosed     DEY-LABS-0295780 - May
                                                              with Expert Report of 838
                                                              Stiroh
8697   7/16/2004   Document with the header "CMS1429P"        Vito, 2/5/08, Abbott Ex. HHD 0611122-1190 May
                                                              472
8699   7/21/2004   Email from L. Harper to M. McNeill                                  VDP_0919733-34     Expect
8703   7/29/2004   Letter and enclosed 2004 Q2 AMPs from Dey                           DEY-LABS-0362432- Expect
                   to CMS                                                              33
8704   7/29/2004   Letter and enclosed 2004 Q2 AMPs from Dey                           DEY-LABS-0302203- May
                   to NYS EPIC Program, First Health, CMS and                          20
                   Medi-Cal EDS
8705   08/2004     Dey Monthly Sales Report                   Previously disclosed     DEY-LABS-0295839 - May
                                                              with Expert Report of 895
                                                              Stiroh
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8706   8/2004      Muse & Associates Report - The Costs of         Defs' Common S.J.                           Expect
                   Delivering Inhalation Drug Services to          Resp., 8/28/09, Ex. 215
                   Medicare Beneficiaries
8708   8/2/2004    Memorandum from Jerry Dubberly to Mark         Defs' Common Sur-                            Expect
                   Trail                                          Reply to U.S. S.J.,
                                                                  10/15/09, Ex. D
8712   8/30/2004   Abt Associates Final Report entitled "Medicaid Duzor, 10/30/07,                             Expect
                   and Medicare Drug Pricing: Strategy to         Abbott Ex. 381
                   Determine Market Prices"
8713   09/2004     Dey Monthly Sales Report                       Previously disclosed       DEY-LABS-0295896 - May
                                                                  with Expert Report of      954
                                                                  Stiroh
8714   9/2004      OIG Report - Variation in State Medicaid Drug Roxane S.J., 6/26/09,       ALMED-366986 -    May
                   Prices, OEI-05-02-00681 (September 2004)       Ex. 199                    ALMED-367033

8717   9/9/2004    Organizational chart for CMS                    Bailey, 3/20/07, Abbott                     May
                                                                   Ex. 76
8718   9/9/2004    Safe and Effective Approaches to Lowering       Previously disclosed                        May
                   State Prescription Drug Costs: Best Practices   with Expert Report of
                   Among State Medicaid Drug Programs              Stiroh
                   (available at www.cms.hhs.gov)
8721   10/2004     Dey Monthly Sales Report                       Previously disclosed   DEY-LABS-0295955- May
                                                                  with Expert Report of 006
                                                                  Stiroh
8722   10/2004     GAO Report - Medicare: Appropriate             Previously disclosed                     Expect
                   Dispensing Fee Needed for Suppliers of         with Expert Reports of
                   Inhalation Therapy Drugs                       Stiroh and Bradford
8723   10/2004     Letter from Russell Johnston to State Medicaid Dey S.J., 6/26/09, Ex. VA_000001648      May
                   Administrator, dated October 2004              129

8724   10/2004     NCPA-Pfizer Digest 2004                         AL, J. Rector, 8/29/07, NCPA 001626-696     May
                                                                   NCPA 7
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8730   10/8/2004  Email from Jones to McNeill (Texas) re: AMP                            ALMED 339633        May
                  reporting legislation
8733   10/29/2004 Letter and enclosed 2004 Q1, 3 AMPs from                               DEY-LABS-0362434- Expect
                  Dey to CMS                                                             37
8734   10/29/2004 Letter and enclosed 2004 Q3 AMPs from Dey                              DEY-LABS-0303047- May
                  to NYS EPIC Program                                                    48
8735   10/29/2004 Letter and enclosed 2004 Q3 AMPs from Dey                              DEY-LABS-0303044- May
                  to First Health                                                        45
8736   11/2004    Dey Monthly Sales Report                       Previously disclosed    DEY-LABS-0296007 - May
                                                                 with Expert Report of 062
                                                                 Stiroh
8745   11/15/2004 69 Fed. Reg. 66335-66434                                                                   May
8752   12/2004    CBO Report - Medicaid's Reimbursements to Defs' Common S.J.                                May
                  Pharmacies for Prescription Drugs              Resp., 8/28/09, Ex. 83;
                                                                 Abbott Ex. 475
8753   12/2004    Dey Monthly Sales Report                       Previously disclosed    DEY-LABS-0296063 - May
                                                                 with Expert Report of 122
                                                                 Stiroh
8754   12/2004    OIG Report - Addition of Qualified Drugs to    Tawes, 4/24/07, Abbott                      May
                  the Medicaid Federal Upper Limit List (OEI-03- Ex. 123
                  04-00320)
8755   12/2004    December 2004 NACDS “Talking Points on                                 ALMED 289189 -      May
                  Medicaid Reimbursement” (and associated                                289200
                  documents)
8756   12/2/2004 Email from P. Gladden to G. Spain               TX, Sandoz S.J.,        TXMGT033901-02      May
                                                                 10/30/09, Ex. 74
8773   2005       42 C.F.R. § 414.1001 (2005)                    Dey S.J., 6/26/09, Ex.                      Expect
                                                                 184
8774   2005       42 C.F.R. § 414.707 (2005)                                                                 May
8776   2005       Document entitled "First DataBank 2005         AL, P. Morgan,          FDB/Alabama 101361- May
                  Customer Seminar Session Abstracts"            8/27/07, Morgan 17      372
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8779   2005        National Association of State Medicaid        R. Reid, 12/15/08, Dey   HHD262-000101-102 May
                   Directors Pharmacy Technical Advisory Group Ex. 620
                   Conference Call Draft Minutes
8783   2005        Excerpt from the FDA Approved Drug            NY, Gail Sexton,                             May
                   Products with Therapeutic Equivalence         5/20/08, Sexton Ex. 10
                   Evaluations (25th Edition)
8788   2005        National Pharmaceutical Council,              Previously disclosed                         May
                   Pharmaceutical Benefits under State Medical with Expert Reports of
                   Assistance Programs                           Stiroh and Bradford
8789   2005        42 U.S.C.A. § 1396r-8 (2005)                                                             May
8790   2005        42 U.S.C.S. § 1395w-3a (2005)                                                            May
8791   2005        42 C.F.R. § 414.1000 (2005)                                                              May
8792   2005        42 C.F.R. § 447.301 (2005)                                                               May
8793   2005        42 C.F.R. § 447.331 (2005)                                                               May
8794   2005        42 C.F.R. § 447.332 (2005)                                                               May
8795   2005        42 C.F.R. § 447.333 (2005)                                                               May
8796   2005        42 C.F.R. § 447.334 (2005)                                                               May
8797   1/2005      Dey Monthly Sales Report                      Previously disclosed     DEY-LABS-0295364- May
                                                                 with Expert Report of    403
                                                                 Stiroh
8798   1/2005      January 2005 Payment Allowance Limits for     E. Richter, 12/7/07,                         Expect
                   Medicare Part B Drugs 1/1/05-3/31/05          Abbott Ex. 420
8799   1/1/2005    New Product Packaging Announcements for       R. Stevens, 12/15/08,    Dey-Labs-0294381-   Expect
                   Dey drugs                                     Dey Ex. 533              0294386
8805   1/11-       Excerpts from the depositions of Patricia Kay MA, P. Morgan,                               May
       12/2005     Morgan, dated 1/11/05 and 1/12/05, in the     11/30/07, Morgan Ex.
                   MDL                                           18
8810   1/28/2005   Letter and enclosed 2004 Q4 AMPs from Dey                              DEY-LABS-0298581- May
                   to NYS EPIC Program, First Health, CMS and                             98
                   Medi-Cal EDS
8811   1/28/2005   Letter and enclosed 2004 Q4 AMPs from Dey                              DEY-LABS-0363071- Expect
                   to CMS                                                                 72
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8812   1/28/2005   MA Pharmacy Advisory Board Meeting Notes MA, S. Grossman,                               May
                                                                10/24/07, Ex. MPha 5
8813   02/2005     Dey Monthly Sales Report                     Previously disclosed    DEY-LABS-0295404 - May
                                                                with Expert Report of 471
                                                                Stiroh
8818   2/15/2005   Document entitled "Federal Upper Limit       Gaston, 3/19/08, NY     HHD175-1059 -      May
                   System" and attachments                      Counties Defs Ex. 18    HHD175-1063
8821   03/2005     Dey Monthly Sales Report                     Previously disclosed    DEY-LABS-0295472 - May
                                                                with Expert Report of 556
                                                                Stiroh
8825   3/15/2005   Document titled Federal Upper Limit System NY, Gail Sexton,          HHD175-1072        May
                                                                5/20/08, Sexton Ex. 7
8827   4/2005      April 2005 Payment Allowance Limits for      E. Richter, 12/7/07,                       May
                   Medicare Part B Drugs 4/1/05-6/30/05         Abbott Ex. 421
8828   04/2005     Dey Monthly Sales Report                     Previously disclosed    DEY-LABS-0295557 - May
                                                                with Expert Report of 642
                                                                Stiroh
8832   4/5/2005    Article from The Denver Post, dated April 5, Dey S.J. Opp., 8/28/09,                    May
                   2005                                         Ex. 370
8833   4/5/2005    Powerpoint presentation entitled "Everything AL, P. Morgan,          FDB-ALABAMA        May
                   You Always Wanted to Know About Pricing 8/27/07, Morgan 13           087377-418
                   Data, First DataBank 2005 Customer Seminar"

8834   4/14/2005   Email and attachment from Matt Sneed III to TX, Mylan S.J.,      VDP_0947717-18       Expect
                   Andy Vasquez re: Notes on AMP/WAC           10/30/09, Ex. 22
                   comparison
8839   4/29/2005   Letter and enclosed 2005 Q1 AMPs from Dey                        DEY-LABS-0299278- Expect
                   to CMS                                                           79
8840   4/29/2005   Letter and enclosed 2005 Q1 AMPs from Dey                        DEY-LABS-0298917- May
                   to CMS, NYS EPIC Program, First Health, and                      34
                   Medi-Cal EDS
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8841   4/30/2005   Memorandum from Christopher Decker, PSW, WI, C. Decker,                PSW_00006120-26   May
                   to Members of the Joint Committee on Finance, 12/11/06, PSW Ex. 1
                   "Wisconsin Medicaid Pharmacy
                   Reimbursement: Why Changes are Necessary"

8842   05/2005     Dey Monthly Sales Report                       Previously disclosed    DEY-LABS-0295643 - May
                                                                  with Expert Report of   709
                                                                  Stiroh
8844   5/10/2005   Emails between Alabama Medicaid personnel Roxane S.J., 6/26/09,        ALMED 808004-05   May
                   regarding a request from CMS for clarification Ex. 202
                   about Alabama reimbursement methodology

8847   06/2005     Dey Monthly Sales Report                    Previously disclosed       DEY-LABS-0295710 - May
                                                               with Expert Report of      778
                                                               Stiroh
8848   6/2005      OIG Report - Comparison of Medicaid Federal Roxane S.J., 6/26/09,                        Expect
                   Upper Limit Amounts to Average              Ex. 146
                   Manufacturer Prices (OEI 03-05-00110)
8849   6/2005      OIG Report - Medicaid Drug Price            L. Ragone, 4/18/07,                          May
                   Comparison: Average Sales Price to Average Abbott Ex. 97
                   Wholesale Price (OEI-03-05-00200)

8850   6/2005      OIG Report - Medicaid Drug Price             Defendant's Ex. 233                         Expect
                   Comparisons: Average Manufacturer Price to
                   Published Prices (OEI-05-05-00240)
8852   6/17/2005   22 M.R.S.A. §2698-B                                                                      Expect
8854   6/21/2005   Congressional Budget Office, “The Rebate     Previously disclosed                        May
                   Medicaid Receives on Brand-name prescription with Expert Report of
                   drugs”                                       Bradford
8856   07/2005     Dey Monthly Sales Report                     Previously disclosed      DEY-LABS-0295173 - May
                                                                with Expert Report of     233
                                                                Stiroh
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8857   7/2005      July 2005 Payment Allowance Limits for        E. Richter, 12/7/07,                        May
                   Medicare Part B Drugs 7/1/05-9/30/05          Abbott Ex. 423
8863   7/20/2005   CBO Testimony Before the Senate Special       Vito, 2/5/08, Abbott Ex.                    May
                   Committee on Aging regarding Payments for 476
                   Prescription Drugs Under Medicaid
8867   7/29/2005   Letter and enclosed 2005 Q2 AMPs from Dey                              DEY-LABS-0299715- May
                   to NYS EPIC Program                                                    17
8868   7/29/2005   Letter from Dey to Medi-Cal EDS re: enclosed                           DEY-LABS-0299718- May
                   2005 Q2 AMPs                                                           19
8869   8/2005      Analysis of Pharmacy Dispensing Fees for the Carl Shirley, 12/3/08, JDIND0270-397         May
                   Indiana Medicaid Program by Myers &           Ex. Abbott Shirley 7
                   Stauffer
8870   08/2005     Dey Monthly Sales Report                      Previously disclosed     DEY-LABS-0295234 - May
                                                                 with Expert Report of 294
                                                                 Stiroh
8871   8/8/2005    70 Fed. Reg. 45847                                                                        May
8878   8/22/2005   Letter from Tom Engels, Vice President of     WI, Valentine, 7/19/07, NACDS-WI 0907-09 May
                   Public Affairs at PSW, to Cheryl Harris,      Valentine 5
                   Associate Regional Aministrator, Region V, at
                   DHHS Re: Reductions in Pharmacy Product
                   Reimbursement and Dispensing fees under
                   Medicaid, BadgerCare, and SeniorCare

8879   8/25/2005   Arrest Record in Colorado v. Michael Todd   Dey S.J. Opp., 8/28/09,                     May
                   Ricks, Case No. 2005F02465                  Ex. 369
8885   9/1/2005    The Medicaid Commission, Report to the      WI, Defs' Joint Resp., WI-PROD-AWP-         May
                   Honorable Secretary Michael O. Leavitt,     1/15/08, Ex. 28         152652-675
                   DHHS, and the United States Congress
8886   09/2005     Dey Monthly Sales Report                    Previously disclosed    DEY-LABS-0295295 - May
                                                               with Expert Report of   362
                                                               Stiroh
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8887   9/2005     OIG Report - How Inflated Published Prices    L. Ragone, 4/18/07,                       May
                  Affect Drugs Considered for the Federal Upper Abbott Ex. 98
                  Limit List (OEI-03-05-00350)

8889   9/2005     OIG Report "Review of Services Provided by                                              May
                  Inhalation Drug Suppliers" (OEI 01-05-00090)

8891   9/8/2005   Arrest Record in Colorado v. Michael Todd     Dey S.J. Opp., 8/28/09,                   May
                  Ricks, Case No. 2004CR000383                  Ex. 367
8892   9/8/2005   Judgment of Conviction in Colorado v. Michael                                           May
                  Todd Ricks, Case No. 2004 CR 000383
                  (Certified Copy)
8893   9/9/2005   Article from The Denver Post, dated September Dey S.J. Opp., 8/28/09,                   May
                  9, 2005                                       Ex. 373
8898   10/2005    2005 NCPA-Pfizer Digest                       AL, J. Rector, 8/29/07, NCPA 001554-625   May
                                                                NCPA 10
8901   10/2005    October 2005 Payment Allowance Limits for E. Richter, 12/7/07,                          May
                  Medicare Part B Drugs 10/1/05-12/31/05        Abbott Ex. 424

8906   10/21/2005 NACDS Analysis: “Senate Medicaid                                    NACDS-AL 1011 -   May
                  Prescription Drug Payment Reform Mark”                              1014
8911   10/28/2005 Letter and enclosed 2005 Q3 AMPs from Dey                           DEY-LABS-0300459- May
                  to Medi-Cal EDS                                                     61
8912   10/28/2005 Letter and enclosed 2005 Q3 AMPs from Dey                           DEY-LABS-0300456- May
                  to First Health                                                     58
8913   10/28/2005 Letter and enclosed 2005 Q3 AMPs from Dey                           DEY-LABS-0300462- May
                  to NYS EPIC Program                                                 64
8914   10/28/2005 Letter and enclosed 2005 Q3 AMPs from Dey                           DEY-LABS-0300465- Expect
                  to CMS                                                              67
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8920   11/10/2005 CMS Manual System, Pub 100-04 Medicare        Vito, 2/5/08, Abbott Ex.             Expect
                  Claims Processing (Transmittal No. 754),      471
                  Subject: Supplying Fee and Inhalation Drug
                  Dispensing Fee Revisions and Clarifications

8922   11/17/2005 Document entitled "DRAFT Minutes Pharmacy Duzor, 2/27/08, Abbott NASMD-0001293 -   May
                  TAG Conference Call November 17, 2005"    Ex. 497                NASMD-0001295

8923   11/21/2005 70 Fed. Reg. 70225, 70231                     Defs' Common S.J.                    May
                                                                Resp., 8/28/09, Ex. 212

8926   12/8/2005   CMS Provider Inquiry Assistance, “Supplying Dey S.J., 6/26/09, Ex.                May
                   Fee and Inhalation Drug Dispensing Fee        185
                   Revisions and Clarifications,” dated December
                   8, 2005, available at
                   http://www.cms.hhs.gov/ContractorLearningRe
                   sources/downloads/JA3990.pdf

8928   12/8/2005   CSR Inquiry Assistance, “Supplying Fee and Previously disclosed                   May
                   Inhalation Drug Dispensing Fee Revisions and with Expert Report of
                   Clarifications,” effective January 1, 2006   Stiroh
                   (available at www.cms.hhs.gov)

8933   2006        42 C.F.R. § 447.332 (2006)                   Dey S.J., 6/26/09, Ex.               May
                                                                202
8941   2006        42 CFR Section 447.333 (2006)                                                     May
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8943   12/22/2006 Report from John E. Dicken to Chairman Joe Previously disclosed                         May
                  Barton, dated 12/22/06, United States         with Expert Report of
                  Government Accounting Office -Medicaid        Stiroh
                  Outpatient Prescription Drugs: Estimated 2007
                  Federal Upper Limits for Reimbursement
                  Compared with Retail Pharmacy Acquisition
                  Costs
8944   2006        National Pharmaceutical Council,             Previously disclosed                      May
                   Pharmaceutical Benefits under State Medical with Expert Reports of
                   Assistance Programs                          Stiroh and Bradford
8946   2006         42 U.S.C. § 1395w-3a                                                                  May
8947   2006        42 U.S.C. §§ 1395l                                                                     May
8948   2006        42 U.S.C. §§ 1395m (2006)                                                              May
8950   1/2006      Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                      May
                   Drugs 1/1/06-3/31/06                         Abbott Ex. 425
8952   1/1/2006    42 C.F.R. § 414.1001                                                                   May
8957   1/27/2006   Congressional Budget Office, "Cost Estimate: Previously disclosed                      May
                   S. 1932 Deficit Reduction Act of 2005"       with Expert Report of
                                                                Bradford
8958   2/2006      Duggan, Mark and Scott Morton, Fiona M.      Previously disclosed                      May
                   "The Distortionary Effects of Government     with Expert Report of
                   Procurement: Evidence from Medicaid          Stiroh
                   Prescription Drug Purchasing." The Quarterly
                   Journal of Economics (February 2006): 1-30

8959   2/8/2006    Deficit Reduction Act of 2005, Pub. L. 109-171                                         May
                   Sec. 6001(a)(1), 120 Stat. 55, 58
8961   2/22/2006   Letter from Russell Johnston to State          Dey S.J., 6/26/09, Ex.   ALMED-357604   May
                   Medicaid/Medicare Administrator                121
8965   3/8/2006    Document titled Federal Upper Limit System NY, Gail Sexton,             HHD175-1058    May
                   with handwritten notes                         5/20/08, Sexton Ex. 9
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8967   3/16/2006   Pharmacy TAG Conference Call Minutes            NY, Gail Sexton,       NASMD-0001304-06 May
                                                                   5/20/08, Sexton Ex. 19
8968   3/17/2006   Complaint filed in United States ex rel. Ven-A- Molyneaux, 1/11/07,                        May
                   Care of the Florida Keys, Inc. v. Abbott        Abbott Ex. 19
                   Laboratories, Inc.
8972   3/30/2006   Final Report titled "Governor's Commission on WI, Kreling, 12/4/08, WI-Prod-AWP-110433-Expect
                   Pharmacy Reimbursement"                         Kreling Ex. 11         486
8973   3/31/2006   Document titled Federal Upper Limit System NY, Gail Sexton,            HHD175-1057         May
                   with handwritten notes                          5/20/08, Sexton Ex. 11
8974   4/2006      OIG Report - Monitoring Medicare Part B Drug Roxane S.J., 6/26/09,                         May
                   Prices: A Comparison of Average                 Ex. 148
                   Sales Prices to Average Manufacturing Prices
                   (OEI-03-04-00430)
8975   4/2006      Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                          May
                   Drugs 4/1/06-6/30/06                            Abbott Ex. 426
8976   4/3/2006    Email exchange between Mary Lesperance and                             KHPA079344-346      May
                   Amy Bossano
8979   4/18/2006   First DataBank 2006 Customer Seminar            AL, K. Chadwick,       FDB/Alabama 101589- May
                   Attendees                                       10/23/07, Chadwick Ex. 594
                                                                   15
8980   5/2006      OIG report entitled Determining Average         Schondelmeyer,                             May
                   Manufacturer Prices for Prescription Drugs      2/26/09, Ex. Dey
                   Under the Deficit Reduction Act of 2005 (A-06- Schondelmeyer 5
                   06-00063), with cover letter
8981   5/2006      U.S. National Library of Medicine, “Albuterol Previously disclosed                         May
                   Sulfate (albuterol sulfate) Solution [Dey],”    with Expert Report of
                   available at                                    Bradford
                   dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?i
                   d=794
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8982   5/18/2006   Email from Larry Reed to Cheryl Cooper,      K. Howell, 4/22/08,       HHD 218-0003-07   May
                   Deirdre Duzor, Kimberly Howell, Madlyn       Abbott Ex. 1091
                   Kruh, Bernadette Leeds, Gail Sexton, Yolanda
                   Reese, Christina Lyon, Marge Watchorn

8984   6/2006      OIG Report - A Comparison of Average Sales    Tawes, 4/24/07, Abbott                     May
                   Prices to Widely Available Market Prices:     Ex. 126
                   Fourth Quarter 2005 (OEI 03-05-00430)

8985   6/2006      U.S. National Library of Medicine, “Cromolyn Previously disclosed                        May
                   Sodium (cromolyn sodium) Solution [DEY],” with Expert Report of
                   available at                                 Bradford
                   dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?i
                   d=752
8986   6/29/2006   Email from Robert Vito to David Tawes,        Tawes, 12/13/07,       HHD095-0138-0140    May
                   Edward Burley, Lauren McNulty                 Abbott Ex. 435
8987   7/2006      OIG Report - Comparison of Fourth Quarter     Tawes, 4/24/07, Abbott                     May
                   2005 Average Sales Prices to Average          Ex. 125
                   Manufacturer Prices: Impact on Medicare
                   Reimbursement for Second Quarter 2006 (OEI
                   03-06-00370)
8988   7/2006      OIG report - Generic Drug Utilization in State Dey S.J. Ex. 253                          May
                   Medicaid Programs (OEI-05-05-00360)

8989   7/2006      Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                        May
                   Drugs 7/1/06-9/30/06                         Abbott Ex. 427
8990   7/3/2006    CMS Medicaid Drug Rebate Program State                                                   May
                   Release No. 142
8993   7/13/2006   Testimony of Robert Vito Before the          Tawes, 12/13/07,                            Expect
                   Subcommittee on Health, House Committee on Abbott Ex. 436
                   Ways & Means
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8994   8/1/2006    Compliance Manual (Official Copy)             R. Johnston 12/11/08,    DEY-LABS-0416213- May
                                                                 Johnston 56              510
8996   8/16/2006   Email from Susan Gaston to Elaine Elmore      Duzor, 10/30/07,         HHD086-0013 -     May
                   regarding request for assistance/State MACs   Abbott Ex. 368           HHD086-0015

8998   8/24/2006  United States' Complaint in United States ex Scully, 7/13/07, Dey                        May
                  rel. Ven-A-Care of the Florida Keys, Inc. v. Ex. 28
                  Dey, Inc.
9002   10/1/2006 Excerpt from Code of Federal Regulations      Gaston, 3/19/08, NY                         May
                  Section 447.332                              Counties Defs Ex. 1
9003   10/2006    Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                        May
                  Drugs 10/1/06-12/31/06                       Abbott Ex. 428
9004   10/4/2006 Title 42, § 447.332, Revised October 4, 2006 Previously disclosed                         May
                                                               with Expert Report of
                                                               Stiroh
9005   10/16/2006 Print-out from the CMS Strategic Action Plan Dey S.J., 6/26/09, Ex.,                     May
                  for 2006-2009 section of the CMS website,    154
                  dated October 16, 2006, available at
                  http://www.cms.hhs.gov/missionvisiongoals/do
                  wnloads/cmsstrategicactionplan06-
                  09_061023a.pdf

9007   10/18/2006 Email from Mark-Richard Butt to Jerry         Butt, 1/26/10, Butt Ex.                    Expect
                  Dubberly re: AWP Litigation                   10
9009   10/18/2006 Email from B. Ridout to M. Butt re: AWP       Butt, 2/12/10, Butt Ex.                    Expect
                  Litigation                                    43
9010   10/27/2006 Arrest Record in Colorado v. Michael Todd     Dey S.J. Opp., 8/28/09,                    May
                  Ricks, Case No. 2005 CR 003189                Ex. 368
9011   10/27/2006 Judgment of Conviction in Colorado v. Michael                                            May
                  Todd Ricks, Case No. 2005 CR 003189
                  (Certified Copy)
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9013   11/3/2006  Letter from George Henderson, II and Andy                          HHD347-0001-02    May
                  Mao to All State Medicaid Fraud Control Unit
                  Directors
9015   11/13/2006 Letter from Andy Mao, U.S. Department of                           HHD927-0016-17    May
                  Justice, to Daniel Meron, Chief Counsel of
                  Department of Health & Human Services
9019   12/2006    Medicaid Prescription Reimbursement          J. Rector, 7/28/09,   NCPA 000233-235   May
                  Information by State - Qtr Ending December   Rector 5
                  2006
9020   12/2006    Myers and Stauffer Report - Survey of the    L. Reed, 10/22/08,                      May
                  Average Cost of Filling a Medicaid           Roxane Ex. 140
                  Prescription in the State of Minnesota
                  (Prepared for Minnesota Department of Human
                  Services)
9021   12/2006    Print-out from the Maryland Pharmacy            Duzor, 2/27/08, Abbott               May
                  Coalition website regarding the Federal Deficit Ex. 520
                  Reduction Act (DRA)
9023   12/15/2006 CMS Medicaid Drug Rebate Program State                                               May
                  Release No. 144
9024   12/19/2006 Document titled Federal Upper Limit (FUL)       NY, Gail Sexton,                     May
                  Changes to Transmittal No. 37                   5/20/08, Sexton Ex. 15
9025   12/20/2006 42 U.S.C. § 1395u (2006)                        Scully, 5/15/07, Abbott              May
                                                                  Ex. 195
9026   2007       42 C.F.R. § 414.904 (2007)                      Dey S.J., 6/26/09, Ex.               May
                                                                  41
9031   2007       Cardinal Health, Inc. Form 10-K                 NY, M. Erick, 6/27/08,               May
                                                                  Ex. 25
9032   2007       AmerisourceBergen website print screens         AL, C. Reed, 8/28/08, ABC-AWP-ALA-   May
                                                                  Ex. 4                   00008-10
9033   2007       42 U.S.C.A., Section 1395w-3a (2007)                                                 May
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9034   2007        42 CFR § 405.517                              Previously disclosed     May
                                                                 with Expert Report of
                                                                 Bradford
9035   2007        Jonathan Gruber and David Rodriguez, “How     Previously disclosed     May
                   much uncompensated care do doctors            with Expert Report of
                   provide?,” Journal of Health Economics, 26,   Bradford
                   pp. 1151–1169
9037   8/2007      Myers & Stauffer Report - Analysis of         Previously disclosed     May
                   Pharmacy Dispensing Fees for the Indiana      with Expert Reports of
                   Medicaid Program                              Stiroh and Bradford
9038   12/2007     Myers & Stauffer Report - Survey of           Previously disclosed     May
                   Dispensing and Acquisition Costs of           with Expert Reports of
                   Pharmaceuticals in the State of California    Stiroh and Bradford
9039   12/2007     Myers & Stauffer Report - Survey of           Previously disclosed     May
                   Dispensing Costs of Pharmaceuticals in the    with Expert Reports of
                   State of Nevada                               Stiroh and Bradford
9040   2007        National Pharmaceutical Council,              Previously disclosed     May
                   Pharmaceutical Benefits under State Medical with Expert Reports of
                   Assistance Programs                           Stiroh and Bradford
9041   6/2007      OIG Report - Deficit Reduction Act            Previously disclosed     May
                   of 2005: Impact on the Medicaid Federal Upper with Expert Report of
                   Limit Program (OEI-03-06-00400)               Stiroh
9042   12/7/2004   House Energy and Commerce Committee,          Previously disclosed     May
                   Subcommittee on Oversight and Investigations, with Expert Report of
                   Hearing on "Medicaid Prescription Drug        Bradford
                   Reimbursement: Why the Government Pays
                   Too Much," (Testimony of David J. Balland,
                   Associate Commissioner for Medicaid and the
                   Children’s Health Insurance Program (CHIP),
                   Texas Health and Human Services
                   Commission)
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9048   1/2007     Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                      May
                  Drugs 1/1/07-3/31/07                           Abbott Ex. 429
9049   1/2007     Grant Thornton LLP, National Study to          Schondelmeyer,                          Expect
                  Determine the Cost of Dispensing Prescriptions 2/27/09, Ex. Roxane
                  in Community Retail Pharmacies, Prepared for Schondelmeyer 3
                  the Coalition for Community Action (CCPA)

9051   1/8/2007   CMS Memorandum to All Carriers, Durable                              HHD927-0001-08    May
                  Medical Equipment Regional Carriers
                  (DMERCs), Durable Medical Equipment
                  Medicare Administrative Contractors (DME
                  MACs), and All Part A and Part B MACs (A/B
                  MACs) regarding Production of Documents
                  Related to Pharmaceutical Litigation

9052   1/9/2007   Print-out from the Website of the Committee     DeParle, 5/18/07,                      May
                  on House Ways and Means, Health                 Abbott Ex. 18
                  Subcommittee, regarding the 10/3/2002
                  Statement of the National Alliance for Infusion
                  Therapy and the National Home Infusion
                  Association, Alexandria, Virginia

9059   2/2/2007   U.S. National Library of Medicine,           Previously disclosed                      May
                  “Ipratropium Bromide (ipratropium bromide) with Expert Report of
                  Solution [Dey],” available at                Bradford
                  dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?i
                  d=3233
9060   2/5/2007   CMS Letter from Daniel Meron to All                                  HHD927-0079-118   May
                  Operating Division and Staff Division Heads
                  re: Document Preservation in Pending
                  Pharmaceutical Litigation regarding
                  Prescription Drug Pricing
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9063   2/9/2007    Letter from Justin Draycott to Neil Merkl,    Dey S.J., 6/26/09, Ex.                   May
                   Martin F. Murphy, and David Torborg           56
9064   2/20/2007   Letter and attachment from Jeanne LaBrecque, M. Sharp, 3/28/08, Ex. JDINC00403-417     May
                   Indiana Office of Medicaid Policy and         Abbott 958
                   Planning, to Leslie Norwalk, Esq., Center for
                   Medicare and Medicaid Services

9065   2/23/2007   National Cost of Dispensing Study             J. Rector, 7/28/09,   WI-Prod-AWP-173295-May
                   Webinar/Teleconference, Briefing for State    Rector 7              314
                   Medicaid Directors and their staff by
                   representatives of Grant Thornton, LLP,
                   February 23, 2007, Hosted by: The Coalition
                   for Community Pharmacy Action
9067   3/2007      NCPA Statement of Positions                   AL, J. Rector, 8/29/07, NCPA 000054-87    May
                                                                 NCPA 11
9068   3/2007      Myers and Stauffer Report - Survey of the     Terrebonne, 3/31/08,    JD-SUB-LA-001413- May
                   Average Cost of Filling a Medicaid            Ex. Abbott 1058         508
                   Prescription in the State of Louisiana
9072   4/2007      OIG Report - States' Use of New Drug Pricing Vito, 2/5/08, Abbott Ex.                  May
                   Data in the Medicaid Program (OEI-03-06-     478
                   00490)
9073   4/2007      Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                      May
                   Drugs 4/1/07-6/30/07                         Abbott Ex. 430
9074   4/2/2007    CMS Memorandum from Jacquelyn White to                                HHD927-0018-32   May
                   All Center and Office Directors and Regional
                   Administrators re: Guidance on Production of
                   Medicare and Medicaid Documents Related to
                   Pharmaceutical Litigation
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9075   4/3/2007    Internal email from Glenda Bailey at CMS,       J. Bryant, 11/15/07,                       May
                   subject line "Document Preservation -           Abbott Ex. 397
                   Pharmaceutical Litigation - Prescription Drug
                   Pricing"
9076   4/3/2007    Internal email from Glenda Bailey at CMS,       J. Bryant, 11/15/07,                       May
                   subject line "Request for Production -          Abbott Ex. 398
                   Pharmaceutical Litigation"
9077   4/16/2007   Memorandum from Daniel Meron to Office of                                HHD927-0119-164   May
                   the Secretary, Office of the Deputy Secretary,
                   Office of the Chief of Staff, Executive
                   Secretariat, Office of Intergovernmental
                   Affairs, Office of the Assistant Secretary for
                   Planning and Evaluation, Office of the
                   Assistant Secretary of Health, Office of the
                   Assistant Secretary for Administration &
                   Management, Office of the Assistant Secretary
                   for Resources & Technology, Office of the
                   Assistant Secretary for Preparedness and
                   Response, Office of the Assistant Secretary for
                   Legislation, Administration on Aging,
                   Administration for Children and Families re:
                   Preservation and Production of Documents
                   related to Pharmaceutical Litigation regarding
                   Prescription Drug Pricing



9079   5/2007      OIG Report - Examining Fluctuations in                                                     May
                   Average Manufacturer Prices (OEI-03-06-
                   00350)
9082   5/21/2007   Article from Drug Topics entitled               Duzor, 2/27/08, Abbott                     May
                   "Latebreakers: Iowa, Kansas boost dispensing    Ex. 489
                   fees"
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9084   6/4/2007    CMS document entitled "E-mail and LAN        Bowen, 6/5/07, Abbott      May
                   Discovery Information"                       Ex. 224
9086   7/2007      Payment Allowance Limits for Medicare Part B Richter, 12/7/07, Abbott   May
                   Drugs 7/1/07-9/30/07                         Ex. 431
9087   7/1/2007    33 V.S.A.§2010                                                          Expect
9088   7/17/2007   72 Fed. Reg. 39239                           Previously disclosed       May
                                                                with Expert Report of
                                                                Bradford
9089   7/18/2007   Printout from the NACDS website entitled     WI, Valentine, 7/19/07,    May
                   "About NACDS"                                Ex. Valentine 12

9091   8/24/2007   Sample records from AmerisourceBergen RTS AL, C. Reed, 8/28/07,         May
                   data                                          Ex. 002
9092   8/24/2007   Sample records from AmerisourceBergen         AL, C. Reed, 8/28/07,     May
                   STAR data                                     Ex. 003
9094   8/27/2007   Printout of the NCPA's Mission section of the AL, Rector, 8/29/07,      May
                   National Community Pharmacists Association's Ex. NCPA 2
                   website
9096   9/21/2007   Article from The New York Times entitled      Berenson, 12/18/07,       May
                   "Generics: An Inflation Therapy"              Dey Ex. 33
9097   10/1/2007   Document entitled "State Dispensing Fee       Duzor, 2/27/08, Abbott    May
                   Activities"                                   Ex. 488
9098   10/1/2007   Excerpt of Federal Register, 42 CFR 447       Bridges, 12/10/08, Ex.    May
                                                                 Roxane 3
9100   10/2007     Payment Allowance Limits for Medicare Part B Richter, 12/7/07, Abbott   May
                   Drugs 10/1/07-12/31/07                        Ex. 432
9102   11/2007     Willaim J. Moore and Etienne E. Pracht,       Previously disclosed      May
                   “Changes in the Effectiveness of State        with Expert Report of
                   Medicaid Drug Program Cost-Containment        Bradford
                   Policies Following OBRA 1990,” American
                   Journal of Economics and Sociology, Volume
                   66, Number 5
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9103   11/2007     National Association of State Medicaid       Previously disclosed         May
                   Directors, “2007 State Perspectives Medicaid with Expert Report of
                   Pharmacy Policies and Practices,” November Bradford
                   2007
9105   11/7/2007   Expert report of Stephen W. Schondelmeyer in Schondelmeyer,               May
                   National Association of Chain Drug Stores v. 2/26/09, Ex. Dey
                   United States Department of Health and Human Schondelmeyer 4
                   Services, No. 1:07-cv-02017, 2007 WL
                   4176320 (D.D.C. Nov. 7, 2007)

9106   11/07/07    Chart titled "CMS File Source Log as of         Bryant, 11/15/07,         May
                   November 07, 2007"                              Abbott Ex. 400
9109   12/2007     Myers & Stauffer Report - Survey of             Schondelmeyer,            May
                   Dispensing and Acquisition Costs of             2/25/09, Ex. Abbott
                   Pharmaceuticals in the State of California      Schondelmeyer 3
9118   2008        Cardinal Health website section on              Erick, 6/27/08, Ex. 27    May
                   Pharmaceutical supply chain
9119   2008        Minnesota Multistate Contracting Alliance for   Erick, 6/27/08, Ex. 28    May
                   Pharmacy website section on What is
                   MMCAP?
9120   2008        McKesson Corp. Form 10-K                        Factor, 9/4/08, Ex. 010   May

9121   1/2008      OIG Report - Review of the Relationship      Defs' Common S.J.            May
                   Between Medicare Part D Payments to Local, Resp., 8/28/09, Ex. 84
                   Community Pharmacies and the
                   Pharmacies’ Drug Acquisition Costs (A-06-07-
                   00107)
9122   1/14/2008   Letter from George Henderson, II to David       Stone, 2/28/08, Dey Ex.   May
                   Torborg, Neil Merkl and Eric Gortner            116
                   enclosing Palmetto pricing arrays concerning
                   albuterol
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9124   2/2008      NCPA Statement of Positions                   Rector, 7/28/09, Ex.     NCPA 002816-849   May
                                                                 Rector 10
9128   3/31/2008   Letter from Georgia Department of Community Defs' Common Sur-                            Expect
                   Health to Thurbert Baker, Attorney General of Reply to S.J., 10/15/09,
                   Georgia re: Possible Georgia Participation in Ex. B
                   Pharmaceutical Litigation regarding Average
                   Wholesale Price

9131   Multiple    Compilation of Myers & Stauffer Reports from T. Hansen, 12/10/08,                        May
       Dates       1987-2007 related to dispensing and acquisition Abbott-Hansen Ex. 5
                   costs
9132   Multiple    Compilation of Myers & Stauffer Reports from T. Hansen, 12/10/08,                        May
       Dates       1987-2007 related to dispensing and acquisition Abbott-Hansen Ex. 6
                   costs
9133   5/27/2008   Memorandum from Jerry Dubberly to Clyde         Defs' Common Sur-                        Expect
                   Reese re: McKesson First DataBank (FDB)         Reply to S.J., 10/15/09,
                   Fraud Litigation                                Ex. A
9134   6/2008      Medicaid Prescription Reimbursement             L. Reed, 10/22/08,                       May
                   Information by State--Quarter Ending June       Roxane Ex. 124
                   2008
9138   6/22/2008   Letter and attachment from Jeffrey Brodsky to Perri, 2/19/09, Ex. Dey EXP PER DEY-       May
                   Dr. Matthew Perri III re: Contract No. 8W-      Perri 3                  057438-447
                   CIV01-0977 and Technical Point of Contact

9143   7/2008      OIG Report - Follow-Up Audit of the Medicaid                                             May
                   Drug Rebate Program in Utah (A-07-07-03098)

9144   7/2008      OIG Report - A Comparison of Average Sales                                               May
                   Prices to Widely Available Market Prices for
                   Inhalation Drugs (OEI-03-07-00190)
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9149   7/28/2008   Email and attachments from Jerry Dubberly to Defs' Common Sur-                          May
                   jbelinfante@gov.state.ga.us                  Reply to S.J., 10/15/09,
                                                                Ex. C
9151   8/2008      Medicaid State Drug Utilization Data, dated  Dey S.J., 6/26/09, Ex.                     May
                   August 2008, available at                    268
                   http://www.cms.hhs.gov/MedicaidDrugRebate
                   Program/downloads/UtilWebLayoutAug2008.p
                   df

9153   8/15/2008   CMS Healthcare Common Procedure Coding Dey S.J., 6/26/09, Ex.                           May
                   System (HCPCS) Level II Coding Procedures 157
                   section of the CMS website, revised August 15,
                   2008, available at
                   http://www.cms.hhs.gov/MedHCPCSGenInfo/
                   Downloads/
                   LevelIICodingProcedures.pdf

9154   9/2008     Letter from Russell Johnston to State           Dey S.J., 6/26/09, Ex. AWP-IL-00024760   May
                  Medicaid/Medicare Administrator, dated          123
                  September 2008 (redacted)
9160   10/28/2008 Letter from CMS to State Health Official (SHO                                            May
                  #08-004)
9162   11/22/2008 Print-out from "Our Products" section of Dey's Johnston, 12/10/08, Ex.                   May
                  website, dated November 22, 2008                1
9163   11/22/2008 Print-out from the "Dey Innovations" section of Johnston, 12/10/08, Ex.                  May
                  Dey's website, dated November 22, 2008          4

9164   11/22/2008 Print-out from the "Product Development"       Johnston, 12/10/08, Ex.                   May
                  section of Dey's website, dated November 22,   3
                  2008
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9165   11/22/2008 Print-out from the "Product Portfolio" section   Johnston, 12/10/08, Ex.   May
                  of Dey's website, dated November 22, 2008        2

9166   12/23/2008 OIG Memorandum Report - Comparison of            Dey S.J., 6/26/09, Ex.    May
                  First-Quarter 2008 Average Sales Prices and      42
                  Average Manufacturer Prices: Impact on
                  Medicare Reimbursement for Third Quarter
                  2008 (OEI-03-08-00530)
9167   12/2008     Medicaid Prescription Reimbursement             S. Schondelmeyer,         May
                   Information by State – Quarter Ending           2/27/09, Ex. Roxane
                   December 2008 (available at                     Schondelmeyer 4
                   www.cms.hhs.gov)
9168   12/2008     OIG Report - Comparison of Average Sales                                  May
                   Prices and Average Manufacturer Prices: An
                   Overview of 2007 (OEI 03-08-00450)
9169   12/9/2008   Chart titled "Medicaid Prescription             Roxane S.J., 6/26/09,     May
                   Reimbursement Information By State -Quarter     Ex. 205
                   Ending March 2009"
9171   1/29/2009   42 U.S.C. § 1395w-3a (2009)                     Duggan, 2/27/09, Ex.      May
                                                                   Dey Duggan 2
9172   2/2009      OIG Report - Comparing Pharmacy                                           May
                   Reimbursement: Medicare Part D to Medicaid
                   (OEI-03-07-00350)
9174   3/11/2009   Letter from DOJ to Dr. Schondelmeyer           Schondelmeyer,             May
                   enclosing contract for expert witness services 5/22/09, Ex. Dey
                                                                  Schondelmeyer 8
9175   3/17/2009   Declaration of David B. Shepherd               Butt, 2/12/10, Butt Ex.    May
                                                                  36
9178   3/31/2009   Order Granting Motion for Temporary                                       Expect
                   Restraining Order in Washington State
                   Pharmacy Association v. Gregoire
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9180   5/19/2009   Folder entitled "NCPA Mission and               Rector, 7/28/09, Ex.   NCPA 002370-372   May
                   Independent Pharmacy Facts" containing          Rector 2
                   NCPA's Mission Statement
9182   6/22/2009   Amended Complaint for Injunctive and                                                     Expect
                   Declaratory Relief filed in National
                   Association of Chain Drug Stores et al. v.
                   Markell
9183   7/9/2009    Opinion filed in Independent Living Center of                                            Expect
                   Southern California, Inc. v. Maxwell-Jolly, No.
                   08-56422 (9th Cir. 2009)
9184   8/2009      OIG Report "A Comparison of Medicaid                                                     May
                   Federal Upper Limit Amounts to Acquisition
                   Costs, Medicare Payment Amounts, and Retail
                   Prices" (OEI 03-08-00490)

9186   10/16/2009 Opinion in AstraZeneca LP and AstraZeneca                                                 Expect
                  Pharmaceuticals LP v. Alabama; AstraZeneca
                  LP and AstraZeneca Pharmaceuticals LP v.
                  Alabama; Smithkline Beecham Corp. d/b/a
                  Glaxosmithkline v. Alabama; and Novartis
                  Pharmaceuticals Corp. v. Alabama, CV-05-
                  219.10; CV-05-219.11; CV-05-219.68; and CV-
                  05-219.52


9187   10/30/2009 Print-out from the U.S. Food               CA, Dey S.J., 11/25/09,                        May
                  and Drug Administration website entitled   Ex. 2
                  Drugs, available at
                  http://www.fda.gov/Drugs/InformationOnDrug
                  s/ucm142438.htm
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9196   1989-2006 Excerpts of Department of Health and Human        MT, Dey S.J., 2/8/07,                    May
                 Services State Medicaid Manual, Part 6 –          Ex. U
                 Payment for Services Transmittals, published
                 by the Centers for Medicare and Medicaid
                 Services
9200   1991 Q2    Dey Invoice                                     Walsh, 3/18/08, Ex.                       May
                                                                  Dey 50
9206   1994       Letter from George Reeb, OIG, to Marshall       Chesser, 6/24/08,       HHD144-0151-160   May
       (month and Kelley, Director of Florida Medicaid, regarding Roxane Ex. 81
       day        OIG study
       illegible)
9207   1994-1996 Account Call Records                             Ricks-Bey, 1/8/09, Ex.                    May
                                                                  Dey 1023
9209   1994-1996 Cigna pricing array for Cromolyn                                         AWQ039-0037-39    May
9210   1994-1997 Cigna pricing array for J7620                    Helton, 3/13/08, Dey    AWQ021-0086-89    May
                                                                  Ex. 125
9211   1994-1997 Array documents produced by CIGNA                Helton, 3/13/08, Abbott                   May
                                                                  Ex. 603
9217   1996 Q1    Palmetto pricing array for Ipratropium Bromide                          AWQ037-0009       May

9218   1996 Q1    Palmetto pricing array for Ipratropium Bromide                           AWQ 037-0843     May

9219   1996 Q2    Palmetto pricing array for Ipratropium Bromide                           AWQ037-0011      May

9220   1996 Q2    Palmetto pricing array for Ipratropium Bromide                           AWQ 037-0752     May

9221   1996 Q3    Palmetto pricing array for Ipratropium Bromide                           AWQ 037-0644     May

9222   1996 Q4    Palmetto pricing array for Ipratropium Bromide                           AWQ 037-0014     May

9223   1996 Q4    Palmetto pricing array for Ipratropium Bromide                           AWQ 037-0508     May
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9224   1996-2003 Cigna pricing arrays for ipratropium bromide   Helton, 3/13/08,                           May
                                                                Roxane Ex. 58
9225   1996-2005 Chart of AWP and WAC for Dey Ipratroprium Clifford, 10/29/08, Dey                         May
                                                                Ex. 202
9226   1997 Q1   Palmetto pricing array for Ipratropium Bromide                    AWQ 037-0392            May

9227   1997 Q1     Palmetto pricing array for Ipratropium Bromide                       AWQ037-0016        May

9228   1997 Q2     AdminaStar pricing array for Albuterol                               AWP036-0336        May
9229   1997 Q3     Palmetto pricing array for Ipratropium Bromide                       AWQ 037-0132       May

9230   1997-1998 Cigna pricing array for K0505                    Helton, 3/13/08, Dey   AWQ021-0201-05    May
                                                                  Ex. 127
9231   1997-1998 Florida Prescribed Drug Services Coverage,       Cobo, 3/4/08, Dey Ex. FL002765-3096      May
                 Limitations, and Reimbursement Handbook          123
9232   1997-1998 Letters and newspaper articles from the files of Chang, 4/17/09, Abbott HHD058-0001-050   May
                 the Office of Legislation and letters from Ms. Ex. 1173
                 Chang to members of Congress regarding
                 legislative proposal for Medicare drug
                 reimbursement
9234   1997-1998 Cigna pricing array for Cromolyn                                       AWQ039-0041-43     May
9235   1997-2000 Excerpts from Red Book: Medicaid               TX, Bentley, 7/24/02,   R1-030746-50       May
                 Reimbursement for Drugs by State               Ex. Bentley 267
9237   1998 Q1   Palmetto pricing array for Ipratropium Bromide                         AWQ 037-0018       May

9238   1998 Q1     Palmetto pricing array for Ipratropium Bromide                       AWQ 037-0969       May

9239   1998 Q2     Palmetto pricing array for Ipratropium Bromide                       AWQ 037-0020       May

9240   1998 Q2     Palmetto pricing array for Ipratropium Bromide                       AWQ 037-1129       May
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9241   1998 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ 037-0022        May

9242   1998 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ 037-1233        May

9243   1998 Q4   Palmetto pricing array for Ipratropium Bromide       AWQ 037-0024        May

9244   1998 Q4   Palmetto pricing array for Ipratropium Bromide       AWQ 037-1330        May

9245   1999 Q2   Cigna pricing array for Ipratropium Bromide          AWQ020                May
                                                                      CD#1\J7644.xls
                                                                      Tab: 1999 Q2
9246   1999 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ                   May
                                                                      028\nonPrivDATA\Ite
                                                                      m 1 Drug Files
                                                                      (Pricing
                                                                      information)\1999
                                                                      Drug Files\K0000 7-1-
                                                                      99.zip, tab K0518
9247   1999 Q3   Cigna pricing array for Ipratropium Bromide          AWQ020              May
                                                                      CD#1\J7644.xls
                                                                      Tab: 1999 Q3
9248   1999 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ037-0026-0027    May

9249   1999 Q4   Palmetto pricing array for Ipratropium Bromide       AWQ                   May
                                                                      028\nonPrivDATA\Ite
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                                                                      information)\1999
                                                                      Drug Files\K0000 10-1-
                                                                      99.zip, tab K0518
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9250   1999 Q4    Cigna pricing array for Ipratropium Bromide                               AWQ020                May
                                                                                            CD#1\J7644.xls
                                                                                            Tab: 1999 Q4
9251   1999 Q4    Palmetto pricing array for Ipratropium Bromide                            AWQ037-0029           May

9253   1999-2000 AdminaStar pricing array for Albuterol                                     AWP034-0837           May
9254   1999-2000 AdminaStar pricing array for Albuterol                                     AWP034-0845           May
9255   1999-2003 Cigna pricing arrays and Red Book™ for            Stone, 10/14/09,                               May
                 Windows® sources for ipratropium bromide          Roxane Ex. 255
9256   1999-2003 Cigna pricing array for J7631                     Helton, 3/13/08, Dey                           May
                                                                   Ex. 129
9257   1999-2003 Cigna pricing array for J7644                     Dey S.J., 6/26/09, Ex.                         May
                                                                   159
9258   2000 Q1    Palmetto pricing array for Ipratropium Bromide                            AWQ                   May
                                                                                            028\nonPrivDATA\Ite
                                                                                            m 1 Drug Files
                                                                                            (Pricing
                                                                                            information)\2000
                                                                                            Drug Files\K0000 1-1-
                                                                                            00rev.zip, tab J7644

9259   2000 Q1    Cigna pricing array for Ipratropium Bromide                               AWQ020                  May
                                                                                            CD#1\J7644.xls
                                                                                            Tab: 1st quarter - 2000

9260   2000 Q1    Palmetto pricing array for Ipratropium Bromide                            AWQ037-0031-0032      May
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9261   2000 Q2   Palmetto pricing array for Ipratropium Bromide       AWQ                   May
                                                                      028\nonPrivDATA\Ite
                                                                      m 1 Drug Files
                                                                      (Pricing
                                                                      information)\2000
                                                                      Drug Files\K0000 4-1-
                                                                      00.zip, tab J7644
9262   2000 Q2   Cigna pricing array for Ipratropium Bromide          AWQ020                May
                                                                      CD#1\J7644.xls
                                                                      Tab: 2nd quarter -
                                                                      2000
9263   2000 Q2   AdminaStar pricing array for Ipratropium             AWP033-0436           May
                 Bromide
9264   2000 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ                   May
                                                                      028\nonPrivDATA\Ite
                                                                      m 1 Drug Files
                                                                      (Pricing
                                                                      information)\2000
                                                                      Drug
                                                                      Files\J7000oldk_codes
                                                                      7-1-00, tab
                                                                      J7644
9265   2000 Q3   Cigna pricing array for Ipratropium Bromide          AWQ020                  May
                                                                      CD#1\J7644.xls
                                                                      Tab: 3rd quarter - 2000

9266   2000 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ037-0035           May

9267   2000 Q4   Cigna pricing array for Ipratropium Bromide          AWQ020                  May
                                                                      CD#1\J7644.xls
                                                                      Tab: 4th quarter - 2000
                       Case 1:01-cv-12257-PBS Document 7077-2 Filed 04/26/10 Page 135 of 179




9268   2000-2001 Excerpt of Virginia response to federal survey Hayashi, 12/4/08,    HHD006-0105            May
                 on reimbursement and revised AWPs              Abbott Ex. 25

9269   2000-2001 Collection of Interview Sheets from a Medicaid Tawes, 4/25/07, Abbott HHD006-0225 - 0524   May
                 Prescription Drug Pricing Survey               Ex. 143
9271   2000-2004 Cigna pricing array for Albuterol                                     AWQ020               May
                                                                                       CD#1\J7619.xls
9272   2000-2004 Cigna pricing array for Cromolyn                                      AWQ020               May
                                                                                       CD#1\J7631.xls
9273   2001 Q1   Palmetto pricing array for Ipratropium Bromide                        AWQ 037-0037         May

9274   2001 Q1    Palmetto pricing array for Ipratropium Bromide                     AWQ 037-0038           May

9275   2001 Q1    Cigna pricing array for Ipratropium Bromide                        AWQ020                 May
                                                                                     CD#1\J7644.xls
                                                                                     Tab: 2001 - 1st qtr
9276   2001 Q2    Palmetto pricing array for Ipratropium Bromide                     AWQ 037-0040 -         May
                                                                                     AWQ 037-0043
9277   2001 Q2    Cigna pricing array for Ipratropium Bromide                        AWQ020                 May
                                                                                     CD#1\J7644.xls
                                                                                     Tab: 2001 - 2nd qtr
9278   2001 Q3    Palmetto pricing array for Ipratropium Bromide                     AWQ 037-0045 -         May
                                                                                     AWQ 037-0048
9279   2001 Q3    Cigna pricing array for Ipratropium Bromide                        AWQ020                 May
                                                                                     CD#1\J7644.xls
                                                                                     Tab: 2001 - 3rd qtr
9280   2001 Q4    Palmetto pricing array for Ipratropium Bromide                     AWQ 037-0050 -         May
                                                                                     AWQ 037-0052
9281   2001 Q4    Cigna pricing array for Ipratropium Bromide                        AWQ020                 May
                                                                                     CD#1\J7644.xls
                                                                                     Tab: 2001 - 4th qtr
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9284   2002 Q1   Palmetto pricing array for Ipratropium Bromide       AWQ 037-0054 -        May
                                                                      AWQ 037-0057
9285   2002 Q1   Cigna pricing array for Ipratropium Bromide          AWQ020                May
                                                                      CD#1\J7644.xls
                                                                      Tab: 2002 - 1st qtr
9286   2002 Q2   Palmetto pricing array for Ipratropium Bromide       AWQ 037-0059 -        May
                                                                      AWQ 037-0062
9287   2002 Q2   Cigna pricing array for Ipratropium Bromide          AWQ020                May
                                                                      CD#1\J7644.xls
                                                                      Tab: 2002 - 2nd qtr
9288   2002 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ 037-0064 -        May
                                                                      AWQ 037-0067
9289   2002 Q3   Cigna pricing array for Ipratropium Bromide          AWQ020                May
                                                                      CD#1\J7644.xls
                                                                      Tab: 2002 - 3rd qtr
9290   2002 Q4   Cigna pricing array for Ipratropium Bromide          AWQ020                May
                                                                      CD#1\J7644.xls
                                                                      Tab: 2002 - 4th qtr
9292   2003 Q1   Palmetto pricing array for Ipratropium Bromide       AWQ 037-0069 -        May
                                                                      AWQ 037-0072
9293   2003 Q1   Cigna pricing array for Ipratropium Bromide          AWQ020                May
                                                                      CD#1\J7644.xls
                                                                      Tab: 2003 - 1st qtr
9294   2003 Q2   Palmetto pricing array for Ipratropium Bromide       AWQ 037-0074 -        May
                                                                      AWQ 037-0076
9295   2003 Q2   Cigna pricing array for Ipratropium Bromide          AWQ020                May
                                                                      CD#1\J7644.xls
                                                                      Tab: 2003 - 2nd qtr
9296   2003 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ 037-0078 -        May
                                                                      AWQ 037-0080
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9297   2003 Q3     Cigna pricing array for Ipratropium Bromide                                AWQ020              May
                                                                                              CD#1\J7644.xls
                                                                                              Tab: 2003 - 3rd qtr
9298   2003 Q4     Palmetto pricing array for Ipratropium Bromide                             AWQ 037-0082 -      May
                                                                                              AWQ 037-0084
9299   2003 Q4     Cigna pricing array for Ipratropium Bromide                                AWQ020              May
                                                                                              CD#1\J7644.xls
                                                                                              Tab: 2003 - 4th qtr
9304   3/19-       Attendance list from the National Association Lockwood, 3/17/08,           VAC MDL 75925-969 May
       20/1998,    of Medicaid Fraud Control Units, Directors    Roxane Ex. 63
       8/7/1998    Symposium, Arlington, Virginia, March 19-20,
                   1998; Letter dated 8/7/1998 from Zachary
                   Bentley and Mark Jones to Barbara Zelner,
                   NAMFCU, enclosing copies of OIG report
                   "The Impact of High-Priced Generic Drugs on
                   Medicare and Medicaid" for distribution among
                   the MFCU directors; Agenda for Day 2 of the
                   NAMFCU Symposium


9306   4/1/97 -   Cigna pricing array for Albuterol                                           AWQ021-0198        May
       3/30/98
9307   4/10/95 - Cigna pricing array for Albuterol                                            AWQ021-0091        May
       3/8/96
9309   4/2/2007 - Invoices                                          Perri, 2/19/09, Ex. Dey                      May
       1/21/2009                                                    Perri 4
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9311   4/3/2003     Charts titled "Comparison of Drug Prices      Vito, 2/6/08, Dey Ex.   HHD107-0002-06    May
       (date of     AWP, WAC, and Innovatix," "Comparison of 49
       first doc)   Ipratropium Bromide Prices (AWP, WAC, and
                    Innovatix)," "Comparison of Albuterol Sulfate
                    Prices (Texas Medicaid, RedBook, Innovatix,
                    and Anda)," "Comparison of Ipratropium
                    Bromide Prices (Texas Medicaid, RedBook,
                    Innovatix, and Anda)"


9312   4/6/2000-  Materials regarding revised AWPs and letter                             ID 037332-672     May
       5/18/2000  from NAMFCU to “Medicaid Pharmacy
                  Directors”
9314   4/6-7/2007 First DataBank’s 17th Annual Customer           WI, Trial, DX-466       ALMED-351019-029 May
                  Seminar, Everything You Always Wanted to
                  Know About Pricing Data PowerPoint slides

9317   6/10/1996 Collection of Fax Cover Sheets from Rob Vito     Vito, 6/20/07, Abbott   HHD059-0014 - 0029 May
       (begining) to OAS, HCFA, DMERCs, certain state             Ex. 252
                  Medicaids, OIG
9322   7/2/96 -   Cigna pricing array for Albuterol                                       AWQ021-0093       May
       4/7/97
9324   7/2003-    AdminaStar pricing array for Ipratropium                                AWP033-1988       May
       8/2003     Bromide
9325   7/6&27/199 Letters between R. Reed, Chief, Medicaid        ID, Duerr, 12/3/09, Ex. ID035813 - 5816   May
       9          Branch, HCFA, and J. Brunson, Administrator     Duerr 19
                  Division of Medicaid Dept. of Health and
                  Welfare
9326   8/17/94 - Cigna pricing array for Albuterol                                        AWQ021-0090       May
       2/21/95
9329   8/30-      State, HCFA, OIG Conference Medicaid            Tetkowski, 12/11/08,   HHD 144-0264 -72   May
       31/1994    Outpatient Prescription Drug Program;           Ex. Abbott Maryland 27
                  Richmond, VA
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9330   8/30-       Record of Discussion- Conference Notes        Denemark, 12/9/08, Ex. HHD-021-0118-19       Expect
       31/1997                                                   Dey 609
9331   9/27-       Record of Discussion- Conference Notes        Denemark, 12/9/08, Ex. HHD-021-0121-122      Expect
       28/1995                                                   Dey 611
9333   Fall 1995   Region D DMERC Dialogue                       Helton, 3/13/08, Dey   HHC907-0092-105       May
                                                                 Ex. 133
9336   Multiple    Collection of annual NCPA Digests             Rector, 7/28/09, Ex.   NCPA 002073 - 2115, May
       dates                                                     Rector 3               2029 - 2072, 1987 -
                                                                                        2028, 1949 - 1986,
                                                                                        1904 - 1948, 1861 -
                                                                                        1903, 1815 - 1860,
                                                                                        1768 - 1814, 1697 -
                                                                                        1767, 1626 - 1696,
                                                                                        1554 - 1625, 1482 -
                                                                                        1553, 2386 - 2417 and
                                                                                        2418 - 2445
9338   Multiple    Collection of documents: Statement of John M. AL, Rector, 8/29/07,                        May
       dates       Rector, Esq. Before the Labor Health and      Ex. NCPA 12
                   Human Services Education and Related
                   Agencies Appropriations Subcommittee, May
                   22, 1985, HCFA-Fiscal Year 1986
                   Appropriations; Letter from various
                   congressmen and Senator David Pryor to
                   Carolyne Davis, Ph.D., HCFA Administrator
                   regarding efforts to review the Medicaid
                   prescription drug program; Statement of John
                   M. Rector Before the House Ways and Means
                   Subcommittee on Health, June 2, 1987.


9339   Multiple    Compilation of documents regarding to HCFA's Robey, 3/20/07, Abbott HHC015-0714-771       May
       dates       document retention policy and litigation hold Ex. 72
                      Case 1:01-cv-12257-PBS Document 7077-2 Filed 04/26/10 Page 140 of 179




9340   Multiple   Compilation of wholesaler invoices              M. Jones, 12/9/08,     R1-030369, VAC     May
       dates                                                      Roxane Ex. 196         MDL 59583-590
9341   Multiple   File on the Cobo Pharmacy in the Florida        Cobo, 7/31/08, Dey Ex. FL-AG-0002871-2970 May
       dates      Medicaid Program                                181
9345   Multiple   Compilation of excerpts from Price Alert: The HI, Watson S.J.,         Various            May
       dates      Official Guide to AWP Pricing, years 1989-      8/26/09, Ex. 6
                  2002
9346   Multiple   Excerpts from prior depositions of Patricia Kay MA, Morgan, 11/30/07,                     May
       dates      Morgan                                          Morgan Ex. 1

9349   Multiple   Excerpts of State Plan Amendments             Defs' Common S.J.                           May
       dates                                                    Resp., 8/28/09, Ex. 79
9353   Multiple   Correspondence between DHHS and Oregon        Howell, 4/22/08, Abbott HHC 020-0473-520    May
       dates      Department of Human Services regarding        Ex. 1085
                  Oregon SPA 02-004
9355   Multiple   Array documents produced by CIGNA             Walker, 3/12/08, Abbott Multiple Bates stamps May
       dates                                                    Ex. 601                 from various
                                                                                        productions
9356   Multiple   Composite Exhibit of Government Reports,      Marrs, 7/10/08, Ex.     Various               May
       dates      Volume I                                      Marrs 33A
9357   Multiple   Composite Exhibit of Government Reports,      Marrs, 7/10/08, Ex.     Various               May
       dates      Volume II                                     Marrs 33B
9358   Multiple   Draft of proposed legislation: amendment to   Chang, 4/17/09, Abbott HHD135-0106-108        May
       dates      Section 1842                                  Ex. 1172
9360   Multiple   2001 correspondence with Congress and         TX, Rice, 3/24/03, Ex. DL-TX-0162288; DL- May
       dates      associated documents                          Rice 577                TX-0162327 - 334; DL-
                                                                                        TX-0162428 - 470

9363   Multiple   Excerpts of the 1995, 1998, 2000, and 2001    MT, Dey S.J. Merkl     DEY-MDL-0105096- May
       dates      Drug Topics Red Book                          Decl., 2/8/07, Ex. T   0105116
9365   Multiple   Sample Invoices to Customers                                         DEY-MDL0000001- May
       dates                                                                           6727
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9370   Multiple     Compilation of claim forms submitted by Ven- Cobo, 7/31/08, Dey Ex. Various bates number May
       dates        A-Care for Medicaid reimbursement            180                    from VAC MDL
       (1992-                                                                           production
       1997)
9373   Multiple     Cigna pricing arrays for J7644                                      CIGNA-0101-255       May
       dates (1999-
       2003)

9374   Multiple    Letter and attachments from HCFA to William Howell, 4/22/08, Abbott HHHD 090-1677-95      May
       Dates (2000-Prince re: South Carolina Title XIX State Plan Ex. 1068
       2001)       Amendment, Transmittal #00-09

9375   Spring     Sawyer, Darwin O., “Pharmaceutical            Previously disclosed                         May
       1983       Reimbursement and Drug Cost Control: The      with Expert Report of
                  MAC Experience in Maryland,” Inquiry,         Bradford
                  Volume 20
9376   Spring     Lamphere-Thorpe, Jo Ann, et al. “Who Cares Previously disclosed                            May
       1994       What it Costs to Dispense a Medicaid          with Expert Report of
                  Prescription?,” Health Care Financing Review, Bradford
                  Vol. 15, No. 3, Spring 1994

9377   Spring     Frank, Richard and David Salkever, “Generic Previously disclosed                           May
       1997       Entry and the Pricing of Pharmaceuticals,”       with Expert Report of
                  Journal of Economics and Management              Bradford
                  Strategy
9379   Spring     Article from the Inquiry titled "The Association WI, Kreling, 12/4/08,   WI-Prod-AWP-095049-May
       1998       of Insurance Type with Costs of Dispensed        Kreling Ex. 5           061
                  Drugs" by David Kreling
9384   Undated    Charts titled Albuterol Sulfate, .083%, per mL,                          HHD007-0089-92    May
                  NDC 49502-0697-33
9385   Undated    Charts titled Albuterol Sulfate, .083%, per mL,                          HHD007-0084-88    May
                  NDC 49502-0697-33
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9386   Undated   Charts titled Albuterol Sulfate, .083%, per mL,                       HHD007-0093-97    May
                 NDC 49502-0697-33
9387   Undated   Charts titled Albuterol Sulfate, .083%, per mL,                       HHD007-0162-65    May
                 NDC 49502-0697-33
9388   Undated   Charts titled Albuterol Sulfate, .083%, per mL,                       HHD007-0196-97    May
                 Medicare/Medicaid STATE Comparison
                 Summary
9389   Undated   Charts titled Albuterol Sulfate, .083%, per mL,                       HHD007-0200-01    May
                 Medicare/Medicaid STATE Comparison
                 Summary
9391   Undated   Memo From Michael Hash, Deputy                  Nieman, 11/19/09, Ex. HHD340-0031-34    May
                 Administrator to Kevin Thurm                    Abbott 1185
9395   Undated   42 C.F.R. § 447.518                             L. Reed, 10/22/08,                      May
                                                                 Roxane Ex. 120
9404   1989      OIG Office of Audit Region VI - Audit Guide Bridges, 12/10/08, Ex. HHD186650-63         May
                 for the Nationwide Review of the Medicare       Roxane 8
                 Catastrophic Coverage Act Drug Program
                 Usual and Customary Charges
9408   Undated   Call log from FDB's customer support group      MA, P. Morgan,        FDB-AWP 028041-   May
                                                                 11/30/07, Morgan Ex. 153
                                                                 19
9409   Undated   Chart entitled "Albuterol UD 60 By ML (NDC D, Thompson, 9/30/08,                        May
                 No. 49502-69760)"                               Thompson Ex. 10
9410   Undated   Chart entitled "Appendix B" with annotations Tawes, 4/25/07, Abbott HHD014-0067         May
                                                                 Ex. 145
9412   Undated   Chart entitled "Cromolyn Sodium UD 60 By        D, Thompson, 9/30/08,                   May
                 ML (NDC No. 49502-68902)"                       Thompson Ex. 9
9413   Undated   Chart entitled "Estimated Medicare Savings if Tawes, 4/25/07, Abbott HHD014-0046        May
                 Acquisition Costs Were Used for 1995            Ex. 146
                 Prescription Drug Reimbursement"
9414   Undated   Chart entitled "Ipratropium 25s By ML (NDC D, Thompson, 9/30/08,                        May
                 No. 49502-68503)"                               Thompson Ex. 8
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9415   Undated   Chart entitled "Ipratropium Bromide, 0.02%,  Tawes, 12/13/07,        HHD013-1239        May
                 per ml, J7645"                               Roxane Ex. 13
9418   Undated   Chart titled 1993 Sales Rep Terminations.xls Ricks-Bey, 1/8/09, Ex. DEY-BO-0225836-841 May
                                                              Ricks 2
9421   Undated   CMS’s Internet-Only Manual, Publication 100- Dey S.J. Opp., 8/28/08,                    May
                 04, Medicare Claims Processing Manual,       Ex. 400
                 Chapter 17
9423   Undated   Colorado SPA sent from Diane Dunstan to      Chapman, 12/15/08, Ex. HHC013-1114-16      May
                 Deidre Duzor and Larry Reed                  Dey 373
9431   Undated   Dey Package Inserts                                                  DL-TX-0077394-     May
                                                                                      77420
9432   Undated   Dey Respiratory Learning System, Phase 1     Marrs, 10/2/08, Ex.     DL-TX 85412, DL-TX May
                 Training Modules, Dey Respiratory Products Marrs 63                  85611-635
                 and Selling Strategies, Course Four of Four,
                 Module D
9461   Undated   DMERC Questionnaire with handwritten notes Hansford, 3/14/07, Dey HHD-011-0294 - 0302 May
                                                              Ex. 6
9462   Undated   Document entitled "Albuterol .083% Solution Gaston, 3/19/08, NY                         May
                 As of June 1997"                             Counties Defendants
                                                              Ex. 15
9463   Undated   Document entitled "Albuterol Sulfate"        D, Thompson, 9/30/08, HHD193-0021-25       May
                                                              Thompson Ex. 20
9464   Undated   Document titled "Associations/Advocacy       Tawes, 12/13/07,        HHD042-0389,       May
                 Groups Checklist"                            Roxane Ex. 15           HHD100-0149-151,
                                                                                      HHD110-0292-94
9466   Undated   Document entitled "Cromolyn Sodium"          D, Thompson, 9/30/08, HHD193-0107          May
                                                              Thompson Ex. 21
9467   Undated   Document entitled "Department: Medicare      Roxane S.J. Ex. 169;    AWP034-0462 - 66   May
                 Pricing, Process: Drug Pricing Procedure"    Roxane Ex. 100
9468   Undated   Document entitled "Description of Drug Price Tawes, 4/24/07, Abbott HHD005-0032         May
                 Files Available for Downloading"             Ex. 131
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9473   Undated   Document entitled "Medicare Program         Niemann, 10/11/07,     HHC902-0001-16     Expect
                 Payment for Drugs"                          Abbott Ex. 314
9474   Undated   Document entitled "Morning Mail, Title:     Tawes, 4/25/07, Dey    HHD006-0169        May
                 Medicaid's Use of Revised Average Wholesale Ex. 20
                 Prices (OEI-03-01-00010)"
9475   Undated   Document titled "Pharmacy Prices for        Tawes, 12/2/08, Roxane HHD157-0640        May
                 Ipratropium Bromide"                        Ex. 163
9476   Undated   Document entitled "Review of Medicaid Drug L. Reed, 9/27/07,       HHC004-0188-90     May
                 State Plan Amendments"                      Abbott Ex. 328
9477   Undated   Document entitled "Supplier Prices for      D, Thompson, 9/30/08, HHD011-0917-18,     May
                 Albuterol Sulfate 0.083%, Purchased from a  Thompson Ex. 12        0921
                 Manufacturer"
9478   Undated   Document entitled "Supplier Prices for      D, Thompson, 9/30/08, HHD011-0926-29      May
                 Albuterol Sulfate 0.083%, Purchased from a  Thompson Ex. 14
                 Pharmacy"
9479   Undated   Document entitled "Supplier Prices for      D, Thompson, 9/30/08, HHD011-0922-25      May
                 Albuterol Sulfate 0.083%, Purchased from a  Thompson Ex. 13
                 Wholesaler"
9480   Undated   Document entitled "Supplier Prices for      D, Thompson, 9/30/08, HHD003-0004-08      May
                 Albuterol Sulfate 0.083%, Purchased from    Thompson Ex. 15
                 Other Than a Manufacturer"
9482   Undated   Document entitled "Uniform Drug Pricing     Helton, 3/13/08,       AWQ029-000326 - 28 May
                 Project"                                    Roxane Ex. 51
9484   Undated   Document titled "Appendix II"               Tawes, 12/2/08, Dey    HHD163-0001        May
                                                             Ex. 1101
9486   Undated   Document titled "Narrative Prepared for the Eiler, 8/26/08, Abbott AWP034-0456-61     May
                 Department of Health & Human Services       Ex. 1130
                 Health Care Financing Administration,
                 Prepared by Palmetto GBA on behalf of the
                 four DMERCs"
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9487   Undated   Document titled "Palmetto GBA, LLC,           Stone, 2/28/08, Abbott                   May
                 Medicare Claims Processing Contract Coverage Ex. 523
                 1991-2001 (Topic 1, Jones Day Letter
                 11/21/2007)"
9488   Undated   Document titled "Savings for 9 Drugs Added to Tawes, 12/2/08, Roxane HHD245-000011     May
                 FUL since we went to CMS"                     Ex. 192
9489   Undated   Document titled "Selected HHS Office of       Vito, 6/19/07, Abbott HHD068-1554 - 1557 May
                 Inspector General Reports: Medicare and       Ex. 228
                 Medicaid Prescription Drug Reimbursements
                 (1984 through August 2001)"

9491   Undated   Document titled First DataBank Drug Pricing      AL, Chadwick,          FDB/Alabama 093504- May
                 Policy                                           10/23/07, Chadwick Ex. 06
                                                                  10
9493   Undated   Document titled Instructions for Completing      Eiler, 8/26/08, Abbott AWP034-0524-25      May
                 the Contractor's Drug Pricing Report             Ex. 1129
9494   Undated   Document titled Medicare Contracts Held By       Eiler, 8/26/08, Ex. 1                      May
                 Anthem/AdminaStar Federal, Inc./AHP-
                 NH/AHP-ME
9496   Undated   Document with 2 sections: "Albuterol Sulfate     Hansford, 3/14/07, Dey HHD-007-190-0193   May
                 Pricing Trends" and "Trends by State"            Ex. 4

9497   Undated   Document with a handwritten note                 Gaston, 1/24/08, Abbott HHD006-0103 -     May
                 "Comments"                                       Ex. 466                 HHD006-0105,
                                                                                          HHD006-0117,
                                                                                          HHD006-0108
9499   Undated   Documents provided by Mr. Ricks-Bey              Ricks-Bey, 1/8/09, Ex.                    May
                 regarding his allegations of illegal detention   Dey Ex. 1020
                 and membership in the Washitaw Nation of
                 Muurs
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9500   Undated   Draft Letter from Georgia Department of         Defs' Common Sur-                         Expect
                 Community Health to Finley                      Reply to S.J., 10/15/09,
                                                                 Ex. E
9502   Undated   Excerpt from Eli’s Home Care Week (Vol. VII, Dey S.J., 6/26/09, Ex. HHD009-0150           May
                 p. 31)                                          168
9503   Undated   Excerpt of an Article from Eli's Home Care      Vito, 2/5/08, Abbott Ex. HHD061-1445      May
                 Week                                            468
9504   Undated   Excerpts from H.R.3600                          Vladeck, 6/21/07,                         May
                                                                 Abbott Ex. 260
9509   Undated   First DataBank, Drug Pricing Policy,            AL, P. Morgan,           FDB-ALABAMA      May
                 http://www.firstdatabank.com/support/rcs/polic 8/27/07, Ex. Morgan 18 093504-506
                 ies/pricing/
9511   Undated   From working files for OIG audits, entitled     Chesser, 10/28/08,       HHD143-0178-79   May
                 "Medicaid -- Actual Acquisition Costs of        Roxane Ex. 153
                 Prescription Drugs"
9515   Undated   Handwritten Notes                               Tawes, 4/25/07, Abbott HHD006-0105        May
                                                                 Ex. 147
9518   Undated   HCFA Health Insurance Claim Form 1500                                                     May
9519   Undated   IGNet Summary, U.S. Department of Health        Hansford, 3/14/07,       HHD008-0400      May
                 and Human Services, for OIG report "Medicare Abbott Ex. 61
                 Payments for Nebulizer Drugs"
9520   Undated   Index to Evidence Box of the Original Boston M. Jones, 12/9/08,                           May
                 Complaint (filed on 4/10/00)                    Roxane Ex. 202
9521   Undated   Ipratropium 25s by mL (NDC No. 49502-           Terrebonne, 11/7/08,                      May
                 68503) Chart, AWP, WAC                          Ex. Dey 226
9524   Undated   Letter and attached documents from J.D.         Dey S.J., 6/26/09, Ex. HHD084-0006 -      May
                 Sconce, Regional Administrator for HCFA, to 188                          HHD084-0021
                 Fred Schutzman, Director, Bureau of Quality
                 Control for HCFA
9528   Undated   List of State Medicaid officials from 50 states Tomlinson, 11/4/08,      HHD006-074       May
                 who completed phone interviews                  Abbott Ex. 1156
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9532   Undated   List titled "HHS OIG Reports Related to       Vito, 6/19/07, Abbott HHD068-0210 - 0216 May
                 Prescription Drugs"                           Ex. 229
9533   Undated   Listing of Files for OIG Report "Medicare     Sernyak, 3/6/07, Abbott HHD011-1169-70   May
                 Payments for Nebulizer Drugs (OEI-03-94-      Ex. 35
                 00390)"
9542   Undated   Memorandum from Kevin Thurm to Michael        Dey S.J., 6/26/09, Ex.   HHC902-0251 -   May
                 M. Hash regarding Use of Department of        182                      HHC902-0258
                 Justice (DOJ) Data in Pricing of Drugs
                 Currently Covered by Medicare - Information

9543   Undated   Memorandum from Michael M. Hash to Kevin Defs' Common S.J.            HHC902-0214-44    May
                 Thurm re: Use of Department of Justice (DOJ) Resp., 8/28/09, 199
                 Data in Pricing of Drugs Currently Covered by
                 Medicare
9546   Undated   News article titled "Walgreen considering plan Parker, 11/18/08,      AWP-IL-00007748   May
                 to delay cutting store hours in poor           Roxane IL Ex. 016
                 neighborhoods"
9553   Undated   OIG Document titled Federal Upper Limit        Tawes, 12/2/08, Roxane HHD245-000415-416 May
                 Discussion Guide                               Ex. 185
9558   Undated   Presentation by Kay Morgan of First DataBank Hiramatsu, 5/1/08, Ex. HI_HI 000002686-704 May
                                                                Hiramatsu 67
9563   Undated   Presentation slide excerpt titled "List Price  AL, Chadwick,                            May
                 Definition"                                    10/23/07, Chadwick Ex.
                                                                39
9566   Undated   Print-out from the Department of Veterans      Tawes, 12/2/08, Roxane HHD157-0228 -0260 May
                 Affairs website titled "Drug & Pharmaceutical Ex. 161
                 Prices"
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9570   Undated   Print-out from the Pharmacy Benefits        Dey S.J., 6/26/09, Ex.         May
                 Management Services-Drug Pharmaceutical     45
                 Prices section of the U.S. Department of
                 Veterans Affairs web site, available at
                 http://www.pbm.va.gov/DrugPharmaceuticalPri
                 ces.aspx

9571   Undated   Print-out from the U.S. Food and Drug       Dey S.J., 6/26/09, Ex.         May
                 Administration website entitled Generic     19
                 Competition and Drug Prices, available at
                 http://www.fda.gov/AboutFDA/CentersOffices/
                 CDER/ucm129385.htm
9572   Undated   Print-out of Drug Details (Ipratropium            Dey S.J., 6/26/09, Ex.   May
                 Bromide) section of the U.S. Food and Drug        11
                 Administration website, available at
                 http://www.accessdata.fda.gov
9573   Undated   Print-out of Drug Information: Ipratropium        Dey S.J., 6/26/09, Ex.   May
                 Oral Inhalation section of the National Library   10
                 of Medicine and National Institute of Health
                 website, available at www.nlm.nih.gov

9574   Undated   Print-out of the Albuterol Sulfate section of Dey S.J., 6/26/09, Ex. 2     May
                 Dey L.P.’s website, available at
                 www.dey.com/generics/products/albuterol.asp

9575   Undated   Print-out of the Brand History section of Dey, Dey S.J., 6/26/09, Ex. 1    May
                 L.P.’s website, available at
                 http://www.dey.com/generics/deybrand/history.
                 asp
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9576   Undated   Print-out of the Drug Details (Albuterol        Dey S.J., 6/26/09, Ex. 4   May
                 Sulfate) section of the U.S. Food and Drug
                 Administration website, available at http://
                 www.accessdata.fda.gov

9577   Undated   Print-out of the Drug Information (Albuterol   Dey S.J., 6/26/09, Ex. 3    May
                 Inhalation) section of the National Library of
                 Medicine and National Institute of Health
                 website, available at http://www.nlm.nih.gov
9578   Undated   Print-out of the Drug Information: Cromolyn    Dey S.J., 6/26/09, Ex. 7    May
                 Sodium Oral Inhalation section of the National
                 Library of Medicine and National Institute of
                 Health website, available at www.nlm.nih.gov

9579   Undated   Print-out of the Ipratropium Bromide section of Dey S.J., 6/26/09, Ex. 9   May
                 Dey L.P.’s website, available at
                 http://www.dey.com/generics/products/
                 ipratropium.asp

9580   Undated   Print-out of the Medicaid Analytic eXtract Dey S.J., 6/26/09, Ex.          May
                 (MAX) General Information section of the   269
                 Centers for Medicare and Medicaid Services
                 website, available at
                 http://www.cms.hhs.gov/MedicaidDataSources
                 GenInfo/07_MAXGeneralInformation.asp

9581   Undated   Print-out of the Overview (Albuterol Sulfate)   Dey S.J., 6/26/09, Ex. 6   May
                 section of the U.S. Food and Drug
                 Administration website, available at
                 http://www.accessdata.fda.gov
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9582   Undated   Print-out of the Overview (Cromolyn Sodium)   Dey S.J., 6/26/09, Ex. 8                     May
                 section of the U.S. Food and Drug
                 Administration website, available at
                 http://www.accessdata.fda.gov
9583   Undated   Print-out of the Overview (Ipratropium        Dey S.J., 6/26/09, Ex.                       May
                 Bromide) section of the U.S. Food and Drug    12
                 Administration website, available at
                 http://www.accessdata.fda.gov
9590   Undated   Screenshot of FUL application                 Gaston, 3/19/08, NY    HHD170-1050 -         May
                                                               Counties Defendants    HHD170-1053
                                                               Ex. 10
9592   Undated   Sign-in Sheet for the Exit Conference re:     Tawes, 12/2/08, Roxane HHD100-0895           May
                 Update: Excessive Medicare Reimbursement      Ex. 180
                 for Albuterol and Ipratropium Bromide

9596   Undated   Summary of Myers and Stauffer contracts with T. Hansen, 12/10/08,                          May
                 State Medicaid agencies                       Abbott-Hansen Ex. 3
9598   Undated   Table of Drugs and Prices                     Tawes, 4/25/07, Dey     HHD006-0675 - 0692   May
                                                               Ex. 21
9599   Undated   Table of HCPCS Codes and Drug Names           Ragone, 4/18/07,        HHD013-2770          May
                                                               Abbott Ex. 92
9600   Undated   Table of HCPCS Codes and Drug Types           Tawes, 4/24/07, Abbott HHD010-0113           May
                                                               Ex. 132
9605   Undated   Various States Chart with Pricing data        Sharp, 3/28/08, Ex.     HHC010-1064          May
                                                               Abbott 951
9613   Undated   Document titled "Excerpt from CD 3:           Butt, 2/12/10, Butt Ex.                      May
                 Discussion Pertaining to DOJ AWPs - Part 2 at 33
                 18:39-19:31"
9618   Undated   Chart titled "WAC/AMP - if over 100% then TX, Mylan S.J.,                                  May
                 WAC might be too high"                        10/30/09, Ex. Ex. 20
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9624   Undated   Chart titled "Dey AMPS"                                              TX-D & W 016578- May
                                                                                      83; TXMGT0094237-
                                                                                      42
9625   Undated   Document titled "HB 915 - Interagency Council                        VDP_1367912       May
                 on Pharmaceuticals Bulk Purchasing"

9632   Undated   Typed notes from Schondelmeyer's Texas study Schondelmeyer,          EXP SCHO ABT     May
                 reflecting various people's initials and     5/22/09, Ex. Dey        002924-29
                 comments                                     Schondelmeyer 13
9634   Undated   Letter to K. Thurm re: Medicare Payments for Previously disclosed    HHD809-0005-13   May
                 Drugs Using Department of Justice Data       with Expert Report of
                                                              Bradford
9636   Undated   First DataBank’s NDDF Documentation                                  ALMED-365634 -   May
                 Manual (excerpts) (October 1998)                                     ALMED-365640
9639   Undated   Excerpts from First DataBank NDDF manuals                            ALMED-391819 -   May
                 and associated documents                                             ALMED-391842
9649   Undated   Medicaid Drug Reimbursement Reports 1990- Marmor, 2/12/09,                            May
                 1993, Pharmacy Payment and Patient Cost      Abbott Ex. 326
                 Sharing 1996- 2006
9652   Undated   AdminaStar pricing array for Albuterol                               AWP036-0405      May
9653   Undated   AdminaStar pricing array for Albuterol                               AWP035-1415      May
9654   Undated   AdminaStar pricing array for Albuterol                               AWP036-0408      May
9655   Undated   DMERC A pricing array for Cromolyn                                   AWQ057-0530      May
9656   Undated   DMERC A pricing array for Cromolyn                                   AWQ057-0541      May
9657   Undated   DMERC A pricing array for Cromolyn                                   AWQ057-0544      May
9658   Undated   DMERC A pricing array for Cromolyn                                   AWQ057-0549      May
9659   Undated   DMERC A pricing array for Cromolyn                                   AWQ057-0554      May
9660   Undated   Analysis of the Reimbursement of Pharmacy    MA, Grossman,                            May
                 Services by the MA Division of Medical       10/24/07, Ex. MPha 6
                 Assistance and the Impact of the Proposed
                 Reimbursement Changes
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9667   Undated    CMS File Source Index Relating to Rule 26       Bailey, 3/20/07, Abbott                     May
                  Initial Disclosures of the United States        Ex. 77
9672   Undated    Copy of a binder received by Lynn Donovan at HI, Donovan, 7/20/09,                          May
                  Hawaii DHS from DOJ concerning drug             Ex. Donovan 64
                  pricing
9675   Undated    First DataBank Drug Price Policy                Hiramatsu, 6/11/08, Ex. HI_HI 000013718-721 May
                                                                  Hiramatsu 107
9684   Undated    U.S. Initial Disclosure to Dey Information                                                  May
                  Originating from the United States, Information
                  Originating from Third Parties, Documents
                  Produced by Dey
9686   Winter     Dana, Jr., James D., “Equilibrium Price         Previously disclosed                        May
       1999       Dispersion under Demand Uncertainty: The        with Expert Report of
                  Roles of Costly Capacity and Market             Bradford
                  Structure,” The RAND Journal of Economics,
                  Volume 30, Number
                  4, Winter 1999
9691   1992       42 C.F.R. §447.201                                                                        May
9692   1992       42 C.F.R. §447.304                                                                        May
9693   1992       42 C.F.R. §§ 447.204, 447.205                                                             May
9694   1992       “State Plans for Medical Assistance,” 42     Previously disclosed                         May
                  U.S.C. Chapter 7, Subchapter XIX, § 1396a    with Expert Reports of
                                                               Bradford, Helms
9700   2009       Medicare Claims Processing Manual, Chapter                                                Expect
                  26 - Completing and Processing Form CMS-
                  1500 Data Set
9701   7/7/1978   Stipulation of Settlement filed in                                    PSSNY 001898-1904 Expect
                  Pharmaceutical Society of the State of New
                  York, Inc. v. Carey
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9702   9/1984     Medicaid Action Transmittal, No. 84-12 of      R. Niemann, 9/14/07,                     Expect
                  September 1984, with the subject "Title XIX of Abbott Ex. 307
                  the Social Security Act, Limitation on Payment
                  or Reimbursement for Drugs."
9707   7/1990     State Medicaid Manual Part 6 - Payment for                            HHD093-0112-39    May
                  Services, Transmittal No. 18
9710   11/14/1990 Letter from Myatt, Director, Medical Services,                                          May
                  to Wilks, HFCA
9711   11/25/1991 Excerpt from HCFA Final Rule for Medicare D. Thompson, 3/28/08,                         Expect
                  Program Fee Schedule for Physicians' Services Abbott Ex. 1020
                  (56 Fed. Reg. 59502)
9714   10/1992    State Medicaid Manual Part 6 - Payment for                            HHD093-0157-97    May
                  Services, Transmittal No. 21
9717   10/1993    State Medicaid Manual Part 6 - Payment for                            HHD093-0229-51    May
                  Services, Transmittal No. 24
9719   5/1994     State Medicaid Manual Part 6 - Payment for                            HHD093-0252-73    May
                  Services, Transmittal No. 25
9720   10/1994    State Medicaid Manual Part 6 - Payment for                            HHD093-0274-98    May
                  Services, Transmittal No. 26
9721   10/12/1994 Stipulation and Order filed in Pharmaceutical                         PSSNY 001905-08   Expect
                  Society of the State of New York, Inc. v.
                  Cuomo
9723   5/1995     State Medicaid Manual Part 6 - Payment for                            HHD093-0303-27    May
                  Services, Transmittal No. 28
9724   10/1995    State Medicaid Manual Part 6 - Payment for                            HHD093-0328-51    May
                  Services, Transmittal No. 29
9725   6/1996     State Medicaid Manual Part 6 - Payment for                            HHD093-0352-76    May
                  Services, Transmittal No. 30
9727   11/1996    State Medicaid Manual Part 6 - Payment for                            HHD093-0381-406   May
                  Services, Transmittal No. 32
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9728   2/20/1997   Email from David Sheridan to L. Lingle, C.     R. Niemann, 9/14/07,   AWP047-1307-08   May
                   Carpenter and others re: Medicare drug pricing Abbott Ex. 315

9729   7/1997      State Medicaid Manual Part 6 - Payment for                            HHD093-0410-36   May
                   Services, Transmittal No. 34
9732   7/1998      State Medicaid Manual Part 6 - Payment for                            HHD093-0437-64   May
                   Services, Transmittal No. 35
9733   11/2/1998   63 Fed. Reg. 58813                         DeParle, 5/18/07,                           Expect
                                                              Abbott Ex. 209
9737   8/9/2000   Memo from K. Cohen to The Deputy Secretary R. Niemann, 11/19/09, HHD340-0011 - 0030     May
                  with attachments                            Abbott Ex. 1184
9739   11/22/2000 State Medicaid Manual Part 6 - Payment for                                              May
                  Services, Addendum A
9740   5/3/2001   HCFA Program Memorandum to                  D. Thompson, 3/28/08, HHC014-0207           Expect
                  Intermediaries/Carriers regarding           Abbott Ex. 1010
                  Implementation of Medicare, Medicaid, and
                  SCHIP Benefits Improvement and Protection
                  Act of 2000 (BIPA) Requirements for Payment
                  Allowance of Drugs and Biologicals Covered
                  by Medicare (Transmittal AB-01-66)

9741   11/20/2001 Transmittal No. 37 - Federal Upper Limit Drug                                           May
                  List, November 20, 2001
9746   7/22/2002 Letter from Long Term Care Pharmacy            D. Thompson, 3/28/08, HHC003-0446-49      May
                  Alliance to Thomas Scully, Administrator of   Abbott Ex. 1003
                  CMS
9749   12/12/2002 Letter from Thomas Grissom to Stephen         D. Thompson, 3/28/08, HHC003-0443-45      May
                  Northrup, Long Term Care Pharmacy Alliance Abbott Ex. 1002

9755   1/7/2004    69 Fed. Reg. 1084-267                         D. Thompson, 3/28/08,                    May
                                                                 Abbott Ex. 1022
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9757   4/6/2004    69 Fed. Reg. 17935-41                          D. Thompson, 3/28/08,                    May
                                                                  Abbott Ex. 1017

9760   5/31/2005   CMS Drug Pricing Case Study, Expert            S. Schondelmeyer,       EXP SCHO ABT     May
                   Conference Call                                5/21/09, Ex. Abbott     000999-1001
                                                                  Schondelmeyer 7
9770   9/26/2008   Medicare Claims Processing Manual, Chapter                                              Expect
                   20 - Durable Medical Equipment, Prosthetics,
                   Orthotics, and Supplies (DMEPOS)

9772   7/24/2009    Medicare Claims Processing Manual, Chapter                                             Expect
                    25 - Completing and Processing the Form CMS-
                    1450 Data Set
9773   9/4/2009     Medicare Claims Processing Manual, Chapter 1                                           Expect
                    - General Billing Requirements
9774   9/25/2009 Federal Upper Limit (FUL) Changes to                                                      May
                    Transmittal No. 37, Current as of 9/25/09
9775   10/16/2009 Medicare Claims Processing Manual, Chapter                                               Expect
                    17 - Drugs and Biologicals
9776   Multiple     Collection of letters from Dey, L.P. to Pricing WI, M. Rowlands,      WI-PROD-AWP-     Expect
       dates (2001- Database Administrator                          11/1/07, Exhibit      128207-217
       2003)                                                        Rowlands 23

9778   Undated    Memo From Michael Hash, Deputy              R. Niemann, 11/19/09,       HHD340-0031-34   May
                  Administrator to Kevin Thurm                Abbott Ex. 1185
9779   1/24/1997 Bid Price Worksheet (Excerpt from Brookshire                             DL-TX-0010098    May
                  Grocery Company Pricing File)
9780   7/18/1997 Contract Modification Letter (Excerpt from                               DL-TX-0010085    May
                  Brookshire Grocery Company Pricing File)
9781   12/31/1997 Contract Modification Letter (Excerpt from                              DL-TX-0010064    May
                  Brookshire Grocery Company Pricing File)
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9782   3/18/1998  Contract Award Chart (Excerpt from                   DL-TX-0010047-48    May
                  Brookshire Grocery Company Pricing File)
9783   12/18/1998 Contract Modification Letter (Excerpt from           DL-TX-0010032       May
                  Brookshire Grocery Company Pricing File)
9784   3/31/1999 Contract Modification Letter (Excerpt from            DL-TX-0009997-998   May
                  Brookshire Grocery Company Pricing File)
9785   1/23/1997 Bid Price Worksheet (Excerpt from Brookshire          DL-TX-0010097-98    May
                  Grocery Company Pricing File)
9786   7/16/1997 Bid Price Worksheet (Excerpt from Brookshire          DL-TX-0010088-89    May
                  Grocery Company Pricing File)
9787   12/21/1998 Contract Modification Memo with Attachment           DL-TX-0002661-662   May
                  (Excerpt from AHT Pricing File)

9788   No Date    Alabama Pharmacy Cooperative Info Sheet              DL-TX 0002960       May
                  (Excerpt from Alabama Pharmacy Cooperative,
                  INC Pricing File)
9789   11/7/1997 Fax dated 11/7/1997 from Alabama Pharmacy             DL-TX-0002946       May
                  Coop., Inc., to Daulong, entitled Automatic
                  Substitution First Right of Refusal on Lowest
                  Price
9790   11/17/1997 Contract Modification Memo with Attachment           DL-TX-0002940-41    May
                  (Excerpt from Alabama Pharmacy Cooperative,
                  INC Pricing File)
9791   6/10/1998 Contract Award Memo with                              DL-TX-0003219-221   May
                  Attachment(Excerpt from Alabama Pharmacy
                  Cooperative, INC Pricing File)
9792   2/4/1997   Contract Modification Memo with Attachment           DL-TX-0003046-47    May
                  (Excerpt from Alabama Pharmacy Cooperative,
                  INC Pricing File)
9793   5/21/1997 Contract Modification Memo with Attachment            DL-TX-0003035-3036 May
                  (Excerpt from Alabama Pharmacy Cooperative,
                  INC Pricing File)
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9794   3/5/1999   Contract Modification Letter (Excerpt from           DL-TX-0003137       May
                  Alabama Pharmacy Cooperative, INC Pricing
                  File)
9795   3/5/1999   Contract Modification Memo wtith Attachment          DL-TX-0003139-147   May
                  (Excerpt from Alabama Pharmacy Cooperative,
                  INC Pricing File)
9821   3/12/1997 Contract Award Sheet (Excerpt from                    DL-TX-0032090       May
                  MedPartners, Inc. Pricing File)
9822   1/1/1998   Contract Award Sheet (Excerpt from                   DL-TX-0032091       May
                  MedPartners, Inc. Pricing File)
9823   4/2/1998   Contract Modification Memo (Excerpt from             DL-TX-0032332       May
                  MedPartners, Inc. Pricing File)
9824   3/31/1998 Bid Price Worksheet (Excerpt from                     DL-TX-0032337-38    May
                  MedPartners, Inc. Pricing File)
9825   12/24/1998 Contract Award Chart (Excerpt from                   DL-TX-0032128       May
                  MedPartners, Inc. Pricing File)
9826   1/22/1999 Contract Modification Memo (Excerpt from              DL-TX-0032133       May
                  MedPartners, Inc. Pricing File)
9827   3/19/1997 Contract Modification Memo(Excerpt from               DL-TX-0033180       May
                  Minyard Food Stores Pricing File)
9828   7/18/1997 Contract Modification Memo(Excerpt from               DL-TX33170-00       May
                  Minyard Food Stores Pricing File)
9829   7/18/1997 Bid Price Worksheet (Excerpt from Minyard             DL-TX-0033172-73    May
                  Food Stores Pricing File)
9830   12/18/1998 Contract Modification Memo(Excerpt from              DL-TX-0033144       May
                  Minyard Food Stores Pricing File)
9831   3/31/1999 Contract Modification Memo(Excerpt from               DL-TX-0033131-32    May
                  Minyard Food Stores Pricing File)
9832   3/15/1995 Medicap Pharmacy Store List (Excerpt                  DL-TX-0032729-31    May
                  Medicap Pharmacies Pricing File)
9833   2/4/1997   Contract Modification Memo (Excerpt                  DL-TX-0032609       May
                  Medicap Pharmacies Pricing File)
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9834   1/5/1998    Contract Modification Memo (Excerpt                 DL-TX-0032575      May
                   Medicap Pharmacies Pricing File)
9835   4/21/1998   Contract Modification Memo (Excerpt                 DL-TX-0032511      May
                   Medicap Pharmacies Pricing File)
9836   4/1/1999    Contract Modification Memo (Excerpt                 DL-TX-0032563      May
                   Medicap Pharmacies Pricing File)
9837   3/26/1999   Bid Price Worksheet (Excerpt Medicap                DL-TX-0032564-65   May
                   Pharmacies Pricing File)
9848   3/14/1997   Contract Modification Memorandum (Excerpt           DL-TX-0036986      May
                   from Pace Alliance Pricing File)
9849   4/8/1997    Contract Modification Memorandum (Excerpt           DL-TX-0036976      May
                   from Pace Alliance Pricing File)
9850   3/25/1997   Bid Price Worksheet (Excerpt from Pace              DL-TX-0036982-84   May
                   Alliance Pricing File)
9851   8/21/1997   Contract Modification Memorandum (Excerpt           DL-TX-0036946      May
                   from Pace Alliance Pricing File)
9852   8/14/1997   Bid Price Worksheet (Excerpt from Pace              DL-TX-0036952-53   May
                   Alliance Pricing File)
9853   9/30/1997   Contract Award Memorandum and Attachment            DL-TX-0036907-08   May
                   (Excerpt from Pace Alliance Pricing File)

9854   10/6/1998   Contract Modification Memorandum (Excerpt           DL-TX-0036823      May
                   from Pace Alliance Pricing File)
9855   2/26/1999   Contract Modification Memorandum (Excerpt           DL-TX-0036812      May
                   from Pace Alliance Pricing File)
9873   3/15/1997   Contract Modification Memo (Excerpt from            DL-TX-0041029      May
                   PharmaGen c/o HD Smith Source Program
                   Pricing File)
9874   7/8/1997    Contract Modification Memo (Excerpt from            DL-TX-0041007      May
                   PharmaGen c/o HD Smith Source Program
                   Pricing File)
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9875   6/26/1997   Bid Price Worksheet (Excerpt from PharmaGen         DL-TX-0041011-12   May
                   c/o HD Smith Source Program Pricing File)

9876   9/2/1907   Contract Modification Memo (Excerpt from             DL-TX-0040995      May
                  PharmaGen c/o HD Smith Source Program
                  Pricing File)
9877   1/7/1998   Contract Modification Memo (Excerpt from             DL-TX-0040964      May
                  PharmaGen c/o HD Smith Source Program
                  Pricing File)
9878   6/5/1998   Award Confirmation Letter with Attachment            DL-TX-0040928-29   May
                  (Excerpt from PharmaGen c/o HD Smith
                  Source Program Pricing File)
9879   10/12/1998 Contract Modification Memo (Excerpt from             DL-TX-0040905      May
                  PharmaGen c/o HD Smith Source Program
                  Pricing File)
9880   10/7/1998 Bid Price Worksheet (Excerpt from PharmaGen           DL-TX-0040911-12   May
                  c/o HD Smith Source Program Pricing File)

9881   1/14/1999  Contract Modification Memo (Excerpt from             DL-TX-0040892      May
                  PharmaGen c/o HD Smith Source Program
                  Pricing File)
9882   8/23/1999 Contract Modification Memo (Excerpt from              DL-TX-0040815      May
                  PharmaGen c/o HD Smith Source Program
                  Pricing File)
9883   1/31/1997 Contract Modification Memo (Excerpt from              DL-TX-0044757      May
                  ProVantage Mail Service Pricing File)
9884   11/5/1997 Contract Modification Memo (Excerpt from              DL-TX-0044746      May
                  ProVantage Mail Service Pricing File)
9885   10/30/1997 Bid Price Worksheet (Excerpt from ProVantage         DL-TX-0044749-50   May
                  Mail Service Pricing File)
9886   1/5/1998   Contract Modification Memo (Excerpt from             DL-TX-0044742      May
                  ProVantage Mail Service Pricing File)
                       Case 1:01-cv-12257-PBS Document 7077-2 Filed 04/26/10 Page 160 of 179




9887   3/3/1998   Contract Modification Memo (Excerpt from              DL-TX-0044736      May
                  ProVantage Mail Service Pricing File)
9888   11/11/1997 Purchase Agreement Between Dey Lab and                DL-TX-0044789-90   May
                  Provantage Prescription Management Services
                  (Excerpt from ProVantage Mail Service Pricing
                  File)
9889   1/14/1999 Contract Modification Memo (Excerpt from               DL-TX-0044716      May
                  ProVantage Mail Service Pricing File)
9890   4/14/1999 Contract Modification Memo (Excerpt from               DL-TX-0044689      May
                  ProVantage Mail Service Pricing File)
9891   2/19/1997 Contract Modification Memo (Excerpt from               DL-TX-0044959      May
                  Prudential Healthcare Pharmacy Services
                  Pricing File)
9892   4/10/1997 Contract Modification Memo (Excerpt from               DL-TX-0044947      May
                  Prudential Healthcare Pharmacy Services
                  Pricing File)
9893   3/19/1997 Bid Price Worksheet (Excerpt from Prudential           DL-TX-44955-56     May
                  Healthcare Pharmacy Services Pricing File)

9894   12/31/1997 Contract Modification Memo (Excerpt from              DL-TX-0044866      May
                  Prudential Healthcare Pharmacy Services
                  Pricing File)
9895   12/21/1998 Contract Modification Memo (Excerpt from              DL-TX-0044864      May
                  Prudential Healthcare Pharmacy Services
                  Pricing File)
9910   2/27/1997 Contract Modification Memo (Excerpt from Rx            DL-TX-0046272      May
                  Plus Pharmacies Pricing File)
9911   7/1/1997   Contract Award Memo with Attachment                   DL-TX-0046251-52   May
                  (Excerpt from Rx Plus Pharmacies Pricing File)

9912   6/23/1997   Bid Price Worksheet (Excerpt from Rx Plus            DL-TX-0046269-70   May
                   Pharmacies Pricing File)
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9913   1/5/1998   Contract Modification Memo (Excerpt from Rx          DL-TX-0046245      May
                  Plus Pharmacies Pricing File)
9914   10/30/1998 Contract Modification Memo (Excerpt from Rx          DL-TX-0046220      May
                  Plus Pharmacies Pricing File)
9915   5/3/1999   Contract Award Chart (Excerpt from Rx Plus           DL-TX-0046219      May
                  Pharmacies Pricing File)
9916   7/15/1999 Contract Modification Memo (Excerpt from Rx           DL-TX-0046207      May
                  Plus Pharmacies Pricing File)
9917   7/12/1999 Bid Price Worksheet (Excerpt from Rx Plus             DL-TX-0046209-10   May
                  Pharmacies Pricing File)
9918   7/1/2001   Contract Award Chart (Excerpt from Rx Plus           DL-TX-0147867      May
                  Pharmacies Pricing File)
9919   2/1/2002   Contract Award Chart (Excerpt from Rx Plus           DL-TX-0147856      May
                  Pharmacies Pricing File)
9920   2/4/1997   Contract Modification Memo (Excerpt from             DL-TX-0050428      May
                  Union Pacific Railroad Emp. Health System
                  Pricing File)
9921   4/2/1997   Bid Price Worksheet (Excerpt from Union              DL-TX-0050422-23   May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9922   4/8/1997   Executive Summary (Excerpt from Union                DL-TX-0050425      May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9923   12/31/1997 Contrcact Modification Memo (Excerpt from            DL-TX-0050381      May
                  Union Pacific Railroad Emp. Health System
                  Pricing File)
9924   6/5/1998   Contract Award Memo (Excerpt from Union              DL-TX-0050330-31   May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9925   1/1/2000   Contract Award Chart (Excerpt from Union             DL-TX-0050276      May
                  Pacific Railroad Emp. Health System Pricing
                  File)
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9926   7/1/2001   Contract Award Chart (Excerpt from Union              DL-TX-0149226      May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9927   12/12/2001 Contract Modification Letter (Excerpt from            DL-TX-0149210      May
                  Union Pacific Railroad Emp. Health System
                  Pricing File)
9928   11/1/2002 Contract Award Chart (Excerpt from Union               DL-TX-0149162      May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9952   7/1/2001   Contract Award Chart (Excerpt from Virginia           DL-TX-0149403      May
                  Pharmacy Network Pricing File)
9953   2/22/2002 Contract Modification Letter w/Attachment              DL-TX-0149382-83   May
                  (Excerpt from Virginia Pharmacy Network
                  Pricing File)
9954   9/12/2002 Contract Award Chart (Excerpt from Virginia            DL-TX-0149327      May
                  Pharmacy Network Pricing File)
9955   1/27/2003 Contract Modification Letter (Excerpt from             DL-TX-0149404      May
                  Virtual Health c/o Amerisource Bergen Pricing
                  File)
9956   5/9/2001   Contract Award Chart (Excerpt from Wal-Mart           DL-TX-0150594      May
                  Stores, Inc. Pricing File)
9957   2/22/2002 Contract Modifcation Letter w/Attachment               DL-TX-015076-77    May
                  (Excerpt from Wal-Mart Stores, Inc. Pricing
                  File)
9958   2/21/2002 Bid Price Worksheet (Excerpt from Wal-Mart             DL-TX-0150578-79   May
                  Stores, Inc. Pricing File)
9959   12/13/2001 Contract Modification Letter w/Attachment             DL-TX-0150610-11   May
                  (Excerpt from Wegmans Pharmacy Pricing
                  File)
9960   12/13/2001 Contract Modification Memo (Excerpt from              DL-TX-0150608-09   May
                  Wegmans Pharmacy Pricing File)
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9961    1/1/2003   Contract Award Chart (Excerpt from Wegmans            DL-TX-0150596      May
                   Pharmacy Pricing File)
9962    1/31/1997 Contract Modification Memo (Excerpt from               DL-TX-0050876      May
                   Value-Rx Mail Service Pharmacies pricing
                   File)
9963    1/13/1997 Bid Price Worksheet (Excerpt from Value-Rx             DL-TX0050883-84    May
                   Mail Service Pharmacies pricing File)
9964    8/20/1997 Contract Modification Memo (Excerpt from               DL-TX-0050867      May
                   Value-Rx Mail Service Pharmacies pricing
                   File)
9965    8/12/1997 Bid Price Worksheet (Excerpt from Value-Rx             DL-TX-0050872-73   May
                   Mail Service Pharmacies pricing File)
9966    12/17/1997 Contract Modification Memo (Excerpt from              DL-TX-0050857      May
                   Value-Rx Mail Service Pharmacies pricing
                   File)
9967    12/13/1997 Bid Price Worksheet (Excerpt from Value-Rx            DL-TX-0050858-59   May
                   Mail Service Pharmacies pricing File)
9968    1/7/1998   Contract Modification Memo (Excerpt from              DL-TX-0017308      May
                   Defense Personnel Support Center Pricing File)

9969    2/11/1998   Contract Modification Letter (Excerpt from           DL-TX-0017301      May
                    Defense Personnel Support Center Pricing File)

9970    3/18/1998   Contract Modification Letter (Excerpt from           DL-TX-0017623      May
                    Defense Personnel Support Center Pricing File)

10031   4/4/1997   Contract Modification Letter (Excerpt from            DL-TX-0053270      May
                   Veteran's Administration Pricing for
                   Ipratropium Pricing File)
10032   12/18/1997 Contract Extension Memo w/Attachment                  DL-TX-0053187-88   May
                   (Excerpt from Veteran's Administration Pricing
                   for Ipratropium Pricing File)
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10033   1/14/1997   Bid Price Worksheet (Excerpt from Veteran's          DL-TX-0053161-62   May
                    Administration Pricing for Ipratropium Pricing
                    File)
10034   1/23/1998   Bid Price Worksheet (Excerpt from Veteran's          DL-TX-0053098-99   May
                    Administration Pricing for Ipratropium Pricing
                    File)
10035   1/29/1998   Contract Modification Letter (Excerpt from           DL-TX-0053094      May
                    Veteran's Administration Pricing for
                    Ipratropium Pricing File)
10036   3/5/1998    Customer Of Comparability Letter                     DL-TX-0052626-27   May
                    w/Attachment (Excerpt from Veteran's
                    Administration Pricing for Ipratropium Pricing
                    File)
10037   3/11/1998   Contract Extension Letter w/Attachment               DL-TX-0053067-68   May
                    (Excerpt from Veteran's Administration Pricing
                    for Ipratropium Pricing File)
10038   6/8/1998    Request For Modificaiton Form w/Attachment           DL-TX-0053078-80   May
                    (Excerpt from Veteran's Administration Pricing
                    for Ipratropium Pricing File)

10039   10/19/1998 Federal Supply Schedule Memo w/Attachment             DL-TX-0052506-32   May
                   (Excerpt from Veteran's Administration Pricing
                   for Ipratropium Pricing File)

10040   6/10/1999   Contract Modification Letter (Excerpt from           DL-TX-0051883      May
                    Veteran's Administration Pricing for
                    Ipratropium Pricing File)
10041   1/31/2000   Contract Modification Memo (Excerpt from             DL-TX-0051719      May
                    Veteran's Administration Pricing for
                    Ipratropium Pricing File)
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10042   1/13/2000   Bid Price Worksheet (Excerpt from Veteran's          DL-TX-0051715-16   May
                    Administration Pricing for Ipratropium Pricing
                    File)
10043   11/1/1998   Request For Modification Form w/Attachment           DL-TX-0051702-05   May
                    (Excerpt from Veteran's Administration Pricing
                    for Ipratropium Pricing File)

10044   4/25/2000  Contract Modification Letter w/Attachment             DL-TX-0051628-37   May
                   (Excerpt from Veteran's Administration Pricing
                   for Ipratropium Pricing File)
10045   3/30/2000 Bid Price Worksheet (Excerpt from Veteran's            DL-TX-0051639-40   May
                   Administration Pricing for Ipratropium Pricing
                   File)
10046   10/1/1999 Contract Clarification Letter (Excerpt from            DL-TX-0051763-64   May
                   Veteran's Administration Pricing for
                   Ipratropium Pricing File)
10047   1/31/1997 Contract Modification Memo (Excerpt from               DL-TX-0020296      May
                   Express Scripts Pricing File)
10048   11/24/1997 Contract Award Memo w/Attachment (Excerpt             DL-TX-0020196-97   May
                   from Express Scripts Pricing File)
10049   12/4/1998 Contract Modification Letter (Excerpt from             DL-TX-0020161      May
                   Express Scripts Pricing File)
10050   11/29/1998 Contract Modification Lettrer (Excerpt from           DL-TX-0020122      May
                   Express Scripts Pricing File)
10051   3/22/1999 Contract Modification Letter (Excerpt from             DL-TX-0020111      May
                   Express Scripts Pricing File)
10052   11/16/1998 Bid Price Worksheet (Excerpt from Express             DL-TX-0020018-19   May
                   Scripts Pricing File)
10053   3/16/1999 Bid Price Worksheet (Excerpt from Express              DL-TX-0020116-17   May
                   Scripts Pricing File)
10054   5/1/2001   Contract Award Sheet (Excerpt from                    DL-TX-0135016      May
                   Computerx Pricing File)
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10055   12/27/2001 Contract Modification Letter w/Attachment            DL-TX-0134973-74    May
                   (Excerpt from ComputerxPricing File)
13455              Cardinal wholesaler data                             Previously disclosed Expect
                                                                        with Expert Report of
                                                                        Bradford
13456              McKesson wholesaler data (14 state                   Previously disclosed Expect
                   production)                                          with Expert Report of
                                                                        Bradford
13457              McKesson wholesaler data (37 state                   Previously disclosed Expect
                   production)                                          with Expert Report of
                                                                        Bradford
13458              First DataBank data                                  Previously disclosed Expect
                                                                        with Expert Reports of
                                                                        Bradford, Stiroh
13459              Medi-Span data                                       Previously disclosed Expect
                                                                        with Expert Reports of
                                                                        Bradford, Stiroh
13460              RedBook data                                         Previously disclosed Expect
                                                                        with Expert Reports of
                                                                        Bradford, Stiroh
13461              AMP data                                             Previously disclosed Expect
                                                                        with Expert Reports of
                                                                        Bradford, Stiroh
13463              Dey direct data (1992-2007 Q4)                       Previously disclosed Expect
                                                                        with Expert Report of
                                                                        Bradford
13464              Dey indirect data (1992-2007 Q3)                     Previously disclosed Expect
                                                                        with Expert Report of
                                                                        Bradford
13465              Dey internal pricing data, sales and transactions    Previously disclosed Expect
                   data, chargeback data, and wholesaler activity       with Expert Report of
                   data                                                 Stiroh
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13466            Grant Thornton data                                  Previously disclosed    May
                                                                      with Expert Report of
                                                                      Bradford
13467            Medical CPI data from BLS                            Previously disclosed    May
                                                                      with Expert Report of
                                                                      Bradford
13468            Medicare Carrier claims data                         Previously disclosed    Expect
                                                                      with Expert Report of
                                                                      Bradford
13469            Medicare DMERC claims data                           Previously disclosed    Expect
                                                                      with Expert Report of
                                                                      Bradford
13470            Medicare Outpatient claims data                      Previously disclosed    Expect
                                                                      with Expert Report of
                                                                      Bradford
13471            Medicare PSPS summary claims data - through          Previously disclosed    May
                 2005                                                 with Expert Report of
                                                                      Bradford
13472            MSIS data                                            Previously disclosed    May
                                                                      with Expert Report of
                                                                      Bradford
13473            NPC state reimbursement policies                     Previously disclosed    May
                                                                      with Expert Report of
                                                                      Bradford
13476            Federal Supply Schedule data                         Previously disclosed    Expect
                                                                      with Expert Report of
                                                                      Stiroh
13477            IMS sales data                                       Previously disclosed    Expect
                                                                      with Expert Report of
                                                                      Stiroh
13478   9/1989   State Medicaid Manual Part 6 - Payment for           HHD093-0088-93          May
                 Services Transmittal No. 15
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13480               Packaging for Albuterol                                                                 May
13481               Packaging for Cromolyn                                                                  May
13482               Packaging for Ipratropium Bromide                                                       May
13483   1990        Dey Internal Financial Report                                         DEYBO-0230657-690 May

13484   1991        Dey Internal Financial Report                                         DEYBO-0230691-726 May

13485   1992        Dey Internal Financial Report                                         DEYBO-0230727-759 May

13486   1992        42 C.F.R. § 405.517 (1992)                                                              May
13488   1993        Dey Internal Financial Report                                         DEYBO-0230760-795 May

13499   12/13/1977 Excerpt from Medicaid and Medicare Guide re: Tawes, 4/24/07, Abbott                       May
                   HCFA Action Transmittal "Title XIX, Social Ex. 127
                   Security Act: Limitation on Payment or
                   Reimbursement for Drugs: Estimated
                   Acquistion Cost (EAC)" (HCFA-AT-77-113
                   (MMB))
13501   9/1984      Medicaid Action Transmittal No. 84-12           Morris, 8/29/07, Abbott HHC011-2200-01   May
                                                                    Ex. 269
13503   9/12/1985   Letter and attachments from T. Shulman,                                                  May
                    Associate Regional Administrator, Division of
                    Program Operations, DHHS, to C. Perales,
                    Commissioner, NYS Dep't of Social Services

13504   9/17/1985   Letter from T. Shulman, HCFA, to C. Perales, NY, C. Cioppa, 3/10/10, A-1769-70           May
                    New York State Department of Social Services Cioppa Ex. 9
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13506   2/4/1986    Letter from John Rodriguez, Deputy Director CA, J. Terra, 12/4/08,   HHC016-0098-99   May
                    of Medical Care Services at California DHS, to Terra Ex. 3
                    John O'Hara, Jr., Associate Regional
                    Administrator at HCFA, regarding draft EAC
                    Survey Report for Medi-Cal

13508   9/22/1989   Letter from J. Rodriguez, Deputy Director of CA, Defs' Joint Sur-    RM-189-90        May
                    Medical Care Services at California DHS, to L. Reply Opp. S.J.,
                    McDonough, Associate Regional                  1/29/10, Ex. 65
                    Administrator, Division of Medicaid, Health
                    Care Financing Administration

13509   11/19/1990 Letter from A. O'Leary, Associate Regional                                             May
                   Administrator, Division of Medicaid, DHHS, to
                   J. Costantino, Deputy Commissioner, Division
                   of Medical Assistance, NYS DSS

13510   6/5/1991   56 Fed. Reg. 25792 - Proposed Rules          Niemann, 9/14/07,                         May
                   Regarding the Medicare Program; Fee          Abbott Ex. 298
                   Schedule for Physicians' Services
13511   6/5/1991   56 Fed. Reg. 25792 - Proposed Rules for                                                May
                   Medicare Program; Fee Schedule for
                   Physicians' Services
13513   8/10/1993 42 U.S.C. § 1396r-8                                                                     Expect
13514   12/15/1993 Letter from T. Ault, HCFA Director of Bureau                          HHC003-0570      May
                   of Policy Development, to R. Grousky, Mayo
                   Foundation Medicare Coordinator

13515   4/1994      Dey's Product Advertisement for Cromolyn                             DEY-BO-0152922   May
                    Sodium Inhalation USP
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13516   6/1994      Excerpt from Lippincott's Hospital Pharmacy                                            May
                    re: Dey's Product Advertisement for Cromolyn
                    Sodium Inhalation USP
13517   7/1994      Excerpt from Pharmacy Times re: Dey's                                                  May
                    Product Advertisement for Cromolyn Sodium
                    Inhalation USP
13518   8/30/1994   Conference program for State, HCFA, OIG        P. Chesser, 6/24/08,   HHD144-0340      May
                    Conference, Medicaid Outpatient Prescription Roxane Ex. 84
                    Drug Program, Richmond, VA
13519   8/30/1994   List of attendees for Nationwide Average       P. Chesser, 6/24/08,   HHD142-0247      May
                    Wholesale Price Review Conference              Roxane Ex. 85
13520   9/1994      Excerpt from Pharmacy Times re: Dey's                                                  May
                    Product Advertisement for Cromolyn Sodium
                    Inhalation USP
13521   9/1994      Dey's Product Advertisement for a Full Line of                        DEY-BO-0256203   May
                    Albuterol Inhalation Products
13522   9/1994      Dey's Product Advertisement for a Full Line of                        DEY-BO-0256207-10 May
                    Albuterol Inhalation Products
13523   9/1994      Dey's Product Advertisement for a Full Line of                        DEY-BO-0256206   May
                    Albuterol Inhalation Products
13524   9/1994      Excerpt from Lippincott's Hospital Pharmacy                                            May
                    re: Dey's Product Advertisement for Cromolyn
                    Sodium Inhalation USP
13525   10/1994     Excerpt from Pharmacy Times re: Dey's                                                  May
                    Product Advertisement for Cromolyn Sodium
                    Inhalation USP
13526   11/1994     Excerpt from Lippincott's Hospital Pharmacy                                            May
                    re: Dey's Product Advertisement for Cromolyn
                    Sodium Inhalation USP
13527   12/1994     Dey's Product Advertisement for Unit-Dose                             DEY-BO-0257693-94 May
                    Albuterol Sulfate Inhalation Solution 0.083%
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13528   12/1994     Dey's Product Advertisement for Albuterol            DEY-BO-0256112    May
                    Inahalation Aerosol
13529   12/1994     Dey's Product Advertisement for Albuterol            DEY-BO-0256188    May
                    Products
13530   12/1994     Dey's Product Advertisement for Albuterol            DEY-BO-0256131    May
                    Inahalation Aerosol
13535   12/1995     Dey's Product Advertisement for Albuterol            DEY-BO-0256197    May
                    Products
13536   1/1996      Dey's Product Advertisement for Albuterol            DEY-BO-0256109-110 May
                    Inahalation Aerosol
13537   1/1996      Dey's Product Advertisement for Albuterol            DEY-BO-0256177-78 May
                    Products
13538   2/1996      Excerpt from The Journal of Respiratory                                May
                    Diseases re: Dey's Product Advertisement for
                    Albuterol Inhalation Aerosol
13539   2/1996      Excerpt from The Journal of Allergy and                                May
                    Clinical Immunology re: Dey's Product
                    Advertisement for Albuterol Inhalation Aerosol

13540   2/1996      Excerpt from Formulary (The Journal for                                May
                    Managed Care and Hospital Decision Makers)
                    re: Dey's Product Advertisement for Albuterol
                    Inhalation Aerosol
13541   2/1996      Excerpt from Lippincott's Hospital Pharmacy                            May
                    re: Dey's Product Advertisement for Albuterol
                    Inhalation Aerosol
13542   2/19/1996   Excerpt from Drug Topics re: Dey's Product                             May
                    Advertisement for Albuterol Inhalation Aerosol

13543   3/1996      Excerpt from The Journal of Respiratory                                May
                    Diseases re: Dey's Product Advertisement for
                    Albuterol Inhalation Aerosol
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13544   3/1996      Dey's Product Advertisement for Albuterol                               DEY-BO-0256277    May
                    Inahalation Aerosol
13545   3/1996      Excerpt from Lippincott's Hospital Pharmacy                                               May
                    re: Dey's Product Advertisement for Albuterol
                    Inhalation Aerosol
13546   3/4/1996    Excerpt from Drug Topics re: Dey's Product                                                May
                    Advertisement for Albuterol Inhalation Aerosol

13547   4/1996      Excerpt from Formulary (The Journal for                                                   May
                    Managed Care and Hospital Decision Makers)
                    re: Dey's Product Advertisement for Albuterol
                    Inhalation Aerosol
13548   4/1996      Excerpt from Lippincott's Hospital Pharmacy                                               May
                    re: Dey's Product Advertisement for Albuterol
                    Inhalation Aerosol
13549   5/1996      Excerpt from The Journal of Respiratory                                                   May
                    Diseases re: Dey's Product Advertisement for
                    Albuterol Inhalation Aerosol
13551   5/20/1996   Excerpt from Drug Topics re: Dey's Product                                                May
                    Advertisement for Albuterol Inhalation Aerosol

13552   6/1996      Dey's Product Advertisement for Cromolyn                                DEY-BO-0254634    May
                    Sodium Inhalation Solution USP
13554   2/13/1997   Excerpt from the United States Senate            N. DeParle, 5/18/07,                     May
                    Committee on Finance - Testimony of D.           Abbott Ex. 204
                    Shalala
13555   4/8/1997    Letter and attachments from McKesson to          NY, Factor, 6/20/08,   WAT000056346-60   May
                    Schein Pharmaceuticals                           Factor Ex. 2
13557   6/12/1997   Fax and attachment from Z. Bentley and M.        B. Vladeck, 5/4/07,    R2-040813-16      May
                    Jones to J. Brown                                Abbott Ex. 17
13558   7/10/1997   Letter from Z. Bentley, T. Jones and J.          B. Vladeck, 5/4/07,    R2-040909-10      May
                    Lockwood to B. Vladeck                           Abbott Ex. 163
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13559   8/5/1997    42 U.S.C. § 1396r-8                                                                     Expect
13560   8/13/1997   Fax and attachment from Z. Bentley and M.       B. Vladeck, 5/4/07,    R2-040917-922    May
                    Jones to B. Vladeck                             Abbott Ex. 162
13561   8/27/1997   Routing and Transmittal Slip to R. Vito with an Vito, 12/5/08, Dey Ex. HHD060-0711-30   May
                    attached OIG Report - Medicaid Pharmacy:        41
                    Actual Acquisition Cost of Generic
                    Prescription Drug Products (A-06-97-00011)

13562   12/5/1997  Memorandum from June Gibbs Brown to           N. DeParle, 5/18/07,   HHD009-0258-59      May
                   Nancy-Ann Min DeParle re: OIG Final Report - Abbott Ex. 2A
                   "Excessive Medicare Payments for Prescription
                   Drugs"
13569   7/1998     OIG Report - The Impact of High-Priced        Tawes, 4/24/07, Abbott HHD014-0071-96      May
                   Generic Drugs on Medicare and Medicaid        Ex. 099
13571   8/25/1999 Excerpt from Red Book™ Database Services K. Minne, 11/18/08,          RB 00803-07, RB     May
                   Database Overview Manual                      Minne Ex. 79           00853-56, RB 00873-
                                                                                        74
13574   11/29/1999 42 U.S.C. § 1396r-8                                                                      Expect
13575   4/2000     First DataBank NDDF (National Drug Data       MA, Chadwick,          MA014430-15049      May
                   File)™ Documentation Manual                   10/24/07, Chadwick Ex.
                                                                 3
13577   5/15/2000 42 U.S.C. § 1396r-8                                                                       Expect
13578   5/25/2000 Form Letter from Pharmacy Groups and Home- Tawes, 4/24/07, Abbott HHD006-0698-700         May
                   Infusion Groups to State Medicaid Pharmacy Ex. 148
                   Directors
13579   2/22/1996 Dey Laboratories Memorandum from S.                                   DEY-LABS-0419045- May
                   Robertson to M. Anderle re: Mike Ricks                               46
13580   3/12/1996 Dey Laboratories Memorandum from S.                                   DEY-LABS-0419047- May
                   Robertson to A. Villegas re: Mike Ricks' MCI                         48
                   Telephone Credit Card Activity
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13582   11/13/2000 Letter from D. Bachrach to G. McMillan,        NY, C. Cioppa, 3/11/10, PSSNY 00667-72      May
                   NYSDOH re: Implementation of Lowered           Cioppa Ex. 53
                   Reimbursement Rates for Medicaid
                   Prescription Drugs
13583   12/14/2000 Pharmacy Technical Advisory Group (TAG)                                VDP_0149530-32      May
                   Conference Call Minutes
13585   4/2001     Red Book™ Database Services Database           K. Minne, 11/19/08,     TH Confidential 001- May
                   Overview Manual                                Minne Ex. 83            072
13587   8/15/2001 Document entitled "Federal Upper Limit          Gaston, 3/19/08, NY     HHD175-1492          May
                   System"                                        Counties Defendants
                                                                  Ex. 5
13588   8/15/2001   Document entitled "Federal Upper Limit        Gaston, 3/19/08, NY     HHD175-2110         May
                    System"                                       Counties Defendants
                                                                  Ex. 6
13589   8/21/2001   Document entitled "Federal Upper Limit        Gaston, 3/19/08, NY     HHD175-0849         May
                    System"                                       Counties Defendants
                                                                  Ex. 2
13590   8/31/2001   Fax cover sheet from Ben Jackson to Gordon    Jackson, 12/12/08,      HHD182-0093-95      May
                    Sato and Bill Shrigley attaching Wall Street  Roxane Ex. 210
                    Journal article entitled "Medicaid is
                    Overpaying for Drugs"
13592   10/2001     Letter and attachment from Dey, L.P. to      ID, P. Leary, 3/30/10,   ID026036-38         May
                    Medicaid Administrator re: New Product       Ex. Leary 052
                    Announcement for AccuNeb™
13603   2/20/2003   Fax Back Survey from Marshland Pharmacy to WI, C. Decker,             PSW_00005445        May
                    the Pharmacy Society of Wisconsin            12/11/06, PSW Ex. 5

13604   4/1/2003    Letter from Dey, L.P. to Pricing Database                             DEYLABS-0293246- May
                    Administrator re: Dey's Ipratropium Nasal                             47
                    Spray
13605   4/2/2003    Email from D. Chiu, First DataBank, to R.                             EDEYBO-0659247-48 May
                    Johnston, Dey
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13608   2/19/2004   CMS Memorandum from J. White to All                                     HHD043-0005-0007,    May
                    Center and Office Directors and Regional                                HHD912-0002,
                    Administrators re: Document Preservation and                            HHD912-0004-25
                    Production - Lupron Marketing and Sales
                    Practices Litigation, and Pharmaceutical
                    Industry Average Wholesale Price Litigation

13616   10/2004    OIG Report - Applying the National Correct                                                    May
                   Coding Initiative to Medicaid Services (OEI-03-
                   02-00790)
13618   4/1/1996   Dey Laboratories Memorandum from S.                                      DEY-LABS-0419044 May
                   Robertson to M. Ricks, Sr. re: Suspension with
                   Pay
13621   4/3/1996   Dey Laboratories Memorandum from S.                                      DEY-LABS-0419041- May
                   Robertson to M. Ricks, Sr. re: Termination of                            43
                   Employment
13623   9/28/2005 McKesson OneStop Generics Weekly Update NY, Factor, 6/20/08,              PAR-NY 1382777-80 May
                   SAV RX                                          Factor Ex. 6
13624   10/27/2005 Email and attachments from B. Eley, Executive AL, Cottrell, 8/30/07,     Ala Pharmacy          May
                   Director of Alabama Pharmacy Association, to Defendant's Ex. 492         Association 000054-71
                   members re: Call to Action - Medicaid Cuts

13625   2/8/2006   42 U.S.C. § 1396r-8                                                                           Expect
13627   12/20/2006 42 U.S.C. § 1396r-8                                                                           Expect
13628   12/31/2006 Brewton Medical Center Pharmacy, P.C.           AL, Cottrell, 8/30/07,   Brewton Med Center   May
                   Financial Statements & Supplementary            Cottrell Ex. 3           000002-58
                   Information
13629   1/2007     CBO Report - Prescription Drug Pricing in the                                                 May
                   Private Sector
13633   5/19/2008 Index titled "Pharmacy Final Reports Related     T. Hansen, 12/10/08,                          May
                   to Dispensing and Acquisition Cost Produced     Abbott-Hansen Ex. 7
                   by Myers and Stauffer"
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13635   6/6/2008    Revised Notice of Deposition of McKesson         NY, Factor, 6/20/08,                       May
                    Corporation filed in The City of New York v.     Factor Ex. 1
                    Abbott Labs., et al.
13644   4/8/2010    Order of Dismissal with Prejudice of the State                                              Expect
                    of Utah's Second Amended Complaint in State
                    of Utah v. Apotex Corp. et al
13645   4/8/2010    Order of Dismissal with Prejudice of the State                                              Expect
                    of Utah's Second Amended Complaint Against
                    the Generic Defendants in State of Utah v.
                    Apotex Corp. et al
13646   1/1994-     Single page cover sheet related to OIG audit,    P. Chesser, 6/24/08,   HHD021-0001         May
        12/1994     Medicaid Pharmacy Acquisition Cost               Roxane Ex. 77
13647   12/8/xxxx   Handwritten Notes                                Niemann, 10/11/07,     HHC007-0378-79      May
                                                                     Abbott Ex. 349
13648   1999-2001 First DataBank Standard License Agreement          MA, Chadwick,          FDB/Massachusetts   May
                  with Unisys Corporation and attachments            10/24/07, Chadwick Ex. 00868-869,
                                                                     2                      FDB/Massachusetts
                                                                                            00871-872,
                                                                                            FDB/Massachusetts
                                                                                            00874-883,
                                                                                            FDB/Massachusetts
                                                                                            00886,
                                                                                            FDB/Massachusetts
                                                                                            00889,
                                                                                            FDB/Massachusetts
                                                                                            00903
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13650   TBD   Summary charts by David Bradford, Ph.D.:                               May
              Figures 1-12, 29-40 and 44-47 from the March
              6, 2009 Expert Report of David Bradford,
              Figures 1-33 and 148-153 from the Appendices
              to the March 6, 2009 Expert Report of David
              Bradford, Figures 1-3 and 8-47 from the
              Declaration of David Bradford in Support of
              Dey's Motion for Partial Summary Judgment,
              and Figures A-C from the January 15, 2010
              Letter from D. Bradford to S. Reid


13651   TBD   Summary charts by Lauren Stiroh, Ph.D.: Table                          May
              1, Exhibits 5-6, Figures 1A-1K, Figures 2A-2K,
              Figures 3A-3K from the March 6, 2009 Expert
              Report of Lauren Stiroh, Figures A-K from the
              Declaration of Lauren Stiroh in Support of
              Dey's Motion for Partial Summary Judgment,
              and Figures S-A to S-K from the Supplemental
              Declaration of Lauren Stiroh in Support of
              Dey's Motion for Partial Summary Judgment



13652   TBD   Extracts of Cardinal wholesaler data                                   May
13653   TBD   Extracts of McKesson wholesaler data (14 state                         May
              production)
13654   TBD   Extracts of McKesson wholesaler data (37 state                         May
              production)
13655   TBD   Extracts of First DataBank data                                        May
13656   TBD   Extracts of Medi-Span data                                             May
13657   TBD   Extracts of RedBook data                                               May
13658   TBD   Extracts of AMP data                                                   May
13659   TBD   Extracts of Dey direct data (1992-2007 Q4)                             May
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13660   TBD       Extracts of Dey indirect data (1992-2007 Q3)                                         May

13661   TBD       Extracts of Dey internal pricing data, sales and                                     May
                  transactions data, chargeback data, and
                  wholesaler activity data
13662   TBD       Extracts of Grant Thornton data                                                      May
13663   TBD       Extracts of Medical CPI data from BLS                                                May
13664   TBD       Extracts of Medicare Carrier claims data                                             Expect
13665   TBD       Extracts of Medicare DMERC claims data                                               Expect
13666   TBD       Extracts of Medicare Outpatient claims data                                          Expect

13667   TBD       Extracts of Medicare PSPS summary claims                                             May
                  data - through 2005
13668   TBD       Extracts of MSIS data                                                                May
13669   TBD       Extracts of NPC state reimbursement policies                                         May

13670   TBD       Extracts of Federal Supply Schedule data                                             May
13671   TBD       Extracts of IMS sales data                                                           May
13672   TBD       Composite Exhibit: Two Sample Medicaid                                               May
                  Rebate Invoices from Each State
13673   TBD       Summary of Rebates Paid by Dey to Medicaid                                           May

13674   TBD       Summary of Average Billed and Allowed                                                May
                  Amounts
13675   TBD       Summary Chart showing Duggan's Prices,                                               May
                  Published Prices, AMPs, and Other Available
                  Prices for Dey Subject Drugs
13676   TBD       Summary of Dey Sales by Drug                                                         May
13687   Undated   Article from Barron's entitled "Clinton to Clip Buto, 9/13/07, Dey Ex. HHD008-0503   May
                  Profits"                                        100
13688   Undated   Sample Health Insurance Claim Form 1500         Berenson, 12/18/08,                  Expect
                                                                  Abbott Ex. 434
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13689   Undated   First DataBank Drug Price Policy             MA, Chadwick,          ALMED-770608-611     May
                                                               10/24/07, Chadwick Ex.
                                                               4
13690   Undated   Demonstrative Exhibit - Chart with the       Richter, 12/7/07, Dey                       May
                  Payment Allowance Limit for J 2260           Ex. 31
13691   Undated   Document entitled "MDRI, Browse Quarterly Tawes, 12/13/07,          HHD042-0567          May
                  Price Information, FDA Assigned Labeler Code Roxane Ex. 019
                  00054 (NDC1)"
13693   Undated   Table titled "Brewton Med Center Pharmacy    AL, Cottrell, 8/30/07, Brewton Med Center   May
                  Prescription Count"                          Cottrell Ex. 2         000001
13694   Undated   Dey, L.P. Respiratory Learning System,                              DL-TX-0076329-       May
                  Courses One to Four                                                 77342
13698   Undated   Medicaid Drug Rebate Program Release No. 14                         CAAG/DHS0069631-     May
                                                                                      44
